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                               EXHIBIT 1
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                              MISC. NO.:

    SECURITIES AND EXCHANGE COMMISSION,

           Applicant,

    v.

    EMPIREX CAPITAL LLC,
    AKC MANAGEMENT LLC,
    RAFAEL ALBERTO VARGAS
    GONZALEZ, a/k/a RAFAEL VARGAS,
    and
    PAOLA A.VARGAS,

           Respondents.
   - - - - - - - - - - - - - - - - - -I
         DECLARATION OF SHELLY-ANN A. SPRINGER-CHARLES IN SUPPORT OF
             SECURITIES AND EXCHANGE COMMISSION'S APPLICATION
           FOR AN ORDER TO SHOW CAUSE AND FOR AN ORDER REQUIRING
                 COMPLIANCE WITH ADMINISTRATIVE SUBPOENAS

           SHELLY-ANN A. SPRINGER-CHARLES, pursuant to 28 U.S.C. § 1746, declares under

    penalty of perjury as follows:

           1.      I am an attorney in the Miami Regional Office of the U.S. Securities and

    Exchange Commission, located at 801 Brickell Avenue, Suite 1950, Miami, Florida 33131. I am

    over twenty-one years of age and have personal knowledge of the matters set forth herein. This

    declaration is submitted in support of the SEC's Application for an Order To Show Cause and

    for an Order Requiring Compliance with Administrative Subpoenas against Empirex Capital

    LLC, ("Empirex"), Empirex's sole owner and manager, Rafael Alberto Vargas Gonzalez, a/k/a

    Rafael Vargas ("R. Vargas"), AKC Management LLC ("AKC"), and AK.C's manager, Paola A.

    Vargas ("P. Vargas").



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                                     The Commission's Investigation

           2.      On March 24, 2021, the Commission issued a Formal Order Directing Private

    Investigation and Designating Officers to Take Testimony in In the Matter ofEmpirex Capital

    LLC (FL-04274) (the "Formal Order"). A true and correct copy of the Formal Order is attached

    hereto as Attachment A.

           3.      Under the Formal Order, members of the Commission's staff are officers of the

    Commission empowered to administer oaths, subpoena witnesses, compel their attendance, take

    evidence, and require the production of any books, papers, correspondence, memoranda, or other

    records deemed relevant or material to the investigation.

           4.      On January 26, 2022, the Commission issued a Supplemental Order Designating

    Additional Officers in In the Matter ofEmpirex Capital LLC (FL-04274). On August 29, the

    Commission issued a second Supplemental Order Designating an Additional Officer (the

    "Supplemental Formal Orders"). True and correct copies of the Supplemental Formal Orders

    are attached hereto as composite Attachment B.

           5.      The Formal Order directs the Commission's staff to conduct a private

    investigation to determine whether Empirex, its officers, directors, employees, partners,

    subsidiaries, affiliates and/or other persons or entities, have engaged in the enumerated potential

    violations of the securities registration and antifraud provisions of the federal securities laws,

    specifically, violations of Section 5(a), 5(c), and 17(a) of the Securities Act of 1933 ("Securities

    Act") and Section 1O(b) of the Securities Exchange Act of 1934 ("Exchange Act") and Rule

    lOb-5 thereunder. This investigation is being conducted out of the Commission's Miami

    Regional Office located in Miami, Florida. Issues central to the potential violations include




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    whether Empirex and R. Vargas, have engaged in a fraudulent securities offering, whether any

    potential securities laws violations are ongoing, and the use and dissipation of investor funds.

            6.     Our investigation has revealed that Empirex, a Florida limited liability company

    based in Coral Gables, Florida, appears to be a private fund. Empirex is solely owned and

    managed by R. Vargas. Empirex has made numerous public statements through social media

    and Linkedln, and on Y ouTube and its publicly available website about its investment plans.

    Empirex originally purported to invest in traditional markets, cryptocurrency markets, and mixed

    markets. More recently, the focus has been on investments in cryptocurrency markets. Empirex

    has claimed to provide returns to investors ofup to 8% monthly. Further, investor agreements

    with Empirex obtained by the Commission refer to returns ofup to 18% monthly. This is a

    sampling ofEmpirex's website:


                    Home   About Us   Portfolio   Contact Us   Blog                         Login   Engl is h   ~
                                                                          EMPIREX CAPITAL




            7.     In a 2020 filing with the Commission indicating that Empirex was relying on an

    exemption to registration (available only for accredited investors), Empirex further represented

    that it had raised at least $5 million from investors.




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                               The Subpoenas to Empirex and R. Vargas

           8.      As part of the investigation conducted pursuant to the Formal Order, on April 20,

    2021 I issued two separate subpoenas to Empirex and R. Vargas for the production of documents

    ("First Subpoenas"). A true and correct copy of the subpoena issued to Empirex is attached

    hereto as Attachment C and a true and correct copy of the subpoena issued to R. Vargas is

    attached hereto as Attachment D.

           9.      Although Empirex and R. Vargas did produce documents responsive to the First

    Subpoenas, based on information we have learned through this investigation, including

    documents we subpoenaed from, among others, U.S. banks where Empirex maintained bank

    accounts, we believe that Empirex and R. Vargas' production pursuant to the First Subpoenas

    were incomplete. For example, Empirex and R. Vargas collectively produced bank account

    statements for two bank accounts, one for each. However, through investigation, we have

    learned that from April 2018 through May 2022 there were at least $55 million in deposits or

   transfers into 26 Empirex and R. Vargas bank accounts, collectively.

           10.     As part of the investigation conducted pursuant to the Formal Order, we also

    issued to R. Vargas a subpoena for testimony, which took place by audio-visual teleconference

    means, using the WebEx Internet platform, on March 11, 2022. A true and correct copy the

    Commission staffs email to then counsel for R. Vargas attaching the Commission's January 19,

    2022 subpoena issued to R. Vargas is attached hereto as Attachment E. R. Vargas invoked his

    Fifth Amendment privilege against self-incrimination to certain substantive questions during his

    investigative testimony, including, but not limited to, the number of investors Empirex had from



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    inception to the present, how much total funds Empirex raised from investors from inception to

    the present, and the use of Empirex investor funds.

           11.     As a result of concerns that Empirex and R. Vargas had not made a full

    production, and our desire to obtain more current information, on June 16, 2022 I issued two new

    subpoenas to Empirex and R. Vargas ("Second Subpoenas"). I served the Second Subpoenas

    on Empirex and R. Vargas' counsel (same counsel) who agreed to accept service of the Second

    Subpoenas. A true and correct copy of the Commission staff's email to counsel for Empirex and

    R. Vargas attaching the Second Subpoenas is attached as Attachment F.

           12.     The Second Subpoenas required Empirex and R. Vargas to produce documents on

    June 30, 2022. On June 22, 2022, I spoke with counsel for Empirex and R. Vargas and agreed to

    provide Empirex and R. Vargas with an extension of time, until July 21, 2022, to complete their

    production of documents responsive to the Second Subpoenas, provided they made a rolling

    production. I memorialized this agreement in an email to counsel for Empirex and R. Vargas. A

    true and correct copy of this e-mail is attached hereto as Attachment G.

           13.     On July 14, 2022, I contacted counsel for Empirex and R. Vargas via phone and

    left him two voice-mails to check on the status ofR. Vargas and Empirex's rolling production of

    documents, as I had not yet received any documents responsive to the Second Subpoenas.

    Counsel informed me that R. Vargas was aware of the deadline for the production of documents,

    and R. Vargas was aware of the ramifications of not producing the documents.

           14.     As of July 21, 2022, Empirex and R. Vargas had not produced any documents

    responsive to the Second Subpoenas.

           15.     On July 22, 2022, counsel for Empirex and R. Vargas left me a voice-mail stating,

    he wanted to provide an update on Empirex and R. Vargas' production. He also sent me an



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    email later that day stating, at that moment, he had not received any documents from his client.

    A true and correct copy of this e-mail is attached hereto as Attachment H.

           16.     On July 25, 2022, counsel for Empirex and R. Vargas and I spoke over the phone

    about the outstanding production. Counsel confirmed that he had still not received any

    documents from his clients.

           17.     On July 28, 2022, I sent counsel for Empirex and R. Vargas a letter requesting

    confirmation by August 1, 2022 of whether his clients intended to produce documents, and

    demanding that such production be completed by August 4, 2022. A true and correct copy of an

    e-mail sent by a Commission legal assistant attaching that letter and the corresponding

    attachment is attached hereto as Attachment I.

           18.     On August 1, 2022, counsel for Empirex and R. Vargas produced on behalf of his

    clients seven pages worth of production, specifically, what purports to be two March 5, 2020

    independent contractor agreements between Empirex and two entities concerning "Office

    management activities" and a print out of information concerning Empirex from the

    "SEC.report" website. Counsel for Empirex and R. Vargas represented that the seven-page

    document was "responsive to the SEC subpoena dated, June 16, 2022 ... [and] [s]hould any

    additional responsive documents be discovered, we will provide them to you by 5 :00 pm on

    August 4, 2022." A true and correct copy of an email and accompanying attachments containing

    that production is attached hereto as Attachment J.

           19.     To date, neither Empirex nor R. Vargas have produced any additional documents

    responsive to the Second Subpoenas.

                 Document Subpoena to AKC and Subpoena for Testimony to P. Vargas




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            20.     Crystal Ivory, Commission Senior Staff Accountant reviewed bank statements

    and related documents for Empirex's bank accounts. In this review, she identified approximately

    75 wires or other transfers were sent from U.S. bank accounts maintained by AKC, totaling over

    $7.5 million, to Empirex and R. Vargas, collectively. Ms. Ivory's review indicated that the

    proceeds from AKC represent approximately 13% of total inflows into the referenced Empirex

    and R. Vargas bank accounts.

            21.     Florida records show that AK.C's manager is P. Vargas. P. Vargas and R. Vargas

    are siblings.

            22.     On April 11, 2022, I issued a subpoena to AKC to produce documents no later

    than April 25, 2022 ("AKC Subpoena"). Among other things, the AKC Subpoena seeks

    production of documents sufficient to identify its control persons, its relationship to Empirex,

    solicitation of investors for Empirex and AKC offerings, communications between Empirex and

    AKC, disbursements to Empirex, and receipt and disposition of investor funds. A true and

    correct copy of AKC Subpoena is attached hereto as Attachment K.

            23.     On April 22, 2022, an attorney telephoned me and confirmed that P. Vargas is R.

    Vargas' sister. He explained that while he had not yet been formally retained by AKC and P.

    Vargas, he wanted to request an extension of time to respond to the AKC Subpoena. I explained

    to the attorney that I could not discuss any confidential and non-public investigations with him

    without written confirmation of his representation of AKC and P. Vargas.

            24.     On April 26, 2022, the office for this attorney sent written confirmation of

    retention by AKC and P. Vargas. A true and correct copy of the AKC and P. Vargas'

    representation letter is attached hereto as Attachment L.




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           25.     On April 27, 2022, I e-mailed counsel for AKC and P. Vargas and agreed to

    provide AKC an extension of time, specifically to May 11, 2022, in which to produce all

    documents responsive to the AKC Subpoena with the further agreement that AKC would

    commence producing responsive documents on a rolling basis. A true and correct copy of this e-

    mail is attached hereto as Attachment M.

           26.     On April 29, 2022, during a phone call with counsel for AKC and P. Vargas, I

    reminded him of the May 11, 2022 due date for AK.C's production of documents, and sent him

    again another copy of the April 27, 2022 email confirming the extension date. A true and correct

    copy of this e-mail is attached hereto as Attachment N.

           27.     In anticipation of AKC' s production of documents, on May 10, 2022 I issued a

    subpoena to P. Vargas for testimony ("P. Vargas Subpoena"). As manager of AKC, P. Vargas

    would be the person with knowledge of, among other things, AKC, the company's documents

    (which were required to be produced on May 11, 2022 under the extension), AK.C's relationship

    to Empirex and its role in Empirex's possibly fraudulent offering. I served the P. Vargas

    Subpoena on counsel for AKC and P. Vargas, who agreed to accept service. The P. Vargas

    Subpoena directed P. Vargas to appear for testimony, conducted by audio-visual teleconference

    means, using the WebEx Internet platform, on June 8, 2022 at 10:00 a.m. EDT. A true and

    correct copy of an e-mail sent by a Commission senior paralegal specialist to counsel for AKC

    and P. Vargas attaching the P. Vargas Subpoena is attached hereto as Attachment 0.

           28.     As of May 11, 2022, AKC had not produced any documents responsive to the

    AKC Subpoena.

           29.     On May 11, 2022, I spoke with counsel for AKC and P. Vargas over the phone

    about AKC's production. Counsel for AKC and P. Vargas stated that he planned to meet with



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    his client on May 13, 2022 to discuss AK.C's production of documents and would get back to me

    that day with the date on which we could expect all responsive documents. I did not hear from

    counsel for AKC and P. Vargas on May 13, 2022.

           30.     On May 16, 17, and 20, 2022, I telephoned counsel for AKC and P. Vargas three

    times and left him three voice-mails requesting information about AK.C's production. I also sent

    counsel for AKC and P. Vargas three e-mails reminding him that AKC's production was

    overdue. True and correct copies of those e-mails are attached hereto as Attachment P. While

    leaving my May 17, 2022 voice-mail for counsel for AKC and P. Vargas, counsel for AKC and

    P. Vargas sent me a text message stating that he was in a reverse proffer with the "USAO." I did

    not otherwise receive a response from counsel for AKC and P. Vargas to my voice-mails and e-

    mails on those dates. A true and correct copy of this text message is attached hereto as

    Attachment Q.

           31.     Having heard nothing from counsel for AKC and P. Vargas, on May 31, 2022, I

    sent counsel for AKC and P. Vargas a letter outlining our good faith efforts to obtain responsive

    documents from AKC and requested that AKC produce all documents responsive to the AKC

    Subpoena. I also reminded counsel for AKC and P. Vargas of the upcoming date for P. Vargas'

    appearance for testimony on June 8, 2022 pursuant to the P. Vargas Subpoena, and sought to

    confirm the procedure for her remote testimony. A true and correct copy of an e-mail sent by a

    Commission senior paralegal specialist attaching that letter and the corresponding attachment is

    attached hereto as Attachment R.

           32.     On June 1, 2022, I e-mailed counsel for AKC and P. Vargas asking for his and P.

    Vargas' understanding and agreement to certain procedures that would be in place at P. Vargas'

    testimony. A true and correct copy of that e-mail is attached hereto as Attachment S.



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           33.     On June 1, 2022, counsel for AKC and P. Vargas' paralegal e-mailed me to

    inquire about the civil case number in the district court associated with the P. Vargas Subpoena.

    A true and correct copy of that e-mail is attached hereto as Attachment T.

           34.     On June 2, 2022, I responded via e-mail to counsel for AKC and P. Vargas'

    paralegal and informed her we did not have a federal district court action associated with the

    Empirex investigation; rather, the P. Vargas Subpoena was issued pursuant to a formal order of

    private investigation entered by the Commission in connection with our ongoing

    investigation. A true and correct copy of that e-mail is attached hereto as Attachment U.

           35.     Later that day, counsel for AKC and P. Vargas' paralegal sent me via e-mail the

    following two documents: (1) AKC Management, LLC's Objections to Subpoena and (2) Paola

    Vargas' Objections to Subpoena. Although AK.C's and P. Vargas' responses raised different

    grounds for not complying with the Commission's subpoenas, both made clear that AKC was not

    producing any documents and P. Vargas would not appear for testimony, and that the "SEC must

    seek an enforcement in a United States District Court." AKC objects to producing any

    responsive documents, claiming that "the subpoena is being issued as a fishing expedition and

    that most if not all of the documents being sought is [sic] not relevant to the investigation

    pending and was issued in bad faith." AKC further claims that it has "limited to no involvement

    with the investigation" and that the subpoena was issued to "threaten and/or harass" AKC into

    producing documents whether relevant or not. P. Vargas objects to appearing for testimony

    because "she is also under criminal investigation by the government and any statements or

    testimony she provides could be used against her in the criminal investigation." A true and

    correct copy of the e-mail sent by counsel for AKC and P. Vargas' paralegal and the

    corresponding attachments are attached hereto as Attachment V.



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           36.     As of June 30, 2022, AKC was voluntarily dissolved. On July 13, 2022, I sent P.

    Vargas, through counsel for AKC and P. Vargas, a letter giving her notice that she and AKC

    should preserve all documents and records requested in the AKC subpoena. A true and correct

    copy of an e-mail sent by a Commission senior paralegal specialist attaching that letter and the

    corresponding attachments are attached hereto as Attachment W.

           37.     To date, AKC has failed to produce documents and P. Vargas has failed to appear

    for testimony under their respective subpoenas.

           38.     The documents and testimony sought by the subpoenas issued to Empirex, R.

    Vargas, AKC, and P. Vargas are necessary to the Commission's investigation of potential

    securities violations and are expected to provide additional relevant information that is currently

    unavailable from any other known source, such as whether Empirex, R. Vargas and others have

    engaged in an unregistered, securities offering, whether any potential violations are ongoing, and

    the use and dissipation of investor funds.

           I declare under penalty of perjury that the foregoing is true and correct. Executed on this

    29th day of August, 2022, in Miami, Florida.


                                                                        Digitally signed by SHELLY-ANN
                                                   SHELLY-ANN           SPRINGER-CHARLES
                                                   SPRINGER-CHARLES     Date: 2022.oa.29 1?:11 :4s
                                                                        -04'00'

                                                   Shelly-Ann A. Springer-Charles
                                                   Senior Counsel




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         ATTACHMENT A
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                                             NON-PUBLIC
                               UNITED STATES OF AMERICA
                                        Before the
                          SECURITIES AND EXCHANGE COMMISSION
                                        March 24, 2021


     In the Matter of
                                                           ORDER DIRECTING PRIVATE
             Empirex Capital LLC                           INVESTIGATION AND DESIGNATING
                                                           OFFICERS TO TAKE TESTIMONY
     FL-04274




                                                      I.

           The Commission has information that tends to show that at least from May 2019:

           A.      Empirex Capital LLC (Empirex) is a Florida limited liability company with its
    principal place of business in Miami, Florida. Empirex is not registered with the Commission in
    any capacity.

             B.       In possible violation of Sections 5(a) and 5(c) of the Securities Act of 1933
    (Securities Act), Empirex, its officers, directors, employees, partners, subsidiaries, and/or
    affiliates, and other persons or entities directly or indirectly, may have been or may be offering to
    sell, selling, and delivering after sale to the public, or may have been or may be offering to sell or
    to buy through the use or medium of any prospectus or otherwise, certain securities, including,
    but not limited to security interests in Empirex, as to which no registration statement was or is in
    effect or on file with the Commission, and for which no exemption was or is available. While
    engaged in the above-described activities, such persons or entities, directly or indirectly, may
    have been or may be making use of any means or instruments of transportation or
    communication in interstate commerce or of the mails.

             C.     In possible violation of Section 17(a) of the Securities Act, Empirex, its officers,
    directors, employees, partners, subsidiaries, and/or affiliates and/or other persons or entities,
    directly or indirectly, in the offer or sale of certain securities, may have been or may be
    employing devices, schemes, or artifices to defraud, obtaining money or property by means of
    untrue statements of material fact or omitting to state material facts necessary in order to make
    the statements made, in the light of the circumstances under which they were or are made, not
    misleading, or engaging in transactions, practices or courses of business which operated, operate,
    or would operate as a fraud or deceit upon the purchaser. As part of or in connection with these
    activities, such persons or entities, directly or indirectly, may have been or may be, among other
    things, making false statements of material fact and omitting to disclose material facts
    concerning, among other things, the use of investor funds and the promised return on investment.
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    While engaged in the above-described activities, such persons or entities, directly or indirectly,
    may have been or may be using any means or instruments of transportation or communication in
    interstate commerce or using the mails.

            D.      In possible violation of Section 10(b) of the Securities Exchange Act of 1934
    (Exchange Act) and Rule 10b-5 thereunder, Empirex, its officers, directors, employees,
    partners, subsidiaries, and/or affiliates and/or other persons or entities, directly or indirectly, in
    connection with the purchase or sale of certain securities, may have been or may be employing
    devices, schemes, or artifices to defraud, making untrue statements of material fact or omitting to
    state material facts necessary in order to make the statements made, in light of the circumstances
    under which they were or are made, not misleading, or engaging in acts, practices or courses of
    business which operated, operate, or would operate as a fraud or deceit upon any person. In
    connection with these activities, such persons or entities, directly or indirectly, may have been or
    may be, among other things, making false statements of material fact and omitting to disclose
    material facts concerning, among other things, the use of investor funds and the promised return
    on investment. While engaged in the above-described activities, such persons or entities, directly
    or indirectly, may have been or may be making use of any means or instrumentality of interstate
    commerce, or of the mails, or of any facility of any national securities exchange.

                                                     II.

           The Commission, deeming such acts and practices, if true, to be possible violations of
    Sections 5(a), 5(c), and 17(a) of the Securities Act and Section 10(b) of the Exchange Act and
    Rule 10b-5 thereunder, finds it necessary and appropriate and hereby:

             ORDERS, pursuant to the provisions of Section 20(a) of the Securities Act and Section
    21(a) of the Exchange Act that a private investigation be made to determine whether any persons
    or entities have engaged in, or are about to engage in, any of the reported acts or practices or any
    acts or practices of similar purport or object; and




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            FURTHER ORDERS, pursuant to the provisions of Section 19(c) of the Securities Act,
    and Section 21(b) of the Exchange Act that for purposes of such investigation, Eric I. Bustillo,
    Glenn S. Gordon, Eric R. Busto, Shelly-Ann A. Springer-Charles, John T. Houchin, Barbara
    Viniegra, Jordan Cortez, Fernando Torres, Mark S. Dee, Kathleen E. Strandell, Lina M.
    Fernandez, Crystal C. Ivory, Andrew Schiff, Christine Nestor, Amie R. Berlin, Wilfredo
    Fernandez, Robert K. Levenson, Alise Johnson Henry, Stephanie Moot, and Alice Sum, and each
    of them, are hereby designated as officers of the Commission and are empowered to administer
    oaths and affirmations, subpoena witnesses, compel their attendance, take evidence, and require
    the production of any books, papers, correspondence, memoranda, or other records deemed
    relevant or material to the inquiry, and to perform all other duties in connection therewith as
    prescribed by law.

              For the Commission, by the Division of Enforcement, pursuant to delegated authority. 1




                                                   Vanessa A. Countryman
                                                   Secretary

              Action as set forth or recommended herein APPROVED pursuant to authority delegated
              by the Commission under Public Law 87-592.

                      For:                 Division of Enforcement


                      By:                  _______________________

                                           Glenn S. Gordon, Associate Regional Director


                      Date Approved:       March 24, 2021
                                           _______________________

                                                                 Ratified by Gurbir Grewal
                                                             Director, Division of Enforcement
                                                            Securities and Exchange Commission
                                                                       March 15, 2022




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        17 CFR 200.30-4(a)(13)
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         ATTACHMENT B
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                                              NON-PUBLIC
                                 UNITED STATES OF AMERICA
                                          Before the
                            SECURITIES AND EXCHANGE COMMISSION



        In the Matter of
                                                        SUPPLEMENTAL ORDER
               Empirex Capital LLC                      DESIGNATING ADDITIONAL
                                                        OFFICERS
        FL-04274



              IT IS ORDERED that the order of the Commission adopted on March 24, 2021, authorizing

    a private investigation of the above captioned matter, based upon possible violations of the provisions

    of the federal securities laws, be and it is hereby amended by designating as additional officers of the

    Commission, Melika Hadziomerovic, Carol Der Garry, Julia DAntonio, Karaz S. Zaki, and Teresa

    Verges.


              For the Commission, pursuant to delegated authority, by the Division of Enforcement.1




                                                            Vanessa A. Countryman
                                                            Secretary

              Action as set forth or recommended herein APPROVED pursuant to authority delegated
              by the Commission under Public Law 87-592.

                     For:                   Division of Enforcement


                     By:                    _______________________

                                            Glenn S. Gordon, Associate Regional Director


                     Date Approved:         _______________________
                                            January 26, 2022


                                                             Ratified by Gurbir Grewal
    1
        17 C.F.R. 200.30-4(a)(1).                        Director, Division of Enforcement
                                                        Securities and Exchange Commission
                                                                   March 15, 2022
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                                             NON-PUBLIC
                                 UNITED STATES OF AMERICA
                                          Before the
                            SECURITIES AND EXCHANGE COMMISSION
                                        August 29, 2022



        In the Matter of
                                                       SUPPLEMENTAL ORDER
               Empirex Capital LLC                     DESIGNATING AN ADDITIONAL
                                                       OFFICER
        FL-04274



              IT IS ORDERED that the order of the Commission adopted on March 24, 2021, and ratified

    on March 15, 2022, authorizing a private investigation of the above captioned matter, based upon

    possible violations of the provisions of the federal securities laws, be and it is hereby amended by

    designating as an additional officer, Russell Koonin.


              For the Commission, by the Division of Enforcement, pursuant to delegated authority. 1




                                                            Gurbir S. Grewal
                                                            Director, Division of Enforcement
                                                                            August 29, 2022
                                                            Date Approved: ________________




    1
        17 C.F.R. 200.30-4(a)(1); Public Law 87-592.
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         ATTACHMENT C
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                                                 UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       801   BRICKELL A V ENUE , SUITE 1950

                                              MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT                                                 Shelly-Ann A. Springer-Charles
                                                                              Senior Counsel
                                                                              (305) 416-6224
                                                                              springers@sec.gov

      April 20, 2021

      VIA OVERNIGHT DELIVERY
      Empirex Capital LLC
      c/o Rafael Vargas, MGR, Registered Agent
      848 Brickell Ave.
      Suite 1005
      Miami, FL 33131

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Mr. Vargas:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission’s Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for documents issued to Empirex Capital LLC (“Empirex”), in connection
      with the above-referenced investigation.

             The enclosed subpoena requires Empirex to produce documents to the SEC by May 4,
      2021. Please deliver the materials by May 4, 2021 at 5:00 p.m. to:

                  ENF-CPU
                  U.S. Securities and Exchange Commission
                  6315 Bren Mar Drive, Suite 175
                  Alexandria, VA 22312

              For smaller electronic productions under 10MB in size, the materials may be emailed to
      the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letters to me at
      springers@sec.gov. Additionally, please include the SEC matter number and the name of the
      requesting attorney when responding.

             Please carefully read the subpoena attachment, which contains, among other things,
      important instructions related to the manner of producing documents. In particular, if Empirex
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    prefers to send us copies of original documents, the staff requests that you scan and produce
    hard copy documents, as well as electronic documents, in an electronic format consistent
    with the SEC Data Delivery Standards attached hereto. All electronic documents
    responsive to the subpoena, including all metadata, should also be produced in their native
    software format. If you have any questions concerning the production of documents in an
    electronic format, please contact me as soon as possible and in any event before producing
    documents. For security reasons, we strongly encourage the encryption of sensitive documents
    before production.

           When producing the records, please consecutively number and mark each document
    produced with a symbol that identifies it as being produced by Empirex.

           In your cover letter(s) accompanying the production of responsive documents, please
    enclose a list briefly describing each item you send. The list should identify the paragraph(s) in
    the subpoena attachment to which each item responds. Please also state in the cover letter(s)
    whether you believe Empirex has met the obligations of the subpoena by searching carefully and
    thoroughly for everything called for by the subpoena, and sending it all to us.

           A copy of the subpoena should be included with the documents that are produced.
    Correspondence should reference case number, case name and requesting SEC staff member.

            Passwords for documents, files, compressed archives, and encrypted media should be
    provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
    letter mailed separately from the data. Password correspondence should reference case number,
    case name and requesting SEC staff member.

            In addition, for any documents that qualify as records of regularly conducted activities
    under Federal Rule of Evidence 902(11), please have the appropriate representative(s) of
    Empirex complete a business records certification (a sample of which is enclosed) and return it
    with the document production. Execution of this certification may allow the Commission to
    introduce the documents provided by Empirex in any subsequent judicial proceeding, without
    requiring the testimony of a records custodian.

            Please note that, in any matter in which enforcement action is ultimately deemed to be
    warranted, the Division of Enforcement will not recommend any settlement to the Commission
    unless the party wishing to settle certifies, under penalty of perjury, that all documents
    responsive to Commission subpoenas and formal and informal document requests in this matter
    have been produced.

            Enclosed is a copy of the Commission’s Form 1662, entitled “Supplemental Information
    for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
    Pursuant to a Commission Subpoena.” This form explains how we may use the information that
    Empirex provides to the Commission and has other important information.

          This investigation is a non-public, fact-finding inquiry. We are trying to determine
    whether there have been any violations of the federal securities laws. The investigation does not



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    mean that we have concluded that anyone has violated the law. Also, the investigation does not
    mean that we have a negative opinion of any person, entity, or security.

           If you have any questions or would like to discuss this matter, you may contact me at
    (305) 416-6224.

                                                        Sincerely,

                                                        /s Shelly-Ann A. Springer-Charles
                                                        Shelly-Ann A. Springer-Charles
                                                        Senior Counsel
                                                        Division of Enforcement

     Enclosures:       Subpoena and Attachment
                       SEC Data Delivery Standards
                       SEC Form 1662
                       Business Records Certification




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                                                         SUBPOENA
                           UNITED STATES OF AMERICA
                        SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter of Empirex Capital LLC, FL-04274

To:    Empirex Capital LLC
       c/o Rafael Vargas, MGR, Registered Agent
       848 Brickell Ave.
       Suite 1005
       Miami, FL 33131


       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 6315 Bren Mar Drive, Suite 175, Alexandria, VA
       22312, no later than May 4, 2021 at 5:00 p.m.


□      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:

                   FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


 By:   /s Shelly-Ann A. Springer-Charles                                Date:      April 20, 2021
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S. Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                  SUBPOENA ATTACHMENT FOR EMPIREX CAPITAL LLC
                        In the Matter of Empirex Capital LLC, FL-04274

                                              April 20, 2021

                                               Definitions

    As used in this subpoena, the words and phrases listed below shall have the following meanings:

    1.     “Empirex Capital LLC” means the entity doing business under the name “Empirex
           Capital LLC” (“Empirex”), including parents, subsidiaries, affiliates, predecessors,
           successors, officers, directors, employees, agents, general partners, limited partners,
           partnerships and aliases, code names, or trade or business names used by any of the
           foregoing.

    2.     “Person” means a natural person, firm, association, organization, partnership, business,
           trust, corporation, bank or any other private or public entity.

    3.     A “Representative” of a Person means any present or former family members, officers,
           executives, partners, joint-venturers, directors, trustees, employees, consultants,
           accountants, attorneys, agents, or any other representative acting or purporting to act on
           behalf of the Person.

    4.     “Acero” means (i) Roman David Acero Quintero and/or (ii) any present or former
           representative of Acero.

    5.     “Gonzalez” means (i) Martha Gonzalez and/or (ii) any present or former representative of
           Gonzalez.

    6.     “Rojas” means (i) Catherine Rojas and/or (ii) any present or former representative of
           Rojas.

    7.     “Vargas” means (i) Rafael Alberto Vargas Gonzalez, and/or (ii) any present or former
           representative of Vargas.

    8.     “Document” shall include, but is not limited to, any written, printed, or typed matter
           including, but not limited to all drafts and copies bearing notations or marks not found in
           the original, letters and correspondence, interoffice communications, slips, tickets,
           records, worksheets, financial records, accounting documents, bookkeeping documents,
           memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
           telephone messages, text messages, voice mails, tape recordings, notices, instructions,
           minutes, summaries, notes of meetings, file folder markings, and any other organizational
           indicia, purchase orders, information recorded by photographic process, including
           microfilm and microfiche, computer printouts, spreadsheets, and other electronically
           stored information, including but not limited to writings, drawings, graphs, charts,
           photographs, sound recordings, images, and other data or data compilations that are
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          stored in any medium from which information can be retrieved, obtained, manipulated, or
          translated.

    9.    “Communication” means any correspondence, contact, discussion, e-mail, instant
          message, or any other kind of oral or written exchange or transmission of information (in
          the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
          more Persons or entities, including, without limitation, all telephone conversations, face-
          to-face meetings or conversations, internal or external discussions, or exchanges of a
          Document or Documents.

    10.   “Concerning” means directly or indirectly, in whole or in part, describing, constituting,
          evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
          connection with, commenting on, relating to, regarding, discussing, showing, describing,
          analyzing or reflecting.

    11.   An “Agreement” means any actual or contemplated (i) written or oral Agreement; (ii)
          term or provision of such Agreement; or (iii) amendment of any nature or termination of
          such Agreement. A request for any Agreement among or between specified parties
          includes a request for all Documents Concerning (i) any actual or contemplated
          Agreement among or between such parties, whether or not such Agreement included any
          other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
          contemplated demand, request or application for any such Agreement, and any response
          thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
          Agreement, and any response thereto.

    12.   The term “Reviewed” means examined, assessed, considered, analyzed or evaluated.

    13.   The term “you” and “your” means the Person to whom or entity to which this subpoena
          was issued.

    14.   To the extent necessary to bring within the scope of this this subpoena any information or
          Documents that might otherwise be construed to be outside its scope:
          a.     the word “or” means “and/or”;
          b.     the word “and” means “and/or”;
          c.     the functional words “each,” “every” “any” and “all” shall each be deemed to
                 include each of the other functional words;
          d.     the masculine gender includes the female gender and the female gender includes
                 the masculine gender; and
          e.     the singular includes the plural and the plural includes the singular.

    15.   “Relevant Period” means the time period beginning January 1, 2018, or the earliest time
          for which records exist, whichever is earlier, and continuing to the present, unless
          otherwise specified.

    16.   “Relevant Entities and Individuals” means each of the following: Acero, Gonzalez,
          Rojas, Vargas, and any entity or individual Concerning the recruiting of Empirex



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          investors or the sale of an Empirex investment to investors.

                                             Instructions

    1.    Unless otherwise specified, this subpoena calls for production of the original Documents
          and all copies and drafts of same. Documents responsive to this subpoena may be in
          electronic or paper form. Electronic Documents such as email should be produced in
          accordance with the attached Document entitled SEC Data Delivery Standards. All
          responsive electronic Documents, including all metadata, should also be produced in their
          native software format.

    2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
          send copies of the originals. The Commission cannot reimburse you for the copying
          costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
          hard copy Documents and produce them in an electronic format consistent with the SEC
          Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
          in paper format. If you choose to send copies, you must secure and retain the originals
          and store them in a safe place. The staff may later request or require that you produce the
          originals.

    3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
          including even faint marks or print. Also, please note that if copies of a Document differ
          in any way, they are considered separate Documents and you must send each one. For
          example, if you have two copies of the same letter, but only one of them has handwritten
          notes on it, you must send both the clean copy and the one with notes.

    4.    In producing a photocopy of an original Document that contains post-it(s), notation
          flag(s), or other removable markings or attachments which may conceal all or a portion
          of the markings contained in the original Document, photocopies of the original
          Document both with and without the relevant post-it(s), notation flag(s), or removable
          markings or attachments should be produced.

    5.    Documents should be produced as they are kept in the ordinary course of business or be
          organized and labeled to correspond with the categories in this request. In that regard,
          Documents should be produced in a unitized manner, i.e., delineated with staples or paper
          clips to identify the Document boundaries.

    6.    Documents should be labeled with sequential numbering (bates-stamped).

    7.    You must produce all Documents created during, or Concerning, the period from January
          1, 2018, or the earliest time for which records exist, whichever is earlier, to the date of
          this subpoena, unless otherwise specified.

    8.    The scope of any given request should not be limited or narrowed based on the fact that it
          calls for Documents that are responsive to another request.




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    9.    You are not required to produce exact duplicates of any Documents that have been
          previously produced to the Securities and Exchange Commission staff in connection with
          this matter. If you are not producing Documents based upon a prior production, please
          identify the responsive Documents that were previously produced.

    10.   For any Documents that qualify as records of regularly conducted activities under Federal
          Rule of Evidence 902(11), please complete a business records certification (a sample of
          which is enclosed) and return it with the Document production.

    11.   This subpoena covers all Documents in or subject to your possession, custody or control,
          including all Documents that are not in your immediate possession but that you have the
          effective ability to obtain, that are responsive, in whole or in part, to any of the individual
          requests set forth below. If, for any reason – including a claim of attorney-client privilege
          – you do not produce something called for by the request, you should submit a list of
          what you are not producing. The list should describe each item separately, noting:

          a.     its author(s);
          b.     its date;
          c.     its subject matter;
          d.     the name of the Person who has the item now, or the last Person known to have it;
          e.     the names of everyone who ever had the item or a copy of it, and the names of
                 everyone who was told the item’s contents;
          f.     the basis upon which you are not producing the responsive Document;
          g.     the specific request in the subpoena to which the Document relates;
          h.     the attorney(s) and the client(s) involved; and
          i.     in the case of the work product doctrine, the litigation for which the Document
                 was prepared in anticipation.

    12.   If Documents responsive to this subpoena no longer exist because they have been lost,
          discarded, or otherwise destroyed, you should identify such Documents and give the date
          on which they were lost, discarded or destroyed.

                                      Documents to be Produced

    1.    Documents sufficient to disclose the corporate structure of Empirex, including, but not
          limited to, the date and place of establishment, organization, and, if applicable,
          incorporation;

    2.    Documents sufficient to identify all officers, directors, principals, owners, shareholders,
          employees, and all others acting on behalf of Empirex, and Documents sufficient to
          disclose, for each individual identified in response to this Item:
          a. title;
          b. dates of affiliation with Empirex;
          c. current or last known home address and telephone number;
          d. current or last known employment address and telephone number; and
          e. salary or other compensation for each year from January 1, 2018 to the present;


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    3.    Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
          financial accounts held by or on behalf of Empirex from January 1, 2018 to the present,
          and Documents sufficient to disclose, for each account identified in response to this Item:
          a. the name, address, and telephone number of the financial institution where the
              account is held, maintained, directed or controlled;
          b. the account number;
          c. the name, address, and telephone number of the branch office, if any, where the
              account is held, maintained, or directed;
          d. the account name;
          e. and the date the account was opened;

    4.    For the accounts responsive to Item 3 above, all account information including but not
          limited to account opening Documents, Communications, monthly account statements,
          cancelled checks (front and back), wire transfer requests, confirmations, emails, notes
          and other similar Documents;

    5.    Documents sufficient to disclose all other assets held by or on behalf of Empirex;

    6.    All draft and final financial reports Concerning Empirex including, but not limited to,
          audited and unaudited financial statements, including balance sheets and statements of
          income and retained earnings and cash flows, as well as all ledgers, journals, and
          workpapers used to prepare and support Empirex’s financial statements, balance sheets,
          copies of filed federal and state corporate income tax returns and 1099/1098/1096 tax
          returns, w-2s and payroll tax returns, trial balances, cash receipt journals, bank
          statements, copies of canceled checks, deposit records with copies of deposit items, cash
          disbursement journals, balance sheets, statements of income and retained earnings, and
          any other report of receipts, disbursements, net profits and losses, and cash flow;

    7.    Documents sufficient to identify all Empirex investors by name, address, and telephone
          number;

    8.    For each investor identified in response to Item 7 above, Documents sufficient to
          disclose:
          a. the amount invested,
          b. the date(s) of investments, and
          c. whether, when, and how much of each investors’ principal has been returned to them;

    9.    For each investor identified in response to Item 7 above, all Documents Concerning
          agreements or contracts between Empirex and the investor and all Documents
          Concerning terms of investments;

    10.   For each investor identified in response to Item 7 above, all periodic or other account
          statements;




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    11.   For each investor identified in response to Item 7 above, all Documents Concerning the
          investment of (or other use of) their funds by Empirex and the current location of investor
          funds;

    12.   All Documents and Communications Concerning all investment, promotional, sales,
          marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
          disseminated, directly or indirectly, by Empirex or any of the Relevant Entities and
          Individuals, including, but not limited to, brochures, offering memoranda and
          attachments, business and projection plans, subscription agreements, and operating
          agreements;

    13.   Documents sufficient to identify all individuals or entities who were solicited as potential
          investors but did not ultimately invest in Empirex;

    14.   All Documents Concerning the payment of fees to any individual or entity in connection
          with the recruiting of Empirex investors or the sale of an Empirex investment to
          investors;

    15.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
          between Empirex and the Relevant Entities and Individuals;

    16.   All Documents Concerning Communications between Empirex and investors or potential
          investors in Empirex;

    17.   All Documents Concerning funds received by Empirex from the Relevant Entities and
          Individuals, including, but not limited to, front and back of all canceled checks, check
          stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms, and
          any other documents or records reflection such receipts;

    18.   All Documents Concerning funds disbursed by Empirex to the Relevant Entities and
          Individuals, including, but not limited to, front and back of all canceled checks, check
          stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms, and
          any other documents or records reflection such disbursements;

    19.   All Documents Concerning all Communications between Empirex and the Relevant
          Entities and Individuals during the Relevant Period Concerning:
          a. Empirex;
          b. Acero;
          c. Gonzalez;
          d. Rojas;
          e. Vargas;
          f. all funds received by the Relevant Entities and Individuals directly or indirectly from
              Empirex;
          g. all funds disbursed by the Relevant Entities and Individuals directly or indirectly to
              Empirex;


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          h. all funds received or disbursed by Empirex;
          i. all Agreements, contracts, loans, notes, or understandings between Empirex and the
             Relevant Entities and Individuals;
          j. all Agreements, contracts, loans, notes, or understandings among or between the
             Relevant Entities and Individuals Concerning Empirex; and;

    20.   To the extent not provided in response to other Items, all Documents Concerning the
          following:
          a. All Empirex accounts held at Bank of America, N.A., JPMorgan Chase Bank, N.A.,
              and Coinbase Inc. from January 1, 2018 through the present, including, but not
              limited to, account opening Documents and periodic or other statements;
          b. All other Empirex accounts held at all other domestic or foreign banks, brokerages, or
              other financial institutions from January 1, 2018 through the present, including, but
              not limited to, account opening Documents and periodic or other statements;
          c. The Relevant Entities and Individuals; and
          d. All Empirex Investors.




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                  DECLARATION OF [Insert Name] CERTIFYING RECORDS
                   OF REGULARLY CONDUCTED BUSINESS ACTIVITY

          I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

       1. I am employed by Empirex Capital LLC as [insert position] and by reason of my position
          am authorized and qualified to make this declaration. [if possible supply additional
          information as to how person is qualified to make declaration, e.g., I am custodian of
          records, I am familiar with the company’s recordkeeping practices or systems, etc.]

       2. I further certify that the documents [attached hereto or submitted herewith] and stamped
          [insert bates range] are true copies of records that were:

                  (a) made at or near the time of the occurrence of the matters set forth therein, by,
                  or from information transmitted by, a person with knowledge of those matters;

                  (b) kept in the course of regularly conducted business activity; and

                  (c) made by the regularly conducted business activity as a regular practice.

          I declare under penalty of perjury that the foregoing is true and correct. Executed on
          [date].



                                          ____________________________
                                               [Name]
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                                                                          U.S. Securities and Exchange Commission

                                                                                                Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the U.S.
    Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
    described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
    prior to submission.**

    General Instructions ................................................................................................................................................................................... 1
    Delivery Formats............................................................................................................................................................ 2
         I. Imaged Productions..............................................................................................................................................................................................................................3
                 1. Images ......................................................................................................................................................................................... 3
                 2. Image Cross-Reference File ....................................................................................................................................................... 3
                 3. Data File...................................................................................................................................................................... 3
                 4. Text..................................................................................................................................................................................... 3
                 5. Linked Native Files .................................................................................................................................................................... 3
         II. Native File Productions without Load Files............................................................................................................................. 4
         III. Adobe PDF File Productions .................................................................................................................................................. 4
         IV. Audio Files.............................................................................................................................................................................. 4
.
         V.       Video Files ...................................................................................................................................................................... 4
         VI. Electronic Trade and Bank Records......................................................................................................................................... 4
         VII. Electronic Phone Records ....................................................................................................................................................... 4
         VIII. Audit Workpapers................................................................................................................................................................. 5

         IX. Mobile Device Data ................................................................................................................................................................ 5



    General Instructions

    Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
    ENF-CPU, 6315 Bren Mar Drive, Suite 175, Alexandria, VA 22312

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
    (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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                                                      U.S. Securities         PageCommission
                                                                      and Exchange 34 of 287
                                                                                                            Data Delivery Standards
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.    A cover letter must be included with each production and should include the following information:
             a. Case number, case name and requesting SEC staff member name
             b. A list of each piece of media included in the production with its unique production volume number
             c. A list of custodians, identifying the Bates range for each custodian
             d. The time zone in which the emails were standardized during conversion
             e. Whether the production contains native files produced from Mac operating system environments
  2.    Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
        labeled with the following:
             a. Case number
             b. Production date
             c. Producing party
             d. Bates range (if applicable)
  3.    All submissions must be organized by custodian unless otherwise instructed.
  4.    All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
        should follow parent files sequentially in the Bates numbering.
  5.    All load-ready collections should include only one data load file and one image pointer file.
  6.    All load-ready text must be produced as separate document-level text files.
  7.    All load-ready collections should account for custodians in the custodian field.
  8.    All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
        as separate records.
  9.    Audio files should be separated from data files if both are included in the production.
  10.   Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
        are not permitted.
  11.   All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.   The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
        Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
        information, please reach out to the requesting SEC staff member.
  13.   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
        Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
        member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
        for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
        be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
        using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.   Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
        electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
        marked as BSA or SAR material, or should be produced separately from other case related material.
  15.   Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
        email or in a cover letter apart from the media.
  16.   All electronic productions should be produced free of computer viruses.
  17.   Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
        discuss appropriate handling.
  18.   Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
        reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.   Additional technical descriptions can be found in the addendum to this document.

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      *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
      result electronic productions may be damaged.*
Delivery Formats
I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.
     1. Images
        a. Black and white images must be 300 DPI Group IV single-page TIFF files
        b. Color images must be produced in JPEG format
        c. File names cannot contain embedded spaces or special characters (including the comma)
        d. Folder names cannot contain embedded spaces or special characters (including the comma)
        e. All image files must have a unique file name, i.e. Bates number
        f. Images must be endorsed with sequential Bates numbers in the lower right corner of each image
        g. The number of image files per folder should not exceed 2,000 files
        h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
        i. AUTOCAD/photograph files should be produced as a single page JPEG file
     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount
     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.
          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                          lb
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          j.   BEGATTACH and ENDATTACH fields must be two separate fields
          k.   A complete list of metadata fields is available in Addendum A to this document
     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
        that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
        should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
        the redacted version.
     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
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      a.   Native file documents must be named per the FIRSTBATES number
      b.   The full path of the native file must be provided in the .DAT file for the LINK field
      c.   The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, native email files (.PST or
       .MBOX) may be produced. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
               characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
             separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
             separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


          Field Name           Sample Data                     Description
          FIRSTBATES           EDC0000001                      First Bates number of native file document/email
          LASTBATES            EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
          ATTACHRANGE          EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
          BEGATTACH            EDC0000001                      First Bates number of attachment range
          ENDATTACH            EDC0000015                      Last Bates number of attachment range
          PARENT_BATES         EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
          CHILD_BATES          EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
          CUSTODIAN            Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
          FROM                 John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          TO                   Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
          CC                   Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
          BCC                  John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
          FILE_NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
          DATE_SENT            10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
          TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
          _ZONE                                                the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                 combined with the DATE_SENT field




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     TIME_ZONE       GMT                         The time zone in which the emails were standardized
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
     LINK            D:\001\ EDC0000001.msg      Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
     MIME_TYPE       application/msword          The content type of an email or native file document
                                                 as identified/extracted from the header
     FILE_EXTEN      MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
     AUTHOR          John Smith                  Email: (empty)
                                                 Native: Author of the document
     LAST_AUTHOR     Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
     DATE_CREATED    10/10/2010                  Email: (empty)
                                                 Native: Date the document was created
     TIME_CREATED/T 10:25 AM GMT                 Email: (empty)
     IME_ZONE                                    Native: Time the document was created including time
                                                 zone
                                                 **This data must be a separate field and cannot be
     DATE_MOD        10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
     TIME_MOD/TIME_ 07:00 PM GMT                 Email: (empty)
     ZONE                                        Native: Time the document was last modified including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
     DATE_ACCESSD    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last accessed
     TIME_ACCESSD/T 07:00 PM GMT                 Email: (empty)
     IME_ZONE                                    Native: Time the document was last accessed including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
     PRINTED_DATE    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
     FILE_SIZE       5,952                       Size of native file document/email in KB
     PGCOUNT         1                           Number of pages in native file document/email
     PATH            J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
     INTFILEPATH     Personal Folders\Deleted    Email: original location of email including original
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
     INTMSGID        <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                       ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date – Date the data was received or made
    3) Connection Time – Time data was received or made
    4) Originating number – Number that used data
    5) IMEI Originating – Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes – Identify data direction, or other data routing information
    8) Time Zone – Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                        Washington, D.C. 20549

                         Supplemental Information for Persons Requested to Supply
                         Information Voluntarily or Directed to Supply Information
                                   Pursuant to a Commission Subpoena
    A. False Statements and Documents
    Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
             Government of the United States, knowingly and willfully--
                 (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                 (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                 (3) makes or uses any false writing or document knowing the same to contain any materially false,
                 fictitious, or fraudulent statement or entry.

    Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
             record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
             proper administration of any matter within the jurisdiction of any department or agency of the United States
             . . ., or in relation to or contemplation of any such matter.
    B. Testimony
    If your testimony is taken, you should be aware of the following:
    1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
         the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
         will not go off the record at your, or your counsel’s, direction.
    2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
         counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
         testimony to clarify any of the answers you give during testimony; and make summary notes during your
         testimony solely for your use. If you are accompanied by counsel, you may consult privately.
    If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
    testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
    once to afford you the opportunity to arrange to be so accompanied, represented or advised.
    You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
    This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
    adverse to another’s. If you are represented by counsel who also represents other persons involved in the
    investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
    possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
    3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
         A person who has submitted documentary evidence or testimony in a formal investigative proceeding
         shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
         his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
         investigative proceeding the Commission may for good cause deny such request. In any event, any
         witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
         own testimony.
    If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
    appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
    4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
    be imposed upon:
             Whoever--


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                 (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                 the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                 truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                 willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                 be true; or
                 (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                 section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                 does not believe to be true.
    5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
    local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
    You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
    United States, to give any information that may tend to incriminate you.
    If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
    question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
    6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
    during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
    C. Submissions and Settlements
    Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
             Persons who become involved in . . . investigations may, on their own initiative, submit a written
             statement to the Commission setting forth their interests and position in regard to the subject matter
             of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
             general nature of the investigation, including the indicated violations as they pertain to them, and
             the amount of time that may be available for preparing and submitting a statement prior to the
             presentation of a staff recommendation to the Commission for the commencement of an
             administrative or injunction proceeding. Submissions by interested persons should be forwarded to
             the appropriate Division Director or Regional Director with a copy to the staff members conducting
             the investigation and should be clearly referenced to the specific investigation to which they relate.
             In the event a recommendation for the commencement of an enforcement proceeding is presented
             by the staff, any submissions by interested persons will be forwarded to the Commission in
             conjunction with the staff memorandum.
    The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
    Commission enforcement proceedings, when the staff deems appropriate.
    Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
             In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
             staff, with appropriate authorization, may discuss with persons involved the disposition of such
             matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
             however, that the disposition of any such matter may not, expressly or impliedly, extend to any
             criminal charges that have been, or may be, brought against any such person or any
             recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
             before the Commission who consents, or agrees to consent, to any judgment or order does so
             solely for the purpose of resolving the claims against him in that investigative, civil, or
             administrative matter and not for the purpose of resolving any criminal charges that have been, or
             might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
             has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
             criminal proceedings. That authority and responsibility are vested in the Attorney General and
             representatives of the Department of Justice.
    D. Freedom of Information Act
    The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
    public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
    which a person can make a written request that information submitted to the Commission not be disclosed under the
    FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
    disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
    be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
    you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
    please provide a duplicate request, together with a stamped, self-addressed envelope.



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    E. Authority for Solicitation of Information
    Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
    set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
    of any legal right or privilege you might have.
    Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
    Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
    the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
    Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
    requested information to the Commission is voluntary on your part.
    F. Effect of Not Supplying Information
    Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
    Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
    supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
    21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
    209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
    any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
    produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
    Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
    failing to provide all or any part of the requested information.
    G. Principal Uses of Information
    The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
    person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
    the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
    Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
    provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
    explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
    accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
    other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
    disposition, transfer, or retention, in accordance with applicable law, of information provided.
    H. Routine Uses of Information
    The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
    and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
    where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
    general, a confidential matter between the Commission and such other governmental agencies.
    Set forth below is a list of the routine uses which may be made of the information furnished.
    1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
    confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
    result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
    theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
    the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
    such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
    respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
    2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
    foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
    3. To national securities exchanges and national securities associations that are registered with the SEC, the
    Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
    Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
    the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
    securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
    their regulatory or enforcement responsibilities.
    4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
    the federal securities laws.




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    5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
    members of its staff, is a party or otherwise involved in an official capacity.
    6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
    201.102(e).
    7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
    authority; or professional association or self-regulatory authority to the extent that it performs similar functions
    (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
    8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
    SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
    a contract; or the issuance of a license, grant, or other benefit.
    9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
    concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
    investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
    requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
    the matter.
    10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
    in support of the function for which the records are collected and maintained or for related personnel management
    functions or manpower studies; may also be used to respond to general requests for statistical information (without
    personal identification of individuals) under the Freedom of Information Act.
    11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
    competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
    administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
    3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
    Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
    201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
    specifically designated to perform particular functions with respect to, or as a result of, the pending action or
    proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
    or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
    12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
    connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
    have further information about the matters related therein, and those matters appeared to be relevant at the time to
    the subject matter of the inquiry.
    13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
    the performance of a service related to this system of records and who need access to the records for the purpose of
    assisting the Commission in the efficient administration of its programs, including by performing clerical,
    stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
    these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
    552a.
    14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
    is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
    include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
    15. To members of advisory committees that are created by the Commission or by Congress to render advice and
    recommendations to the Commission or to Congress, to be used solely in connection with their official designated
    functions.
    16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
    200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
    laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
    preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
    connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
    17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
    made at the request of that individual.
    18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
    their activities, and other matters under the Commission’s jurisdiction.




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    19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
    78c(a)(47)), as amended.
    20. To respond to subpoenas in any litigation or other proceeding.
    21. To a trustee in bankruptcy.
    22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
    commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
    including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
    garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                          *****
    Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
    would like more information, or have questions or comments about federal securities regulations as they affect small
    businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
    551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
    Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
    Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
    activities for their responsiveness to the special needs of small business.




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         ATTACHMENT D
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                                               UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                     801   BRICKELL A V ENUE , SUITE 1950

                                            MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT                                               Shelly-Ann A. Springer-Charles
                                                                            Senior Counsel
                                                                            (305) 416-6224
                                                                            springers@sec.gov

      April 20, 2021

      VIA OVERNIGHT DELIVERY
      Rafael Vargas
      1451 Brickell Ave.
      Unit 4203
      Miami, FL 33131

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Mr. Vargas:

              The staff of the United States Securities and Exchange Commission is conducting an
      investigation in the matter identified above. The enclosed subpoena has been issued to you as
      part of this investigation. The subpoena requires you to provide us with documents.

             Please read the subpoena and this letter carefully. This letter answers some questions you
      may have about the subpoena. You should also read the enclosed SEC Form 1662. If you do not
      comply with this subpoena, the SEC may bring an action in Federal Court to enforce this
      subpoena. Failure to comply with a court order enforcing this subpoena may result in the court
      imposing a fine, imprisonment or both.

      Producing Documents

      What materials do I have to produce?

             The subpoena requires you to provide us the documents described in the attachment to
      the subpoena. You must provide these documents by May 4, 2021. The attachment to the
      subpoena defines some terms (such as “document”) before listing what you must provide.

              You should produce each and every document in your possession, custody, or control,
      including any documents that are not in your immediate possession but that you have the ability
      to obtain. All responsive documents shall be produced as they are kept in the usual course of
      business, and shall be organized and labeled to correspond with the numbered paragraphs in the
      subpoena attachment. In that regard, documents should be produced in a unitized manner, i.e.,
      delineated with staples or paper clips to identify the document boundaries.
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           Documents responsive to this subpoena may be in electronic or paper form. Electronic
    documents such as email should be produced in accordance with the attached document entitled
    SEC Data Delivery Standards (the “Standards”). If you have any questions concerning the
    production of documents in an electronic format, please contact me as soon as possible but in
    any event before producing documents. All electronic documents responsive to the document
    subpoena, including all metadata, must also be secured and retained in their native
    software format and stored in a safe place. The staff may later request or require that you
    produce the native format.

            For documents in paper format, you may send the originals, or, if you prefer, you may
    send copies of the originals. The Commission cannot reimburse you for the copying costs. If you
    are sending copies, the staff requests that you scan (rather than photocopy) hard copy documents
    and produce them in an electronic format consistent with the Standards. Alternatively, you may
    send us photocopies of the documents in paper format. If you choose to send copies, you must
    secure and retain the originals and store them in a safe place. The staff may later request or
    require that you produce the originals.

           Whether you scan or photocopy documents, the copies must be identical to the originals,
    including even faint marks or print. Also, please note that if copies of a document differ in any
    way, they are considered separate documents and you must send each one. For example, if you
    have two copies of the same letter, but only one of them has handwritten notes on it, you must
    send both the clean copy and the one with notes.

            If you do send us scanned or photocopied documents, please put an identifying notation
    on each page of each document to indicate that you produced it, and number the pages of all the
    documents submitted. (For example, if Jane Doe sends documents to the staff, she may number
    the pages JD-1, JD-2, JD-3, etc., in a blank corner of the documents.) Please make sure the
    notation and number do not conceal any writing or marking on the document. If you send us
    originals, please do not add any identifying notations.

             In producing a photocopy of an original document that contains post-it(s), notation
    flag(s), or other removable markings or attachments which may conceal all or a portion of the
    markings contained in the original document, photocopies of the original document both with
    and without the relevant post-it(s), notation flag(s), or removable markings or attachments should
    be produced.

    Do I need to send anything else?

           You should enclose a list briefly describing each item you send. The list should state to
    which numbered paragraph(s) in the subpoena attachment each item responds. A copy of the
    subpoena should be included with the documents that are produced.

           Passwords for documents, files, compressed archives, and encrypted media should be
    provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover




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    letter mailed separately from the data. Password correspondence should reference case number,
    case name and requesting SEC staff member.

           Please include a cover letter stating whether you believe you have met your obligations
    under the subpoena by searching carefully and thoroughly for everything called for by the
    subpoena, and sending it all to us. Correspondence should reference case number, case name and
    requesting SEC staff member.

    What if I do not send everything described in the attachment to the subpoena?

           The subpoena requires you to send all the materials described in it. If, for any reason –
    including a claim of attorney-client privilege – you do not produce something called for by the
    subpoena, you should submit a list of what you are not producing. The list should describe each
    item separately, noting:

           •   its author(s);
           •   its date;
           •   its subject matter;
           •   the name of the person who has the item now, or the last person known to have it;
           •   the names of everyone who ever had the item or a copy of it, and the names of
               everyone who was told the item’s contents;
           •   the reason you did not produce the item; and
           •   the specific request in the subpoena to which the document relates.

            If you withhold anything on the basis of a claim of attorney-client privilege or attorney
    work product protection, you should identify the attorney and client involved. If you withhold
    anything on the basis of the work product doctrine, you should also identify the litigation in
    anticipation of which the document was prepared.

           If documents responsive to this subpoena no longer exist because they have been lost,
    discarded, or otherwise destroyed, you should identify such documents and give the date on
    which they were lost, discarded or destroyed.

    Where should I send the materials?

           Please send the materials to:

                   ENF-CPU
                   U.S. Securities and Exchange Commission
                   6315 Bren Mar Drive, Suite 175
                   Alexandria, VA 22312

            For smaller electronic productions under 10MB in size, the materials may be emailed to
    the following email address: ENF-CPU@sec.gov.




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          Please also provide a duplicate copy of any document production cover letters to Shelly-
    Ann A. Springer-Charles at springers@sec.gov. Additionally, please include the SEC matter
    number and the name of the requesting attorney when responding.

    Other Important Information

    May I have a lawyer help me respond to the subpoena?

            Yes. You have the right to consult with and be represented by your own lawyer in this
    matter. If you are represented by a lawyer when you testify, your lawyer may advise and
    accompany you when you testify. We cannot give you legal advice.

    What will the Commission do with the materials I send?

          The enclosed SEC Form 1662 explains how we may use the information you provide to
    the Commission. This form also has other important information for you. Please read it carefully.

    Has the Commission determined that anyone has done anything wrong?

           This investigation is a non-public, fact-finding inquiry. We are trying to determine
    whether there have been any violations of the federal securities laws. The investigation does not
    mean that we have concluded that anyone has violated the law. Also, the investigation does not
    mean that we have a negative opinion of any person, entity or security.

    Important Policy Concerning Settlements

            Please note that, in any matter in which enforcement action is ultimately deemed to be
    warranted, the Division of Enforcement will not recommend any settlement to the Commission
    unless the party wishing to settle certifies, under penalty of perjury, that all documents
    responsive to Commission subpoenas and formal and informal document requests in this matter
    have been produced.




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    I have read this letter, the subpoena, and the SEC Form 1662, but I still have questions. What
    should I do?

           If you have any other questions, you may call me at (305) 416-6224. If you are
    represented by a lawyer, you should have your lawyer contact me.

                                                        Sincerely,

                                                        /s Shelly-Ann A. Springer-Charles
                                                        Shelly-Ann A. Springer-Charles
                                                        Senior Counsel
                                                        Division of Enforcement

     Enclosures:       Subpoena and Attachment
                       SEC Data Delivery Standards
                       SEC Form 1662




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                                                         SUBPOENA
                           UNITED STATES OF AMERICA
                        SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter of Empirex Capital LLC, FL-04274

To:    Rafael Vargas
       1451 Brickell Ave.
       Unit 4203
       Miami, FL 33131


       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 6315 Bren Mar Drive, Suite 175, Alexandria, VA
       22312, no later than May 4, 2021 at 5:00 p.m.


□      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:

                   FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


 By:   /s Shelly-Ann A. Springer-Charles                                Date:      April 20, 2021
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S. Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                      SUBPOENA ATTACHMENT FOR RAFAEL VARGAS
                         In the Matter of Empirex Capital LLC, FL-04274

                                              April 20, 2021

                                               Definitions

    As used in this subpoena, the words and phrases listed below shall have the following meanings:

    1.     “Empirex Capital LLC” means the entity doing business under the name “Empirex
           Capital LLC” (“Empirex”), including parents, subsidiaries, affiliates, predecessors,
           successors, officers, directors, employees, agents, general partners, limited partners,
           partnerships and aliases, code names, or trade or business names used by any of the
           foregoing.

    2.     “Person” means a natural person, firm, association, organization, partnership, business,
           trust, corporation, bank or any other private or public entity.

    3.     A “Representative” of a Person means any present or former family members, officers,
           executives, partners, joint-venturers, directors, trustees, employees, consultants,
           accountants, attorneys, agents, or any other representative acting or purporting to act on
           behalf of the Person.

    4.     “Acero” means (i) Roman David Acero Quintero and/or (ii) any present or former
           representative of Acero.

    5.     “Gonzalez” means (i) Martha Gonzalez and/or (ii) any present or former representative of
           Gonzalez.

    6.     “Rojas” means (i) Catherine Rojas and/or (ii) any present or former representative of
           Rojas.

    7.     “Document” shall include, but is not limited to, any written, printed, or typed matter
           including, but not limited to all drafts and copies bearing notations or marks not found in
           the original, letters and correspondence, interoffice communications, slips, tickets,
           records, worksheets, financial records, accounting documents, bookkeeping documents,
           memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
           telephone messages, text messages, voice mails, tape recordings, notices, instructions,
           minutes, summaries, notes of meetings, file folder markings, and any other organizational
           indicia, purchase orders, information recorded by photographic process, including
           microfilm and microfiche, computer printouts, spreadsheets, and other electronically
           stored information, including but not limited to writings, drawings, graphs, charts,
           photographs, sound recordings, images, and other data or data compilations that are
           stored in any medium from which information can be retrieved, obtained, manipulated, or
           translated.
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    8.    “Communication” means any correspondence, contact, discussion, e-mail, instant
          message, or any other kind of oral or written exchange or transmission of information (in
          the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
          more Persons or entities, including, without limitation, all telephone conversations, face-
          to-face meetings or conversations, internal or external discussions, or exchanges of a
          Document or Documents.

    9.    “Concerning” means directly or indirectly, in whole or in part, describing, constituting,
          evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
          connection with, commenting on, relating to, regarding, discussing, showing, describing,
          analyzing or reflecting.

    10.   An “Agreement” means any actual or contemplated (i) written or oral Agreement; (ii)
          term or provision of such Agreement; or (iii) amendment of any nature or termination of
          such Agreement. A request for any Agreement among or between specified parties
          includes a request for all Documents Concerning (i) any actual or contemplated
          Agreement among or between such parties, whether or not such Agreement included any
          other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
          contemplated demand, request or application for any such Agreement, and any response
          thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
          Agreement, and any response thereto.

    11.   The term “Reviewed” means examined, assessed, considered, analyzed or evaluated.

    12.   The term “you” and “your” means the Person to whom or entity to which this subpoena
          was issued.

    13.   To the extent necessary to bring within the scope of this this subpoena any information or
          Documents that might otherwise be construed to be outside its scope:
          a.     the word “or” means “and/or”;
          b.     the word “and” means “and/or”;
          c.     the functional words “each,” “every” “any” and “all” shall each be deemed to
                 include each of the other functional words;
          d.     the masculine gender includes the female gender and the female gender includes
                 the masculine gender; and
          e.     the singular includes the plural and the plural includes the singular.

    14.   “Relevant Period” means the time period beginning January 1, 2018, or the earliest time
          for which records exist, whichever is earlier, and continuing to the present, unless
          otherwise specified.

    15.   “Relevant Entities and Individuals” means each of the following: Empirex, Acero,
          Gonzalez, Rojas, and any entity or individual Concerning the recruiting of Empirex
          investors or the sale of an Empirex investment to investors.




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                                             Instructions

    1.    Unless otherwise specified, this subpoena calls for production of the original Documents
          and all copies and drafts of same. Documents responsive to this subpoena may be in
          electronic or paper form. Electronic Documents such as email should be produced in
          accordance with the attached Document entitled SEC Data Delivery Standards. All
          responsive electronic Documents, including all metadata, should also be produced in their
          native software format.

    2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
          send copies of the originals. The Commission cannot reimburse you for the copying
          costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
          hard copy Documents and produce them in an electronic format consistent with the SEC
          Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
          in paper format. If you choose to send copies, you must secure and retain the originals
          and store them in a safe place. The staff may later request or require that you produce the
          originals.

    3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
          including even faint marks or print. Also, please note that if copies of a Document differ
          in any way, they are considered separate Documents and you must send each one. For
          example, if you have two copies of the same letter, but only one of them has handwritten
          notes on it, you must send both the clean copy and the one with notes.

    4.    In producing a photocopy of an original Document that contains post-it(s), notation
          flag(s), or other removable markings or attachments which may conceal all or a portion
          of the markings contained in the original Document, photocopies of the original
          Document both with and without the relevant post-it(s), notation flag(s), or removable
          markings or attachments should be produced.

    5.    Documents should be produced as they are kept in the ordinary course of business or be
          organized and labeled to correspond with the categories in this request. In that regard,
          Documents should be produced in a unitized manner, i.e., delineated with staples or paper
          clips to identify the Document boundaries.

    6.    Documents should be labeled with sequential numbering (bates-stamped).

    7.    You must produce all Documents created during, or Concerning, the period from January
          1, 2018, or the earliest time for which records exist, whichever is earlier, to the date of
          this subpoena, unless otherwise specified.

    8.    The scope of any given request should not be limited or narrowed based on the fact that it
          calls for Documents that are responsive to another request.

    9.    You are not required to produce exact duplicates of any Documents that have been
          previously produced to the Securities and Exchange Commission staff in connection with



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          this matter. If you are not producing Documents based upon a prior production, please
          identify the responsive Documents that were previously produced.

    10.   This subpoena covers all Documents in or subject to your possession, custody or control,
          including all Documents that are not in your immediate possession but that you have the
          effective ability to obtain, that are responsive, in whole or in part, to any of the individual
          requests set forth below. If, for any reason – including a claim of attorney-client privilege
          – you do not produce something called for by the request, you should submit a list of
          what you are not producing. The list should describe each item separately, noting:

          a.     its author(s);
          b.     its date;
          c.     its subject matter;
          d.     the name of the Person who has the item now, or the last Person known to have it;
          e.     the names of everyone who ever had the item or a copy of it, and the names of
                 everyone who was told the item’s contents;
          f.     the basis upon which you are not producing the responsive Document;
          g.     the specific request in the subpoena to which the Document relates;
          h.     the attorney(s) and the client(s) involved; and
          i.     in the case of the work product doctrine, the litigation for which the Document
                 was prepared in anticipation.

    11.   If Documents responsive to this subpoena no longer exist because they have been lost,
          discarded, or otherwise destroyed, you should identify such Documents and give the date
          on which they were lost, discarded or destroyed.

                                      Documents to be Produced

    1.    Documents sufficient to disclose all of your employers from January 1, 2018 through
          present, as well as your title(s), dates of affiliation with each employer, and salary or
          other compensation;

    2.    Documents sufficient to identify the nature of your relationship with the Relevant Entities
          and Individuals and all salary or other compensation you have received from the Relevant
          Entities and Individuals from January 1, 2018 through present;

    3.    All Documents Concerning Agreements, contracts, loans, notes, or understandings
          between you and Empirex and the Relevant Entities and Individuals;

    4.    For each year from January 1, 2018 through present, Document sufficient to disclose
          your annual income and all sources of income;

    5.    Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
          financial accounts held in your name or for your benefit, or over which you have any
          control, or by or on behalf of Empirex and Documents sufficient to disclose, for each
          account identified in response to this Item:


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             a. the name, address, and telephone number of the financial institution where the
                account is held, maintained, directed or controlled;
             b. the account number;
             c. the name, address, and telephone number of the branch office, if any, where the
                account is held, maintained, or directed;
             d. the account name; and,
             e. the date the account was opened;

    6.    For the accounts responsive to Item 5 above, all account information including but not
          limited to account opening Documents, Communications, monthly account statements,
          cancelled checks (front and back), wire transfer requests, confirmations, emails, notes
          and other similar Documents;

    7.    Documents sufficient to disclose all of your other assets over $1,000 in value, including
          the current location of all such assets;

    8.    Documents sufficient to disclose all other assets held by or on behalf of Empirex;

    9.    For each tax year 2018 through present, copies of all your filed federal and state income
          tax returns;

    10.   Documents sufficient to disclose the corporate structure of Empirex including, but not
          limited to, the date and place of establishment, organization, and, if applicable,
          incorporation;

    11.   Documents sufficient to identify all officers, directors, principals, owners, shareholders,
          employees, and all others acting on behalf of Empirex and Documents sufficient to
          disclose, for each individual identified in response to this Item:

             a.   title;
             b.   dates of affiliation with Empirex;
             c.   current or last known home address and telephone number;
             d.   current or last known employment address and telephone number; and,
             e.   salary or other compensation for each year from January 1, 2018 through present;

    12.   Documents sufficient to identify all individuals and entities for whom Empirex performs
          or has performed services of any kind and the nature of the services performed;

    13.   All draft and final financial reports Concerning Empirex including, but not limited to,
          audited and unaudited financial statements, including balance sheets and statements of
          income and retained earnings and cash flows, as well as all ledgers, journals, and
          workpapers used to prepare and support Empirex’s financial statements, copies of filed
          federal and state corporate income tax returns and 1099/1098/1096 tax returns, w-2s and
          payroll tax returns, trial balances, cash receipt journals, bank statements, copies of
          canceled checks, deposit records with copies of deposit items, cash disbursement


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          journals, balance sheets, statements of income and retained earnings and cash flows, any
          other report of receipts, disbursements, net profits and losses, and cash flow, and any
          other financial reports and other information Concerning the financial condition, business
          and operations of Empirex;

    14.   Documents sufficient to identify all Empirex investors by name, address, and telephone
          number;

    15.   For each investor identified in response to Item 14 above, Documents sufficient to
          disclose

             a. the amount invested;
             b. the date(s) of investments; and,
             c. whether, when, and how much of each investors’ principal has been returned to
                them;

    16.   For each investor identified in response to Item 14 above, all Documents Concerning
          Agreements, contracts, loans, notes, or understandings between you or Empirex and the
          investor and all Documents that reflect terms of investments;

    17.   For each investor identified in response to Item 14 above, all periodic or other account
          statements;

    18.   For each investor identified in response to Item 14 above, all Documents Concerning the
          investment of (or other use of) their funds by you or Empirex and the current location of
          investor funds;

    19.   All Documents and Communications Concerning all investment, promotional, sales,
          marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
          disseminated, directly or indirectly, by you or any of the Relevant Entities and
          Individuals, including, but not limited to, brochures, offering memoranda and
          attachments, business and projection plans, subscription agreements, and operating
          agreements;

    20.   All Documents Concerning your or Empirex’s drafting, review of and comments made
          on all draft and final Empirex offering and marketing materials provided to prospective
          and actual Empirex investors;

    21.   Documents sufficient to identify all individuals or entities who were solicited as potential
          investors but did not ultimately invest in Empirex;

    22.   All Documents Concerning funds received by you or Empirex from the Relevant Entities
          and Individuals, including, but not limited to, front and back of all canceled checks,
          check stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms,
          and any other documents or records reflection such receipts;



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    23.   All Documents Concerning funds disbursed by you or Empirex to the Relevant Entities
          and Individuals, including, but not limited to, front and back of all canceled checks,
          check stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms,
          and any other documents or records reflection such disbursements;

    24.   All Documents Concerning the payment of fees to any individual or entity in connection
          with the recruiting of Empirex investors or the sale of an Empirex investment to
          investors;

    25.   All Documents Concerning Communications between you or Empirex and investors or
          potential investors in Empirex;

    26.   All Documents Concerning all Communications between you and the Relevant Entities
          and Individuals Concerning:

             a.   Empirex;
             b.   Acero;
             c.   Gonzalez;
             d.   Rojas;
             e.   all funds received by the Relevant Entities and Individuals directly or indirectly
                  from you or Empirex;
             f.   all funds disbursed by the Relevant Entities and Individuals directly or indirectly
                  to you or Empirex;
             g.   all funds received or disbursed by you or Empirex;
             h.   all Agreements, contracts, loans, notes, or understandings between you and the
                  Relevant Entities and Individuals;
             i.   all Agreements, contracts, loans, notes, or understandings among or between the
                  Relevant Entities and Individuals Concerning Empirex; and,

    27.   To the extent not provided in response to other Items, all Documents Concerning the
          following:

             a. Empirex;
             b. All your or Empirex accounts held at Bank of America, N.A., JPMorgan Chase
                Bank, N.A., and Coinbase Inc. from January 1, 2018 through the present,
                including, but not limited to, account opening Documents and periodic or other
                statements;
             c. All your or Empirex accounts held at all other domestic or foreign banks,
                brokerages, or other financial institutions not identified in response to any other
                Item from January 1, 2018 through the present, including, but not limited to,
                account opening Documents and periodic or other statements;
             d. the Relevant Entities and Individuals; and,
             e. All Empirex investors.




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                                                                          U.S. Securities and Exchange Commission

                                                                                                Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the U.S.
    Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
    described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
    prior to submission.**

    General Instructions ................................................................................................................................................................................... 1
    Delivery Formats............................................................................................................................................................ 2
         I. Imaged Productions..............................................................................................................................................................................................................................3
                 1. Images ......................................................................................................................................................................................... 3
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         IX. Mobile Device Data ................................................................................................................................................................ 5



    General Instructions

    Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
    ENF-CPU, 6315 Bren Mar Drive, Suite 175, Alexandria, VA 22312

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
    (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.    A cover letter must be included with each production and should include the following information:
             a. Case number, case name and requesting SEC staff member name
             b. A list of each piece of media included in the production with its unique production volume number
             c. A list of custodians, identifying the Bates range for each custodian
             d. The time zone in which the emails were standardized during conversion
             e. Whether the production contains native files produced from Mac operating system environments
  2.    Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
        labeled with the following:
             a. Case number
             b. Production date
             c. Producing party
             d. Bates range (if applicable)
  3.    All submissions must be organized by custodian unless otherwise instructed.
  4.    All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
        should follow parent files sequentially in the Bates numbering.
  5.    All load-ready collections should include only one data load file and one image pointer file.
  6.    All load-ready text must be produced as separate document-level text files.
  7.    All load-ready collections should account for custodians in the custodian field.
  8.    All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
        as separate records.
  9.    Audio files should be separated from data files if both are included in the production.
  10.   Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
        are not permitted.
  11.   All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.   The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
        Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
        information, please reach out to the requesting SEC staff member.
  13.   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
        Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
        member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
        for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
        be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
        using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.   Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
        electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
        marked as BSA or SAR material, or should be produced separately from other case related material.
  15.   Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
        email or in a cover letter apart from the media.
  16.   All electronic productions should be produced free of computer viruses.
  17.   Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
        discuss appropriate handling.
  18.   Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
        reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.   Additional technical descriptions can be found in the addendum to this document.

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      *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
      result electronic productions may be damaged.*
Delivery Formats
I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.
     1. Images
        a. Black and white images must be 300 DPI Group IV single-page TIFF files
        b. Color images must be produced in JPEG format
        c. File names cannot contain embedded spaces or special characters (including the comma)
        d. Folder names cannot contain embedded spaces or special characters (including the comma)
        e. All image files must have a unique file name, i.e. Bates number
        f. Images must be endorsed with sequential Bates numbers in the lower right corner of each image
        g. The number of image files per folder should not exceed 2,000 files
        h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
        i. AUTOCAD/photograph files should be produced as a single page JPEG file
     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount
     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.
          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                          lb
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          j.   BEGATTACH and ENDATTACH fields must be two separate fields
          k.   A complete list of metadata fields is available in Addendum A to this document
     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
        that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
        should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
        the redacted version.
     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
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      a.   Native file documents must be named per the FIRSTBATES number
      b.   The full path of the native file must be provided in the .DAT file for the LINK field
      c.   The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, native email files (.PST or
       .MBOX) may be produced. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
               characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
             separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
             separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


          Field Name           Sample Data                     Description
          FIRSTBATES           EDC0000001                      First Bates number of native file document/email
          LASTBATES            EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
          ATTACHRANGE          EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
          BEGATTACH            EDC0000001                      First Bates number of attachment range
          ENDATTACH            EDC0000015                      Last Bates number of attachment range
          PARENT_BATES         EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
          CHILD_BATES          EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
          CUSTODIAN            Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
          FROM                 John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          TO                   Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
          CC                   Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
          BCC                  John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
          FILE_NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
          DATE_SENT            10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
          TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
          _ZONE                                                the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                 combined with the DATE_SENT field




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     TIME_ZONE       GMT                         The time zone in which the emails were standardized
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
     LINK            D:\001\ EDC0000001.msg      Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
     MIME_TYPE       application/msword          The content type of an email or native file document
                                                 as identified/extracted from the header
     FILE_EXTEN      MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
     AUTHOR          John Smith                  Email: (empty)
                                                 Native: Author of the document
     LAST_AUTHOR     Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
     DATE_CREATED    10/10/2010                  Email: (empty)
                                                 Native: Date the document was created
     TIME_CREATED/T 10:25 AM GMT                 Email: (empty)
     IME_ZONE                                    Native: Time the document was created including time
                                                 zone
                                                 **This data must be a separate field and cannot be
     DATE_MOD        10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
     TIME_MOD/TIME_ 07:00 PM GMT                 Email: (empty)
     ZONE                                        Native: Time the document was last modified including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
     DATE_ACCESSD    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last accessed
     TIME_ACCESSD/T 07:00 PM GMT                 Email: (empty)
     IME_ZONE                                    Native: Time the document was last accessed including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
     PRINTED_DATE    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
     FILE_SIZE       5,952                       Size of native file document/email in KB
     PGCOUNT         1                           Number of pages in native file document/email
     PATH            J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
     INTFILEPATH     Personal Folders\Deleted    Email: original location of email including original
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
     INTMSGID        <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306d1@MSN>                 Native: (empty)




                                                 8
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                                                                       and Exchange 70 of 287
                                                                                                          Data Delivery Standards
         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                       ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date – Date the data was received or made
    3) Connection Time – Time data was received or made
    4) Originating number – Number that used data
    5) IMEI Originating – Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes – Identify data direction, or other data routing information
    8) Time Zone – Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                        Washington, D.C. 20549

                         Supplemental Information for Persons Requested to Supply
                         Information Voluntarily or Directed to Supply Information
                                   Pursuant to a Commission Subpoena
    A. False Statements and Documents
    Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
             Government of the United States, knowingly and willfully--
                 (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                 (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                 (3) makes or uses any false writing or document knowing the same to contain any materially false,
                 fictitious, or fraudulent statement or entry.

    Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
             record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
             proper administration of any matter within the jurisdiction of any department or agency of the United States
             . . ., or in relation to or contemplation of any such matter.
    B. Testimony
    If your testimony is taken, you should be aware of the following:
    1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
         the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
         will not go off the record at your, or your counsel’s, direction.
    2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
         counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
         testimony to clarify any of the answers you give during testimony; and make summary notes during your
         testimony solely for your use. If you are accompanied by counsel, you may consult privately.
    If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
    testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
    once to afford you the opportunity to arrange to be so accompanied, represented or advised.
    You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
    This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
    adverse to another’s. If you are represented by counsel who also represents other persons involved in the
    investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
    possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
    3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
         A person who has submitted documentary evidence or testimony in a formal investigative proceeding
         shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
         his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
         investigative proceeding the Commission may for good cause deny such request. In any event, any
         witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
         own testimony.
    If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
    appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
    4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
    be imposed upon:
             Whoever--


    SEC 1662 (08-16)
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                 (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                 the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                 truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                 willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                 be true; or
                 (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                 section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                 does not believe to be true.
    5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
    local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
    You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
    United States, to give any information that may tend to incriminate you.
    If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
    question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
    6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
    during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
    C. Submissions and Settlements
    Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
             Persons who become involved in . . . investigations may, on their own initiative, submit a written
             statement to the Commission setting forth their interests and position in regard to the subject matter
             of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
             general nature of the investigation, including the indicated violations as they pertain to them, and
             the amount of time that may be available for preparing and submitting a statement prior to the
             presentation of a staff recommendation to the Commission for the commencement of an
             administrative or injunction proceeding. Submissions by interested persons should be forwarded to
             the appropriate Division Director or Regional Director with a copy to the staff members conducting
             the investigation and should be clearly referenced to the specific investigation to which they relate.
             In the event a recommendation for the commencement of an enforcement proceeding is presented
             by the staff, any submissions by interested persons will be forwarded to the Commission in
             conjunction with the staff memorandum.
    The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
    Commission enforcement proceedings, when the staff deems appropriate.
    Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
             In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
             staff, with appropriate authorization, may discuss with persons involved the disposition of such
             matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
             however, that the disposition of any such matter may not, expressly or impliedly, extend to any
             criminal charges that have been, or may be, brought against any such person or any
             recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
             before the Commission who consents, or agrees to consent, to any judgment or order does so
             solely for the purpose of resolving the claims against him in that investigative, civil, or
             administrative matter and not for the purpose of resolving any criminal charges that have been, or
             might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
             has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
             criminal proceedings. That authority and responsibility are vested in the Attorney General and
             representatives of the Department of Justice.
    D. Freedom of Information Act
    The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
    public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
    which a person can make a written request that information submitted to the Commission not be disclosed under the
    FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
    disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
    be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
    you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
    please provide a duplicate request, together with a stamped, self-addressed envelope.



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    E. Authority for Solicitation of Information
    Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
    set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
    of any legal right or privilege you might have.
    Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
    Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
    the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
    Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
    requested information to the Commission is voluntary on your part.
    F. Effect of Not Supplying Information
    Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
    Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
    supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
    21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
    209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
    any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
    produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
    Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
    failing to provide all or any part of the requested information.
    G. Principal Uses of Information
    The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
    person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
    the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
    Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
    provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
    explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
    accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
    other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
    disposition, transfer, or retention, in accordance with applicable law, of information provided.
    H. Routine Uses of Information
    The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
    and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
    where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
    general, a confidential matter between the Commission and such other governmental agencies.
    Set forth below is a list of the routine uses which may be made of the information furnished.
    1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
    confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
    result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
    theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
    the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
    such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
    respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
    2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
    foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
    3. To national securities exchanges and national securities associations that are registered with the SEC, the
    Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
    Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
    the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
    securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
    their regulatory or enforcement responsibilities.
    4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
    the federal securities laws.




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    5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
    members of its staff, is a party or otherwise involved in an official capacity.
    6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
    201.102(e).
    7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
    authority; or professional association or self-regulatory authority to the extent that it performs similar functions
    (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
    8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
    SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
    a contract; or the issuance of a license, grant, or other benefit.
    9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
    concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
    investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
    requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
    the matter.
    10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
    in support of the function for which the records are collected and maintained or for related personnel management
    functions or manpower studies; may also be used to respond to general requests for statistical information (without
    personal identification of individuals) under the Freedom of Information Act.
    11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
    competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
    administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
    3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
    Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
    201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
    specifically designated to perform particular functions with respect to, or as a result of, the pending action or
    proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
    or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
    12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
    connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
    have further information about the matters related therein, and those matters appeared to be relevant at the time to
    the subject matter of the inquiry.
    13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
    the performance of a service related to this system of records and who need access to the records for the purpose of
    assisting the Commission in the efficient administration of its programs, including by performing clerical,
    stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
    these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
    552a.
    14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
    is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
    include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
    15. To members of advisory committees that are created by the Commission or by Congress to render advice and
    recommendations to the Commission or to Congress, to be used solely in connection with their official designated
    functions.
    16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
    200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
    laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
    preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
    connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
    17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
    made at the request of that individual.
    18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
    their activities, and other matters under the Commission’s jurisdiction.




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    19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
    78c(a)(47)), as amended.
    20. To respond to subpoenas in any litigation or other proceeding.
    21. To a trustee in bankruptcy.
    22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
    commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
    including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
    garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                          *****
    Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
    would like more information, or have questions or comments about federal securities regulations as they affect small
    businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
    551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
    Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
    Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
    activities for their responsiveness to the special needs of small business.




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         ATTACHMENT E
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     From:           Perez, Carmen
     To:             efast@theblanchlawfirm.com
     Cc:             Springer, Shelly-Ann
     Subject:        smail FL-04274 Subpoena
     Date:           Wednesday, January 19, 2022 2:54:28 PM
     Attachments:    image001.png
                     Rafael Vargas-1-19-2022.pdf


     Ms. Fast,

     Please see attached.

     Regards,

                            Carmen R. Perez
                            Senior Paralegal Specialist
                            United States Securities and Exchange Commission
             [ii            Miami Regional Office, Division of Enforcement
                            801 Brickell Avenue, Suite 1950
                            Miami, Florida 33131
                            P: 305.982.6350
                            F: 703.813-.9558
                               Email: perezc@sec.gov
                               Website: https://www.sec.gov/regional-office/miami
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                                               UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                     801   BRICKELL A V ENUE , SUITE 1950

                                            MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT
                                                                            Shelly-Ann A. Springer-Charles
                                                                            Senior Counsel
                                                                            (305) 416-6224
                                                                            springers@sec.gov

      January 19, 2022

      EMAIL AND OVERNIGHT DELIVERY
      Rafael Vargas
      c/o Elena Fast, Esq.
      The Blanch Law Firm, P.C.
      261 Madison Avenue, 12th Floor
      New York, NY 10016
      efast@theblanchlawfirm.com

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Ms. Fast:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission’s Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for testimony issued to your client, Rafael Vargas, in connection with the
      above-referenced investigation.

             The subpoena requires your client, Rafael Vargas, to appear for testimony conducted by
      audio-visual teleconference means, using the WebEx Internet platform, Wednesday, March 16,
      2022 at 9:00 a.m. EDT. I will send you and your client a WebEx invitation directed to your
      email addresses, to enable you to access the testimony session.

              A background questionnaire is also enclosed. During your client’s testimony, the staff
      intends to ask background questions concerning, among other things, your client’s residences,
      telephone numbers, education and employment. To expedite that part of the testimony, we
      request that your client complete the enclosed questionnaire on a voluntary basis and provide it
      to the staff prior to your client’s testimony.

              Enclosed is a copy of the Commission’s Form 1662, entitled “Supplemental Information
      for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
      Pursuant to a Commission Subpoena.” This form explains how we may use the information that
      your client provides to the Commission and has other important information for your client.
      Please provide a copy of this form to your client.
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           This investigation is a non-public, fact-finding inquiry. We are trying to determine
    whether there have been any violations of the federal securities laws. The investigation does not
    mean that we have concluded that anyone has violated the law. Also, the investigation does not
    mean that we have a negative opinion of any person, entity, or security.

           If you have any questions or would like to discuss this matter, you may contact me at
    (305) 416-6224.

                                                         Sincerely,




                                                         Shelly-Ann A. Springer-Charles
                                                         Senior Counsel
                                                         Division of Enforcement
                                                         (305) 416-6224
                                                         springers@sec.gov


     Enclosures:       Subpoena
                       SEC Form 1662
                       Background Questionnaire




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                                                          SUBPOENA
                            UNITED STATES OF AMERICA
                         SECURITIES AND EXCHANGE COMMISSION
                                    In the Matter of Empirex Capital LLC, FL-04274

To:     Rafael Vargas
        c/o Elena Fast, Esq.
        The Blanch Law Firm, P.C.
        261 Madison Avenue, 12th Floor
        New York, NY 10016
        efast@theblanchlawfirm.com

□       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
        and Exchange Commission, at the place, date and time specified below:


        YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
        time specified below:
        Wednesday, March 16, 2022 at 9:00a.m. EDT, by audio-visual teleconference means,
        using the WebEx Internet platform. You are to access the testimony session through a
        WebEx invite, which will be sent from Shelly-Ann A. Springer-Charles, Senior Counsel, to
        you and your counsel.

                    FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
              If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
         Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


        By:                                                                      Date:     January 19, 2022
        Shelly-Ann A. Springer-Charles, Senior Counsel
        U.S. Securities and Exchange Commission
        Miami Regional Office
        801 Brickell Avenue, Suite 1950
        Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                                  BACKGROUND QUESTIONNAIRE

    Please respond to the following questions. Answering these questions will reduce the
    amount of time spent on background information when you testify. You may use the space
    provided, attaching additional sheets as necessary, or supply the information in a separate
    document. If you would like an electronic version of this document, please contact us and
    we will provide you with one.

    Today’s date: _________________

    1. What is your full name?

    2. Have you ever been known by any other name? Yes ____ No ____
       If yes, list each such name and the period(s) in which you were known by that name.


    3. Date and place of birth?


    4. Country of citizenship?


    5. Marital Status? Married ___     Divorced ___ Single ___




    6. List the names, ages, and occupations of your children, if any.




    7. List all residences you occupied at any time during the last three years, including vacation
       homes, beginning with your current residence. For each residence, state the address, dates of
       residence, and all telephone numbers (including facsimile numbers) listed at that address.
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    ELECTRONIC COMMUNICATIONS ACCOUNTS
    8. List all telephone numbers and telecommunication services that were in your name or that
       you regularly used between January 1, 2018 and the present. Include all residential business,
       cellular, credit card, and VOIP numbers, and services such as Google Voice, Skype, and
       video conference services. For each telephone number, state the name of the corresponding
       carrier (e.g., AT&T, Verizon, Vonage, Skype, etc.).




    9. List the universal resource locator (URL) for all websites or blogs that you established or for
       which you had the authority to control content at any time between January 1, 2018 and the
       present. For each website, state the name(s) of the domain name registrar (e.g. GoDaddy)
       through which the URL was obtained, the name(s) of all individuals or entities who provided
       web site hosting or design services, whether the website contained primarily business or
       personal information, and the time period in which it was active.




    10. List all electronic mail addresses and social networking accounts (e.g.Facebook, LinkedIn,
        Twitter, Instagram, Flickr, Google+) that were in your name or that you regularly used at any
        time between January 1, 2018 and the present. Include all personal, business, or shared
        electronic mail addresses and social networking accounts. For each electronic mail address
        and social networking account, state the name(s) of the corresponding internet service
        provider(s) (e.g. Google, Yahoo, AOL, or your employer), whether the address was used
        primarily for business or personal correspondence, and the time period in which it was active.
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    11. List all usernames for instant messaging and similar electronic communications services
        (including, but not limited to, Bloomberg, Skype, whatsapp), other than those listed in
        response to questions above, that were in your name or that you regularly used at any time
        between January 1, 2018 and the present. Include all personal, business, and shared
        addresses. For each username, state the name(s) of the communication service provider (e.g.
        Google, AOL, etc.), whether the address was used primarily for business or personal
        correspondence, the time period in which it was active, and the name of the software
        application(s) (e.g. GTalk, ICQ, MSN Messenger) you used to access it.




    12. List all internet message boards and discussion forums (including, but not limited to, Money
        Maker Group, PNQI Message Board, Investors Hub Daily) of which you were a member or
        on which you posted messages at any time between January 1, 2018 and the present. For each
        message board or discussion forum, state the service provider and your member name or
        identification information.




    PUBLICLY-HELD COMPANIES
    13. Are you now, or have you ever been, an officer or director of any publicly-held company?
        Yes ___ No ____.




    14. Are you now, or have you ever been, a beneficial owner, directly or indirectly, of five per
        cent or more of any class of equity securities of any publicly held company? Yes ___ No
        ____.
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    PRIVATELY-HELD COMPANIES
    15. Are you now, or have you ever been, a beneficial owner, directly or indirectly, of any
        privately-held company (i.e., corporation, partnership, limited liability company or other
        corporate form)?




    16. Are you now, or have you ever been, a manager or a member of any privately-held company
        (i.e., corporation, partnership, limited liability company or other corporate form)?




    SECURITIES ACCOUNTS

    17. List all securities or brokerage accounts that you have held in your name, individually or
        jointly, at any time between January 1, 2018 and the present. Include all foreign accounts.
        For each such account, identify: (i) the brokerage firm; (ii) the location of the branch where
        your account is or was held; (iii) your broker; (iv) the type of account (i.e., cash, margin or
        IRA); (v) the account number; and (vi) whether any person has ever held discretionary
        authority or power of attorney over the account; if so, name such person(s).




    18. List all securities or brokerage accounts (including foreign accounts), other than those listed
        in your answer to the previous question, in which you had any direct or indirect beneficial
        interest at any time between January 1, 2018 and the present. For each such account,
        provide the information requested by the previous question.
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    19. List all securities or brokerage accounts (including foreign accounts), other than those listed
        in your answers to the two previous questions, over which you had any control at any time
        between January 1, 2018 and the present. For each such account, provide the information
        requested by the first question in this section.




    BANK ACCOUNTS
    20. List all accounts you have held in your name at any financial institution (i.e., bank, thrift, or
        credit union) at any time between January 1, 2018 and the present. Include all foreign
        accounts. For each such account, identify: (i) the financial institution; (ii) the address of the
        branch at which your account is or was held; (iii) the type of account (i.e., checking, savings,
        money market or IRA); (iv) the account number; and (v) whether any person has ever had
        discretionary authority or power of attorney over the account; if so, name such person(s).




    21. List all accounts at financial institutions (including foreign accounts), other than those listed
        in your answer to the previous question, in which you had any direct or indirect beneficial
        interest at any time between January 1, 2018 and the present. For each such account, provide
        the information requested by the previous question.




    22. List all accounts at financial institutions (including foreign accounts), other than those listed
        in your answers to the two previous questions, over which you had any control at any time
        between January 1, 2018 and the present. For each such account, provide the information
        requested by the first question in this section.
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    23. List any other accounts (including foreign accounts), other than those listed in your answers
        to the previous questions in this section, that were held in your name, in which you had any
        direct or indirect beneficial interest, or over which you had any control, that you have used to
        transfer funds between January 1, 2018 and the present, including, but not limited to, PayPal
        accounts. For each such account, provide the information requested by the first question in
        this section.




    PRIOR PROCEEDINGS
    24. Have you ever testified in any proceeding conducted by the staff of the Securities and
        Exchange Commission, a U.S. or foreign federal or state agency, a U.S. or foreign federal or
        state court, a stock exchange, the Financial Industry Regulatory Authority (“FINRA”) or any
        other self-regulatory organization (“SRO”), or in any arbitration proceeding related to
        securities transactions?




    25. Have you ever been deposed in connection with any court proceeding? Yes ___ No ____.




    26. Have you ever been named as a defendant or respondent in any action or proceeding brought
        by the SEC, any other U.S. or foreign federal agency, a state securities agency, FINRA, an
        SRO, or any exchange? Yes ___ No ____.
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    27. Have you ever been a defendant in any action (other than those listed in response to the
        previous question) alleging violations of the federal securities laws? Yes ___ No ____.




    28. Have you ever been a defendant in any criminal proceeding other than one involving a minor
        traffic offense? Yes ___ No ____.




     EDUCATIONAL HISTORY
    29. Provide the requested information about each educational institution that you have attended,
        beginning with the most recent and working backward to the date that you completed high
        school.




    30. Other than courses taken in connection with institutions listed in response to question 29, list
        any securities, accounting or business related courses taken since high school. For each such
        course, identify the date that the course was completed and the name of the institution or
        organization that offered the course.




    PROFESSIONAL LICENSES/CLUBS
    31. Do you hold, or have you ever held, any professional license? Yes ___ No ____.




    32. Are you, or have you ever been, a member of any professional or business club or
        organization? Yes ___ No ____.
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    33. Are you, or have you been between January 1, 2018 and the present, a member of any social
        clubs, charities or nonprofit organizations? Yes ___ No ____.




    EMPLOYMENT HISTORY
    34. Are you, or have you ever been, an employee of a broker, dealer, investment adviser,
        investment company, municipal securities dealer, municipal advisor, transfer agent, or
        nationally recognized statistical rating organization? Yes ___ No ____.




    35. State your employment activities, beginning with the present and working backward to the
        date that you completed high school and attach a recent copy of your resume or curriculum
        vitae. For each position you have held (including multiple positions or titles with the same
        employer), provide the following information:




                      CONTINUE ON ADDITIONAL SHEETS IF NECESSARY
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                                SECURITIES AND EXCHANGE COMMISSION
                                         Washington, D.C. 20549

                           Supplemental Information for Persons Requested to Supply
                           Information Voluntarily or Directed to Supply Information
                                     Pursuant to a Commission Subpoena
    A. False Statements and Documents
    Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
             Government of the United States, knowingly and willfully--
                 (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                 (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                 (3) makes or uses any false writing or document knowing the same to contain any materially false,
                 fictitious, or fraudulent statement or entry.

    Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
    upon:
             Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
             record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
             proper administration of any matter within the jurisdiction of any department or agency of the United States
             . . ., or in relation to or contemplation of any such matter.
    B. Testimony
    If your testimony is taken, you should be aware of the following:
    1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
         the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
         will not go off the record at your, or your counsel’s, direction.
    2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
         counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
         testimony to clarify any of the answers you give during testimony; and make summary notes during your
         testimony solely for your use. If you are accompanied by counsel, you may consult privately.
    If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
    testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
    once to afford you the opportunity to arrange to be so accompanied, represented or advised.
    You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
    This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
    adverse to another’s. If you are represented by counsel who also represents other persons involved in the
    investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
    possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
    3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
         A person who has submitted documentary evidence or testimony in a formal investigative proceeding
         shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
         his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
         investigative proceeding the Commission may for good cause deny such request. In any event, any
         witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
         own testimony.
    If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
    appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
    4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
    be imposed upon:
             Whoever--
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                 (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                 the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                 truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                 willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                 be true; or
                 (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                 section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                 does not believe to be true.
    5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
    local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
    You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
    United States, to give any information that may tend to incriminate you.
    If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
    question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
    6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
    during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
    C. Submissions and Settlements
    Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
             Persons who become involved in . . . investigations may, on their own initiative, submit a written
             statement to the Commission setting forth their interests and position in regard to the subject matter
             of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
             general nature of the investigation, including the indicated violations as they pertain to them, and
             the amount of time that may be available for preparing and submitting a statement prior to the
             presentation of a staff recommendation to the Commission for the commencement of an
             administrative or injunction proceeding. Submissions by interested persons should be forwarded to
             the appropriate Division Director or Regional Director with a copy to the staff members conducting
             the investigation and should be clearly referenced to the specific investigation to which they relate.
             In the event a recommendation for the commencement of an enforcement proceeding is presented
             by the staff, any submissions by interested persons will be forwarded to the Commission in
             conjunction with the staff memorandum.
    The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
    Commission enforcement proceedings, when the staff deems appropriate.
    Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
             In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
             staff, with appropriate authorization, may discuss with persons involved the disposition of such
             matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
             however, that the disposition of any such matter may not, expressly or impliedly, extend to any
             criminal charges that have been, or may be, brought against any such person or any
             recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
             before the Commission who consents, or agrees to consent, to any judgment or order does so
             solely for the purpose of resolving the claims against him in that investigative, civil, or
             administrative matter and not for the purpose of resolving any criminal charges that have been, or
             might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
             has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
             criminal proceedings. That authority and responsibility are vested in the Attorney General and
             representatives of the Department of Justice.
    D. Freedom of Information Act
    The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
    public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
    which a person can make a written request that information submitted to the Commission not be disclosed under the
    FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
    disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
    be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
    you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
    please provide a duplicate request, together with a stamped, self-addressed envelope.
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    E. Authority for Solicitation of Information
    Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
    set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
    of any legal right or privilege you might have.
    Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
    Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
    the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
    Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
    requested information to the Commission is voluntary on your part.
    F. Effect of Not Supplying Information
    Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
    Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
    supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
    21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
    209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
    any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
    produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
    Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
    failing to provide all or any part of the requested information.
    G. Principal Uses of Information
    The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
    person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
    the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
    Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
    provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
    explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
    accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
    other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
    disposition, transfer, or retention, in accordance with applicable law, of information provided.
    H. Routine Uses of Information
    The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
    and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
    where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
    general, a confidential matter between the Commission and such other governmental agencies.
    Set forth below is a list of the routine uses which may be made of the information furnished.
    1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
    breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
    there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
    Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
    reasonably necessary to assist in connection with the SEC’s efforts to respond to the suspected or confirmed breach
    or to prevent, minimize, or remedy such harm.
    2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
    foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
    3. To national securities exchanges and national securities associations that are registered with the SEC, the
    Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
    Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
    the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
    securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
    their regulatory or enforcement responsibilities.
    4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
    the Federal securities laws.
    5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
    members of its staff, is a party or otherwise involved in an official capacity.
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    6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
    201.102(e).
    7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
    authority; or professional association or self-regulatory authority to the extent that it performs similar functions
    (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
    8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
    SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
    a contract; or the issuance of a license, grant, or other benefit.
    9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
    concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
    investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
    requesting agency, to the extent that the information is relevant and necessary to the requesting agency’s decision on
    the matter.
    10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
    in support of the function for which the records are collected and maintained or for related personnel management
    functions or manpower studies; may also be used to respond to general requests for statistical information (without
    personal identification of individuals) under the Freedom of Information Act.
    11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
    competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
    administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
    3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
    Practice, 17 CFR 201.100 through 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
    201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
    entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
    proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
    laws or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
    12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
    connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
    have further information about the matters related therein, and those matters appeared to be relevant at the time to
    the subject matter of the inquiry.
    13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
    performance of a service related to this system of records and who need access to the records for the purpose of
    assisting the Commission in the efficient administration of its programs, including by performing clerical,
    stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
    these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
    552a.
    14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
    is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
    include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
    15. To members of advisory committees that are created by the Commission or by Congress to render advice and
    recommendations to the Commission or to Congress, to be used solely in connection with their official designated
    functions.
    16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1
    through 200.735-18, and who assists in the investigation by the Commission of possible violations of the Federal
    securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
    78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
    otherwise in connection with the Commission’s enforcement or regulatory functions under the Federal securities laws.
    17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
    made at the request of that individual.
    18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
    their activities, and other matters under the Commission’s jurisdiction.
    19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
    78c(a)(47)), as amended.
    20. To respond to subpoenas in any litigation or other proceeding.
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    21. To a trustee in bankruptcy.
    22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
    commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
    including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
    garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
    23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
    records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
    breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
    (including its information systems, programs, and operations), the Federal Government, or national security, resulting
    from a suspected or confirmed breach.

                                                         *****
    Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
    would like more information, or have questions or comments about federal securities regulations as they affect small
    businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
    551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
    Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
    Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
    activities for their responsiveness to the special needs of small business.
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         ATTACHMENT F
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     From:               Perez, Carmen
     To:                 "dweinstein@joneswalker.com"
     Cc:                 Springer, Shelly-Ann
     Subject:            SMAIL In the Matter of Empirex Capital LLC, FL-04274
     Date:               Thursday, June 16, 2022 11:23:27 AM
     Attachments:        image001.png
                         Empirex Capital LLC-6-16-2022.pdf
                         Rafael Vargas 6-16-2022.pdf


     Attached please find a courtesy copy of subpoenas directed to Empirex Capital LLC and Rafael Vargas
     dated June 16, 2022 for your reference in the above-captioned matter.
     Best Regards,
     ___________________________________________________
                               Carmen R. Perez
                               Senior Paralegal Specialist
                               United States Securities and Exchange Commission
                               Miami Regional Office, Division of Enforcement
                               801 Brickell Avenue, Suite 1950
                               Miami, Florida 33131
                               P: 305.982.6350
                               F: 703.813-.9558
     Email: perezc@sec.gov
     Website: https://www.sec.gov/regional-office/miami
     This electronic communication, including any attachments, is intended for the use of the individual or entity to which it is
     addressed and may contain information that is privileged, nonpublic and confidential. Erroneous delivery of this message
     to an unintended recipient should not be construed as a waiver of any privilege that may otherwise attach to the
     information contained herein. If you have received this communication in error, please notify the sender by return email,
     and delete or otherwise remove this communication and any copies permanently from your operating system. Any
     unauthorized disclosure, use, distribution, or reproduction of this message is prohibited and may be unlawful.
     Note that emails sent to or from this email address are subject to retention and archiving by the United States Securities
     and Exchange Commission.
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                                                 UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       801   BRICKELL A V ENUE , SUITE 1950

                                              MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT

      June 16, 2022

      VIA EMAIL & OVERNIGHT DELIVERY
      Empirex Capital LLC
      c/o David S. Weinstein, Esq.
      Jones Walker LLP
      201 S Biscayne Blvd, Ste. 3000
      Miami, FL 33131
      dweinstein@joneswalker.com

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Mr. Weinstein:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission’s Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for documents issued to your client, Empirex Capital LLC (“Empirex”), in
      connection with the above-referenced investigation.

             The enclosed subpoena requires your client to produce documents to the SEC by June 30,
      2022. Please deliver the materials by June 30, 2022 at 5:00 p.m. to:

                  ENF-CPU
                  U.S. Securities and Exchange Commission
                  14420 Albemarle Point Place, Suite 102
                  Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed to
      the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letters to me at
      springers@sec.gov. Additionally, please include the SEC matter number and the name of the
      requesting attorney when responding.
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            Please carefully read the subpoena attachment, which contains, among other things,
    important instructions related to the manner of producing documents. In particular, if your client
    prefers to send us copies of original documents, the staff requests that you scan and produce
    hard copy documents, as well as electronic documents, in an electronic format consistent
    with the SEC Data Delivery Standards attached hereto. All electronic documents
    responsive to the subpoena, including all metadata, should also be produced in their native
    software format. If you have any questions concerning the production of documents in an
    electronic format, please contact me as soon as possible and in any event before producing
    documents. For security reasons, we strongly encourage the encryption of sensitive documents
    before production.

           When producing the records, please consecutively number and mark each document
    produced with a symbol that identifies it as being produced by Empirex.

           In your cover letter(s) accompanying the production of responsive documents, please
    enclose a list briefly describing each item you send. The list should identify the paragraph(s) in
    the subpoena attachment to which each item responds. Please also state in the cover letter(s)
    whether you believe your client has met the obligations of the subpoena by searching carefully
    and thoroughly for everything called for by the subpoena, and sending it all to us.

           A copy of the subpoena should be included with the documents that are produced.
    Correspondence should reference case number, case name and requesting SEC staff member.

            Passwords for documents, files, compressed archives, and encrypted media should be
    provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
    letter mailed separately from the data. Password correspondence should reference case number,
    case name and requesting SEC staff member.

            In addition, for any documents that qualify as records of regularly conducted activities
    under Federal Rule of Evidence 902(11), please have the appropriate representative(s) of
    Empirex complete a business records certification (a sample of which is enclosed) and return it
    with the document production. Execution of this certification may allow the Commission to
    introduce the documents provided by Empirex in any subsequent judicial proceeding, without
    requiring the testimony of a records custodian.

            Please note that, in any matter in which enforcement action is ultimately deemed to be
    warranted, the Division of Enforcement will not recommend any settlement to the Commission
    unless the party wishing to settle certifies, under penalty of perjury, that all documents
    responsive to Commission subpoenas and formal and informal document requests in this matter
    have been produced.

             Enclosed is a copy of the Commission’s Form 1662, entitled “Supplemental Information
    for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
    Pursuant to a Commission Subpoena.” This form explains how we may use the information that
    Empirex provides to the Commission and has other important information. Please provide a copy
    of this form to your client.



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           This investigation is a non-public, fact-finding inquiry. We are trying to determine
    whether there have been any violations of the federal securities laws. The investigation does not
    mean that we have concluded that anyone has violated the law. Also, the investigation does not
    mean that we have a negative opinion of any person, entity, or security.

           If you have any questions or would like to discuss this matter, you may contact me at
    (305) 416-6224.

                                                         Sincerely,




                                                         Shelly-Ann A. Springer-Charles
                                                         Senior Counsel
                                                         Division of Enforcement
                                                         (305) 416-6224
                                                         springers@sec.gov


     Enclosures:       Subpoena and Attachment
                       SEC Data Delivery Standards
                       SEC Form 1662
                       Business Records Certification




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                                                         SUBPOENA
                           UNITED STATES OF AMERICA
                        SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter of Empirex Capital LLC, FL-04274

To:    Empirex Capital LLC
       c/o David S. Weinstein, Esq.
       Jones Walker LLP
       201 S Biscayne Blvd, Ste. 3000
       Miami, FL 33131
       dweinstein@joneswalker.com


       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
       Chantilly, VA 20151-1750, no later than June 30, 2022 at 5:00 p.m.


□      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:

                   FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


       By:                                                                      Date:     June 16, 2022
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S. Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                 SUBPOENA ATTACHMENT FOR EMPIREX CAPITAL LLC
                       In the Matter of Empirex Capital LLC, FL-04274

                                             June 16, 2022

                                              Definitions

   As used in this subpoena, the words and phrases listed below shall have the following meanings:

   1.     “Empirex Capital LLC” means the entity doing business under the name “Empirex
          Capital LLC” (“Empirex”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   2.     “Acer Media Services, LLC” means the entity doing business under the name “Acer
          Media Services, LLC” (“Acer”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   3.     “AKC Management LLC” means the entity doing business under the name “AKC
          Management LLC” (“AKC”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   4.     “Cryptox Hub LLC” means the entity doing business under the name “Cryptox Hub
          LLC” (“Cryptox Hub”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   5.     “Cryptox Payroll Company LLC” means the entity doing business under the name
          “Cryptox Payroll Company LLC” (“Cryptox Payroll”), including parents, subsidiaries,
          affiliates, predecessors, successors, officers, directors, employees, agents, general
          partners, limited partners, partnerships and aliases, code names, or trade or business
          names used by any of the foregoing.

   6.     “Infinitech Trading Software Solutions LLC” means the entity doing business under the
          name “Infinitech Trading Software Solutions LLC” (“Infinitech”), including parents,
          subsidiaries, affiliates, predecessors, successors, officers, directors, employees, agents,
          general partners, limited partners, partnerships and aliases, code names, or trade or
          business names used by any of the foregoing.

   7.     “Intellect Management Services LLC” means the entity doing business under the name
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         “Intellect Management Services LLC” (“Intellect”), including parents, subsidiaries,
         affiliates, predecessors, successors, officers, directors, employees, agents, general
         partners, limited partners, partnerships and aliases, code names, or trade or business
         names used by any of the foregoing.

   8.    “JH Brickell Management LLC” means the entity doing business under the name “JH
         Brickell Management LLC” (“JH Brickell”), including parents, subsidiaries, affiliates,
         predecessors, successors, officers, directors, employees, agents, general partners, limited
         partners, partnerships and aliases, code names, or trade or business names used by any of
         the foregoing.

   9.    “JXVM Consulting LLC” means the entity doing business under the name “JXVM
         Consulting LLC” (“JXVM”), including parents, subsidiaries, affiliates, predecessors,
         successors, officers, directors, employees, agents, general partners, limited partners,
         partnerships and aliases, code names, or trade or business names used by any of the
         foregoing.

   10.   “KYC Payment Company LLC” means the entity doing business under the name “KYC
         Payment Company LLC” (“KYC”), including parents, subsidiaries, affiliates,
         predecessors, successors, officers, directors, employees, agents, general partners, limited
         partners, partnerships and aliases, code names, or trade or business names used by any of
         the foregoing.

   11.   “Metaverse Realty Title Company LLC” means the entity doing business under the name
         “Metaverse Realty Title Company LLC” (“Metaverse”), including parents, subsidiaries,
         affiliates, predecessors, successors, officers, directors, employees, agents, general
         partners, limited partners, partnerships and aliases, code names, or trade or business
         names used by any of the foregoing.

   12.   “NKC Management LLC” means the entity doing business under the name “NKC
         Management LLC” (“NKC”), including parents, subsidiaries, affiliates, predecessors,
         successors, officers, directors, employees, agents, general partners, limited partners,
         partnerships and aliases, code names, or trade or business names used by any of the
         foregoing.

   13.   “Zeus X1 LLC” means the entity doing business under the name “Zeus X1 LLC”
         (“Zeus”), including parents, subsidiaries, affiliates, predecessors, successors, officers,
         directors, employees, agents, general partners, limited partners, partnerships and aliases,
         code names, or trade or business names used by any of the foregoing.

   14.   “Person” means a natural person, firm, association, organization, partnership, business,
         trust, corporation, bank or any other private or public entity.

   15.   A “Representative” of a Person means any present or former family members, officers,
         executives, partners, joint-venturers, directors, trustees, employees, consultants,
         accountants, attorneys, agents, or any other representative acting or purporting to act on



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         behalf of the Person.

   16.   “Acero” means (i) Roman David Acero Quintero and/or (ii) any present or former
         representative of Acero.

   17.   “E. Valencia” means (i) Eduardo Valencia and/or (ii) any present or former
         representative of E. Valencia.

   18.   “Gonzalez” means (i) Martha Gonzalez and/or (ii) any present or former representative of
         Gonzalez.

   19.   “J. Valencia” means (i) Juan Jose Valencia Vargas and/or (ii) any present or former
         representative of J. Valencia.

   20.   “P. Vargas” means (i) Paola Andrea Vargas Gonzalez, and/or (ii) any present or former
         representative of P. Vargas.

   21.   “R. Vargas” means (i) Rafael Alberto Vargas Gonzalez, and/or (ii) any present or former
         representative of R. Vargas.

   22.   “Reyes” means (i) Samuel Reyes, and/or (ii) any present or former representative of
         Reyes.

   23.   “Rojas” means (i) Catherine Rojas and/or (ii) any present or former representative of
         Rojas.

   24.   “Document” shall include, but is not limited to, any written, printed, or typed matter
         including, but not limited to all drafts and copies bearing notations or marks not found in
         the original, letters and correspondence, interoffice communications, slips, tickets,
         records, worksheets, financial records, accounting documents, bookkeeping documents,
         memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
         telephone messages, text messages, voice mails, tape recordings, notices, instructions,
         minutes, summaries, notes of meetings, file folder markings, and any other organizational
         indicia, purchase orders, information recorded by photographic process, including
         microfilm and microfiche, computer printouts, spreadsheets, and other electronically
         stored information, including but not limited to writings, drawings, graphs, charts,
         photographs, sound recordings, images, and other data or data compilations that are
         stored in any medium from which information can be retrieved, obtained, manipulated, or
         translated.

   25.   “Communication” means any correspondence, contact, discussion, e-mail, instant
         message, or any other kind of oral or written exchange or transmission of information (in
         the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
         more Persons or entities, including, without limitation, all telephone conversations, face-
         to-face meetings or conversations, internal or external discussions, or exchanges of a
         Document or Documents.



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   26.   “Concerning” means directly or indirectly, in whole or in part, describing, constituting,
         evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
         connection with, commenting on, relating to, regarding, discussing, showing, describing,
         analyzing or reflecting.

   27.   An “Agreement” means any actual or contemplated (i) written or oral Agreement; (ii)
         term or provision of such Agreement; or (iii) amendment of any nature or termination of
         such Agreement. A request for any Agreement among or between specified parties
         includes a request for all Documents Concerning (i) any actual or contemplated
         Agreement among or between such parties, whether or not such Agreement included any
         other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
         contemplated demand, request or application for any such Agreement, and any response
         thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
         Agreement, and any response thereto.

   28.   The term “Reviewed” means examined, assessed, considered, analyzed or evaluated.

   29.   The term “you” and “your” means the Person to whom or entity to which this subpoena
         was issued.

   30.   To the extent necessary to bring within the scope of this this subpoena any information or
         Documents that might otherwise be construed to be outside its scope:
         a.     the word “or” means “and/or”;
         b.     the word “and” means “and/or”;
         c.     the functional words “each,” “every” “any” and “all” shall each be deemed to
                include each of the other functional words;
         d.     the masculine gender includes the female gender and the female gender includes
                the masculine gender; and
         e.     the singular includes the plural and the plural includes the singular.

   31.   “Relevant Period” means the time period beginning April 20, 2021, or the earliest time
         for which records exist, whichever is earlier, and continuing to the present, unless
         otherwise specified.

   32.   “Relevant Entities and Individuals” means each of the following: Acer, AKC, Cryptox
         Hub, Cryptox Payroll, Infinitech, Intellect, JH Brickell, JXVM, KYC, Metaverse, NKC,
         Zeus, Acero, E. Valencia, Gonzalez, J. Valencia, P. Vargas, R. Vargas, Reyes, and Rojas
         and any entity or individual Concerning the recruiting of Empirex investors or the sale of
         an Empirex investment to investors.

                                             Instructions

   1.    Unless otherwise specified, this subpoena calls for production of the original Documents
         and all copies and drafts of same. Documents responsive to this subpoena may be in
         electronic or paper form. Electronic Documents such as email should be produced in



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         accordance with the attached Document entitled SEC Data Delivery Standards. All
         responsive electronic Documents, including all metadata, should also be produced in their
         native software format.

   2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
         send copies of the originals. The Commission cannot reimburse you for the copying
         costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
         hard copy Documents and produce them in an electronic format consistent with the SEC
         Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
         in paper format. If you choose to send copies, you ---must secure and retain the originals
         and store them in a safe place. The staff may later request or require that you produce the
         originals.

   3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
         including even faint marks or print. Also, please note that if copies of a Document differ
         in any way, they are considered separate Documents and you must send each one. For
         example, if you have two copies of the same letter, but only one of them has handwritten
         notes on it, you must send both the clean copy and the one with notes.

   4.    In producing a photocopy of an original Document that contains post-it(s), notation
         flag(s), or other removable markings or attachments which may conceal all or a portion
         of the markings contained in the original Document, photocopies of the original
         Document both with and without the relevant post-it(s), notation flag(s), or removable
         markings or attachments should be produced.

   5.    Documents should be produced as they are kept in the ordinary course of business or be
         organized and labeled to correspond with the categories in this request. In that regard,
         Documents should be produced in a unitized manner, i.e., delineated with staples or paper
         clips to identify the Document boundaries.

   6.    Documents should be labeled with sequential numbering (bates-stamped).

   7.    You must produce all Documents created during, or Concerning, the period from April
         20, 2021, or the earliest time for which records exist, whichever is earlier, to the date of
         this subpoena, unless otherwise specified.

   8.    The scope of any given request should not be limited or narrowed based on the fact that it
         calls for Documents that are responsive to another request.

   9.    You are not required to produce exact duplicates of any Documents that have been
         previously produced to the Securities and Exchange Commission staff in connection with
         this matter. If you are not producing Documents based upon a prior production, please
         identify the responsive Documents that were previously produced.

   10.   For any Documents that qualify as records of regularly conducted activities under Federal
         Rule of Evidence 902(11), please complete a business records certification (a sample of



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          which is enclosed) and return it with the Document production.

   11.    This subpoena covers all Documents in or subject to your possession, custody or control,
          including all Documents that are not in your immediate possession but that you have the
          effective ability to obtain, that are responsive, in whole or in part, to any of the individual
          requests set forth below. If, for any reason – including a claim of attorney-client privilege
          – you do not produce something called for by the request, you should submit a list of
          what you are not producing. The list should describe each item separately, noting:
          a.      its author(s);
          b.      its date;
          c.      its subject matter;
          d.      the name of the Person who has the item now, or the last Person known to have it;
          e.      the names of everyone who ever had the item or a copy of it, and the names of
                  everyone who was told the item’s contents;
          f.      the basis upon which you are not producing the responsive Document;
          g.      the specific request in the subpoena to which the Document relates;
          h.      the attorney(s) and the client(s) involved; and
          i.      in the case of the work product doctrine, the litigation for which the Document
                  was prepared in anticipation.

   12.    If Documents responsive to this subpoena no longer exist because they have been lost,
          discarded, or otherwise destroyed, you should identify such Documents and give the date
          on which they were lost, discarded or destroyed.

                                      Documents to be Produced

   To the extent not previously produced in response to a subpoena in this matter, produce all
   Documents identified below:

   1.     Documents sufficient to disclose the corporate structure of Empirex, including, but not
          limited to, the date and place of establishment, organization, and, if applicable,
          incorporation;

   2.     Documents sufficient to identify all officers, directors, principals, owners, shareholders,
          employees, and all others acting on behalf of Empirex, and Documents sufficient to
          disclose, for each individual identified in response to this Item:
          a. title;
          b. dates of affiliation with Empirex;
          c. current or last known home address and telephone number;
          d. current or last known employment address and telephone number; and
          e. salary or other compensation for each year from April 20, 2021 to the present;

   3.     Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
          financial accounts held by or on behalf of Empirex from April 20, 2021 to the present,
          and Documents sufficient to disclose, for each account identified in response to this Item:



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         a. the name, address, and telephone number of the financial institution where the
            account is held, maintained, directed or controlled;
         b. the account number;
         c. the name, address, and telephone number of the branch office, if any, where the
            account is held, maintained, or directed;
         d. the account name;
         e. and the date the account was opened;

   4.    For the accounts responsive to Item 3 above, all account information including but not
         limited to account opening Documents, Communications, monthly account statements,
         cancelled checks (front and back), wire transfer requests, confirmations, emails, notes
         and other similar Documents;

   5.    Documents sufficient to disclose all other assets held by or on behalf of Empirex;

   6.    All draft and final financial reports Concerning Empirex including, but not limited to,
         audited and unaudited financial statements, including balance sheets and statements of
         income and retained earnings and cash flows, as well as all ledgers, journals, and
         workpapers used to prepare and support Empirex’s financial statements, balance sheets,
         copies of filed federal and state corporate income tax returns and 1099/1098/1096 tax
         returns, w-2s and payroll tax returns, trial balances, cash receipt journals, bank
         statements, copies of canceled checks, deposit records with copies of deposit items, cash
         disbursement journals, balance sheets, statements of income and retained earnings, and
         any other report of receipts, disbursements, net profits and losses, and cash flow;

   7.    All QuickBooks files Concerning Empirex;

   8.    Documents sufficient to identify all Empirex investors by name, address, and telephone
         number;

   9.    For each investor identified in response to Item 8 above, Documents sufficient to
         disclose:
         a. the amount invested,
         b. the date(s) of investments, and
         c. whether, when, and how much of each investors’ principal has been returned to them;

   10.   For each investor identified in response to Item 8 above, all Documents Concerning
         agreements or contracts between Empirex and the investor and all Documents
         Concerning terms of investments;

   12.   For each investor identified in response to Item 8 above, all periodic or other account
         statements;

   12.   For each investor identified in response to Item 8 above, all Documents Concerning the
         investment of (or other use of) their funds by Empirex and the current location of investor
         funds;


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   13.   All Documents and Communications Concerning all investment, promotional, sales,
         marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
         disseminated, directly or indirectly, by Empirex or any of the Relevant Entities and
         Individuals, including, but not limited to, brochures, offering memoranda and
         attachments, business and projection plans, subscription agreements, and operating
         agreements;

   14.   Documents sufficient to identify all individuals or entities who were solicited as potential
         investors but did not ultimately invest in Empirex;

   15.   All Documents Concerning the payment of fees to any individual or entity in connection
         with the recruiting of Empirex investors or the sale of an Empirex investment to
         investors;

   16.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
         between Empirex and the Relevant Entities and Individuals;

   17.   All Documents Concerning Communications between Empirex and investors or potential
         investors in Empirex;

   18.   All Documents Concerning funds received by Empirex from the Relevant Entities and
         Individuals, including, but not limited to, front and back of all canceled checks, check
         stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms, and
         any other documents or records reflection such receipts;

   19.   All Documents Concerning funds disbursed by Empirex to the Relevant Entities and
         Individuals, including, but not limited to, front and back of all canceled checks, check
         stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms, and
         any other documents or records reflection such disbursements;

   20.   All Documents Concerning all Communications between Empirex and the Relevant
         Entities and Individuals during the Relevant Period Concerning:
         a. Empirex;
         b. all the Relevant Entities and Individuals;
         c. all funds received by the Relevant Entities and Individuals directly or indirectly from
             Empirex;
         d. all funds disbursed by the Relevant Entities and Individuals directly or indirectly to
             Empirex;
         e. all funds received or disbursed by Empirex;
         f. all Agreements, contracts, loans, notes, or understandings between Empirex and the
             Relevant Entities and Individuals;
         g. all Agreements, contracts, loans, notes, or understandings among or between the
             Relevant Entities and Individuals Concerning Empirex;



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   21.   To the extent not provided in response to other Items, all Documents Concerning the
         following:
         a. All Empirex accounts held at Amerant Bank, N.A., Bank of America, N.A.,
             BlueVine, Capital One, N.A., Citibank, N.A., Coastal Community Bank, N.A.,
             JPMorgan Chase Bank, N.A., Santander Bank, N.A., Signature Bank, TD Bank, N.A.,
             Truist Bank, Wells Fargo Bank, N.A., Binance Holdings Ltd., E*Trade Financial
             Corporation, Gemini Trust Company LLC, Interactive Brokers LLC, Kucoin.com,
             Robinhood Securities, LLC, TD Ameritrade, Inc., Tradestation Securities, Inc.,
             Webull Financial LLC, Coinbase Inc., and Payward Ventures, Inc. from April 20,
             2021 through the present, including, but not limited to, account opening Documents
             and periodic or other statements;
         b. All other Empirex accounts held at all other domestic or foreign banks, brokerages, or
             other financial institutions from April 20, 2021 through the present, including, but not
             limited to, account opening Documents and periodic or other statements;
         c. The Relevant Entities and Individuals; and
         d. All Empirex Investors; and,

   22.   All records responsive to Items 1 to 21 above for the time period January 1, 2018 to
         June 16, 2022 to the extent not previously produced in response to the prior subpoena
         dated April 20, 2021 issued to Empirex in connection with this investigation.




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                 DECLARATION OF [Insert Name] CERTIFYING RECORDS
                  OF REGULARLY CONDUCTED BUSINESS ACTIVITY

         I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

      1. I am employed by Empirex Capital LLC as [insert position] and by reason of my position
         am authorized and qualified to make this declaration. [if possible supply additional
         information as to how person is qualified to make declaration, e.g., I am custodian of
         records, I am familiar with the company’s recordkeeping practices or systems, etc.]

      2. I further certify that the documents [attached hereto or submitted herewith] and stamped
         [insert bates range] are true copies of records that were:

                 (a) made at or near the time of the occurrence of the matters set forth therein, by,
                 or from information transmitted by, a person with knowledge of those matters;

                 (b) kept in the course of regularly conducted business activity; and

                 (c) made by the regularly conducted business activity as a regular practice.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on
         [date].



                                         ____________________________
                                              [Name]
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                                                                          U.S. Securities and Exchange Commission

                                                                                                Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the U.S.
    Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
    described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
    prior to submission.**

    General Instructions ................................................................................................................................................................................... 1
    Delivery Formats............................................................................................................................................................ 2
         I. Imaged Productions..............................................................................................................................................................................................................................3
                 1. Images ......................................................................................................................................................................................... 3
                 2. Image Cross-Reference File ....................................................................................................................................................... 3
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         II. Native File Productions without Load Files............................................................................................................................. 4
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         IX. Mobile Device Data ................................................................................................................................................................ 5



    General Instructions

    Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
    ENF-CPU (U.S. Securities & Exchange Commission), 14420 Albemarle Point Place, Suite 102, Chantilly, VA 20151-1750

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
    (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.    A cover letter must be included with each production and should include the following information:
             a. Case number, case name and requesting SEC staff member name
             b. A list of each piece of media included in the production with its unique production volume number
             c. A list of custodians, identifying the Bates range for each custodian
             d. The time zone in which the emails were standardized during conversion
             e. Whether the production contains native files produced from Mac operating system environments
  2.    Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
        labeled with the following:
             a. Case number
             b. Production date
             c. Producing party
             d. Bates range (if applicable)
  3.    All submissions must be organized by custodian unless otherwise instructed.
  4.    All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
        should follow parent files sequentially in the Bates numbering.
  5.    All load-ready collections should include only one data load file and one image pointer file.
  6.    All load-ready text must be produced as separate document-level text files.
  7.    All load-ready collections should account for custodians in the custodian field.
  8.    All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
        as separate records.
  9.    Audio files should be separated from data files if both are included in the production.
  10.   Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
        are not permitted.
  11.   All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.   The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
        Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
        information, please reach out to the requesting SEC staff member.
  13.   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
        Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
        member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
        for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
        be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
        using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.   Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
        electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
        marked as BSA or SAR material, or should be produced separately from other case related material.
  15.   Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
        email or in a cover letter apart from the media.
  16.   All electronic productions should be produced free of computer viruses.
  17.   Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
        discuss appropriate handling.
  18.   Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
        reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.   Additional technical descriptions can be found in the addendum to this document.

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       *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
       result electronic productions may be damaged.*
Delivery Formats
I.    Imaged Productions
      The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
      standard load files, Bates numbered image files, native files and searchable document-level text files.
      1. Images
         a. Black and white images must be 300 DPI Group IV single-page TIFF files
         b. Color images must be produced in JPEG format
         c. File names cannot contain embedded spaces or special characters (including the comma)
         d. Folder names cannot contain embedded spaces or special characters (including the comma)
         e. All image files must have a unique file name, i.e. Bates number
         f. Images must be endorsed with sequential Bates numbers in the lower right corner of each image
         g. The number of image files per folder should not exceed 2,000 files
         h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
         i. AUTOCAD/photograph files should be produced as a single page JPEG file
      2.    Image Cross-Reference File
            The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
            file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
            following format:
                   ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount
      3. Data File
         The data file (.DAT) contains all of the fielded information that will be loaded into the database.
           a.   The first line of the .DAT file must be a header row identifying the field names
           b.   The .DAT file must use the following Concordance® default delimiters:
                           lb
                  Comma ASCII character (020)
                  Quote þ ASCII character (254)
           d.   Date fields should be provided in the format: mm/dd/yyyy
           e.   Date and time fields must be two separate fields
           f.   The time zone must be included in all time fields
           g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                parent/child relationship between an email and its attachments
           h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
                storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
           i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
                on the produced storage media. The native file must be named after the FIRSTBATES.
           j.   BEGATTACH and ENDATTACH fields must be two separate fields
           k.   A complete list of metadata fields is available in Addendum A to this document
      4. Text
         Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
         per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
         may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
         that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
         characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
         should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
         the redacted version.
      5.    Linked Native Files
            Copies of original email and native file documents/attachments must be included for all electronic productions.
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     a.   Native file documents must be named per the FIRSTBATES number
     b.   The full path of the native file must be provided in the .DAT file for the LINK field
     c.   The number of native files per folder should not exceed 2,000 files




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 II.    Native File Production without Load Files
        With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
        in the normal course of business and organized by custodian-named file folders. When approved, native email files (.PST or
        .MBOX) may be produced. A separate folder should be provided for each custodian.

III.    Adobe PDF File Production
        With prior approval, Adobe PDF files may be produced in native file format.
            1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
            2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
                characters (including commas).
            3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
                or image only. This requires all layers of the PDF to be flattened first.
            4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
               1)   Caller Name:          Caller’s name or account/identification number
               2)   Originating Number:   Caller’s phone number
               3)   Called Party Name:    Called party’s name
               4)   Terminating Number:   Called party’s phone number
               5)   Date:                 Date of call
               6)   Time:                 Time of call
               7)   Filename:             Filename of audio file

 V.       Video Files
          Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.      Electronic Trade and Bank Records
          When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

          1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
               separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
               separate document must be provided that includes such details.

          2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
               any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
               field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

          1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
               separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
               separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
               dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                   a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                         loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                         not combined into a single column containing both pieces of information. Any fields of data that are provided
                         in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


          Field Name           Sample Data                     Description
          FIRSTBATES           EDC0000001                      First Bates number of native file document/email
          LASTBATES            EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
          ATTACHRANGE          EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
          BEGATTACH            EDC0000001                      First Bates number of attachment range
          ENDATTACH            EDC0000015                      Last Bates number of attachment range
          PARENT_BATES         EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
          CHILD_BATES          EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
          CUSTODIAN            Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
          FROM                 John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          TO                   Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
          CC                   Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
          BCC                  John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
          FILE_NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
          DATE_SENT            10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
          TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
          _ZONE                                                the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                 combined with the DATE_SENT field




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    TIME_ZONE        GMT                         The time zone in which the emails were standardized
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
    LINK             D:\001\ EDC0000001.msg      Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
    MIME_TYPE        application/msword          The content type of an email or native file document
                                                 as identified/extracted from the header
    FILE_EXTEN       MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
    AUTHOR           John Smith                  Email: (empty)
                                                 Native: Author of the document
    LAST_AUTHOR      Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
    DATE_CREATED     10/10/2010                  Email: (empty)
                                                 Native: Date the document was created
    TIME_CREATED/T 10:25 AM GMT                  Email: (empty)
    IME_ZONE                                     Native: Time the document was created including time
                                                 zone
                                                 **This data must be a separate field and cannot be
    DATE_MOD         10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
    TIME_MOD/TIME_ 07:00 PM GMT                  Email: (empty)
    ZONE                                         Native: Time the document was last modified including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    DATE_ACCESSD     10/12/2010                  Email: (empty)
                                                 Native: Date the document was last accessed
    TIME_ACCESSD/T 07:00 PM GMT                  Email: (empty)
    IME_ZONE                                     Native: Time the document was last accessed including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    PRINTED_DATE     10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
    FILE_SIZE        5,952                       Size of native file document/email in KB
    PGCOUNT          1                           Number of pages in native file document/email
    PATH             J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
    INTFILEPATH      Personal Folders\Deleted    Email: original location of email including original
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
    INTMSGID         <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                       ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date – Date the data was received or made
    3) Connection Time – Time data was received or made
    4) Originating number – Number that used data
    5) IMEI Originating – Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes – Identify data direction, or other data routing information
    8) Time Zone – Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                        Washington, D.C. 20549

                          Supplemental Information for Persons Requested to Supply
                          Information Voluntarily or Directed to Supply Information
                                    Pursuant to a Commission Subpoena
   A. False Statements and Documents
   Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
            Government of the United States, knowingly and willfully--
                (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                (3) makes or uses any false writing or document knowing the same to contain any materially false,
                fictitious, or fraudulent statement or entry.

   Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
            record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
            proper administration of any matter within the jurisdiction of any department or agency of the United States
            . . ., or in relation to or contemplation of any such matter.
   B. Testimony
   If your testimony is taken, you should be aware of the following:
   1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
        the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
        will not go off the record at your, or your counsel’s, direction.
   2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
        counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
        testimony to clarify any of the answers you give during testimony; and make summary notes during your
        testimony solely for your use. If you are accompanied by counsel, you may consult privately.
   If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
   testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
   once to afford you the opportunity to arrange to be so accompanied, represented or advised.
   You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
   This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
   adverse to another’s. If you are represented by counsel who also represents other persons involved in the
   investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
   possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
   3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
        A person who has submitted documentary evidence or testimony in a formal investigative proceeding
        shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
        his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
        investigative proceeding the Commission may for good cause deny such request. In any event, any
        witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
        own testimony.
   If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
   appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
   4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
   be imposed upon:
            Whoever--
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                (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                be true; or
                (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                does not believe to be true.
   5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
   local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
   You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
   United States, to give any information that may tend to incriminate you.
   If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
   question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
   6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
   during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
   C. Submissions and Settlements
   Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
            Persons who become involved in . . . investigations may, on their own initiative, submit a written
            statement to the Commission setting forth their interests and position in regard to the subject matter
            of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
            general nature of the investigation, including the indicated violations as they pertain to them, and
            the amount of time that may be available for preparing and submitting a statement prior to the
            presentation of a staff recommendation to the Commission for the commencement of an
            administrative or injunction proceeding. Submissions by interested persons should be forwarded to
            the appropriate Division Director or Regional Director with a copy to the staff members conducting
            the investigation and should be clearly referenced to the specific investigation to which they relate.
            In the event a recommendation for the commencement of an enforcement proceeding is presented
            by the staff, any submissions by interested persons will be forwarded to the Commission in
            conjunction with the staff memorandum.
   The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
   Commission enforcement proceedings, when the staff deems appropriate.
   Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
            In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
            staff, with appropriate authorization, may discuss with persons involved the disposition of such
            matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
            however, that the disposition of any such matter may not, expressly or impliedly, extend to any
            criminal charges that have been, or may be, brought against any such person or any
            recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
            before the Commission who consents, or agrees to consent, to any judgment or order does so
            solely for the purpose of resolving the claims against him in that investigative, civil, or
            administrative matter and not for the purpose of resolving any criminal charges that have been, or
            might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
            has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
            criminal proceedings. That authority and responsibility are vested in the Attorney General and
            representatives of the Department of Justice.
   D. Freedom of Information Act
   The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
   public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
   which a person can make a written request that information submitted to the Commission not be disclosed under the
   FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
   disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
   be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
   you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
   please provide a duplicate request, together with a stamped, self-addressed envelope.
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   E. Authority for Solicitation of Information
   Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
   set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
   of any legal right or privilege you might have.
   Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
   Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
   the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
   Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
   requested information to the Commission is voluntary on your part.
   F. Effect of Not Supplying Information
   Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
   Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
   supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
   21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
   209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
   any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
   produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
   Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
   failing to provide all or any part of the requested information.
   G. Principal Uses of Information
   The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
   person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
   the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
   Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
   provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
   explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
   accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
   other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
   disposition, transfer, or retention, in accordance with applicable law, of information provided.
   H. Routine Uses of Information
   The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
   and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
   where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
   general, a confidential matter between the Commission and such other governmental agencies.
   Set forth below is a list of the routine uses which may be made of the information furnished.
   1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
   breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
   there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
   Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
   reasonably necessary to assist in connection with the SEC’s efforts to respond to the suspected or confirmed breach
   or to prevent, minimize, or remedy such harm.
   2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
   foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
   3. To national securities exchanges and national securities associations that are registered with the SEC, the
   Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
   Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
   the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
   securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
   their regulatory or enforcement responsibilities.
   4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
   the Federal securities laws.
   5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
   members of its staff, is a party or otherwise involved in an official capacity.
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   6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
   201.102(e).
   7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
   authority; or professional association or self-regulatory authority to the extent that it performs similar functions
   (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
   8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
   SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
   a contract; or the issuance of a license, grant, or other benefit.
   9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
   concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
   investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
   requesting agency, to the extent that the information is relevant and necessary to the requesting agency’s decision on
   the matter.
   10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
   in support of the function for which the records are collected and maintained or for related personnel management
   functions or manpower studies; may also be used to respond to general requests for statistical information (without
   personal identification of individuals) under the Freedom of Information Act.
   11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
   competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
   administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
   3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
   Practice, 17 CFR 201.100 through 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
   201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
   entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
   proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
   laws or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
   12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
   connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
   have further information about the matters related therein, and those matters appeared to be relevant at the time to
   the subject matter of the inquiry.
   13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
   performance of a service related to this system of records and who need access to the records for the purpose of
   assisting the Commission in the efficient administration of its programs, including by performing clerical,
   stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
   these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
   552a.
   14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
   is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
   include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
   15. To members of advisory committees that are created by the Commission or by Congress to render advice and
   recommendations to the Commission or to Congress, to be used solely in connection with their official designated
   functions.
   16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1
   through 200.735-18, and who assists in the investigation by the Commission of possible violations of the Federal
   securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
   78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
   otherwise in connection with the Commission’s enforcement or regulatory functions under the Federal securities laws.
   17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
   made at the request of that individual.
   18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
   their activities, and other matters under the Commission’s jurisdiction.
   19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
   78c(a)(47)), as amended.
   20. To respond to subpoenas in any litigation or other proceeding.
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   21. To a trustee in bankruptcy.
   22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
   commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
   including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
   garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
   23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
   records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
   breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
   (including its information systems, programs, and operations), the Federal Government, or national security, resulting
   from a suspected or confirmed breach.

                                                        *****
   Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
   would like more information, or have questions or comments about federal securities regulations as they affect small
   businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
   551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
   Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
   Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
   activities for their responsiveness to the special needs of small business.
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                                                 UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       801   BRICKELL A V ENUE , SUITE 1950

                                              MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT

      June 16, 2022

      VIA EMAIL & OVERNIGHT DELIVERY
      Rafael Alberto Vargas Gonzalez
      c/o David S. Weinstein, Esq.
      Jones Walker LLP
      201 S Biscayne Blvd, Ste. 3000
      Miami, FL 33131
      dweinstein@joneswalker.com

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Mr. Weinstein:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission’s Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for documents issued to your client, Rafael Alberto Vargas Gonzalez, in
      connection with the above-referenced investigation.

             The enclosed subpoena requires your client to produce documents to the SEC by June 30,
      2022. Please deliver the materials by June 30, 2022 at 5:00 p.m. to:

                  ENF-CPU
                  U.S. Securities and Exchange Commission
                  14420 Albemarle Point Place, Suite 102
                  Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed to
      the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letters to me at
      springers@sec.gov. Additionally, please include the SEC matter number and the name of the
      requesting attorney when responding.
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           Please carefully read the subpoena attachment, which contains, among other things,
   important instructions related to the manner of producing documents. In particular, if your client
   prefers to send us copies of original documents, the staff requests that you scan and produce
   hard copy documents, as well as electronic documents, in an electronic format consistent
   with the SEC Data Delivery Standards attached hereto. All electronic documents
   responsive to the subpoena, including all metadata, should also be produced in their native
   software format. If you have any questions concerning the production of documents in an
   electronic format, please contact me as soon as possible and in any event before producing
   documents. For security reasons, we strongly encourage the encryption of sensitive documents
   before production.

          When producing the records, please consecutively number and mark each document
   produced with a symbol that identifies it as being produced by Empirex.

          In your cover letter(s) accompanying the production of responsive documents, please
   enclose a list briefly describing each item you send. The list should identify the paragraph(s) in
   the subpoena attachment to which each item responds. Please also state in the cover letter(s)
   whether you believe your client has met the obligations of the subpoena by searching carefully
   and thoroughly for everything called for by the subpoena, and sending it all to us.

          A copy of the subpoena should be included with the documents that are produced.
   Correspondence should reference case number, case name and requesting SEC staff member.

           Passwords for documents, files, compressed archives, and encrypted media should be
   provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
   letter mailed separately from the data. Password correspondence should reference case number,
   case name and requesting SEC staff member.

           Please note that, in any matter in which enforcement action is ultimately deemed to be
   warranted, the Division of Enforcement will not recommend any settlement to the Commission
   unless the party wishing to settle certifies, under penalty of perjury, that all documents
   responsive to Commission subpoenas and formal and informal document requests in this matter
   have been produced.

           Enclosed is a copy of the Commission’s Form 1662, entitled “Supplemental Information
   for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
   Pursuant to a Commission Subpoena.” This form explains how we may use the information that
   your client provides to the Commission and has other important information for your client.
   Please provide a copy of this form to your client.

          This investigation is a non-public, fact-finding inquiry. We are trying to determine
   whether there have been any violations of the federal securities laws. The investigation does not
   mean that we have concluded that anyone has violated the law. Also, the investigation does not
   mean that we have a negative opinion of any person, entity, or security.




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          If you have any questions or would like to discuss this matter, you may contact me at
   (305) 416-6224.

                                                       Sincerely,




                                                       Shelly-Ann A. Springer-Charles
                                                       Senior Counsel
                                                       Division of Enforcement
                                                       (305) 416-6224
                                                       springers@sec.gov


    Enclosures:       Subpoena and Attachment
                      SEC Data Delivery Standards
                      SEC Form 1662




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                                                         SUBPOENA
                           UNITED STATES OF AMERICA
                        SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter of Empirex Capital LLC, FL-04274

To:    Rafael Alberto Vargas Gonzalez
       c/o David S. Weinstein, Esq.
       Jones Walker LLP
       201 S Biscayne Blvd, Ste. 3000
       Miami, FL 33131
       dweinstein@joneswalker.com


       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
       Chantilly, VA 20151-1750, no later than June 30, 2022 at 5:00 p.m.


□      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:

                   FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


       By:                                                                      Date:     June 16, 2022
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S. Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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        SUBPOENA ATTACHMENT FOR RAFAEL ALBERTO VARGAS GONZALEZ
                    In the Matter of Empirex Capital LLC, FL-04274

                                             June 16, 2022

                                              Definitions

   As used in this subpoena, the words and phrases listed below shall have the following meanings:

   1.     “Empirex Capital LLC” means the entity doing business under the name “Empirex
          Capital LLC” (“Empirex”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   2.     “Acer Media Services, LLC” means the entity doing business under the name “Acer
          Media Services, LLC” (“Acer”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   3.     “AKC Management LLC” means the entity doing business under the name “AKC
          Management LLC” (“AKC”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   4.     “Cryptox Hub LLC” means the entity doing business under the name “Cryptox Hub
          LLC” (“Cryptox Hub”), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   5.     “Cryptox Payroll Company LLC” means the entity doing business under the name
          “Cryptox Payroll Company LLC” (“Cryptox Payroll”), including parents, subsidiaries,
          affiliates, predecessors, successors, officers, directors, employees, agents, general
          partners, limited partners, partnerships and aliases, code names, or trade or business
          names used by any of the foregoing.

   6.     “Infinitech Trading Software Solutions LLC” means the entity doing business under the
          name “Infinitech Trading Software Solutions LLC” (“Infinitech”), including parents,
          subsidiaries, affiliates, predecessors, successors, officers, directors, employees, agents,
          general partners, limited partners, partnerships and aliases, code names, or trade or
          business names used by any of the foregoing.

   7.     “Intellect Management Services LLC” means the entity doing business under the name
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         “Intellect Management Services LLC” (“Intellect”), including parents, subsidiaries,
         affiliates, predecessors, successors, officers, directors, employees, agents, general
         partners, limited partners, partnerships and aliases, code names, or trade or business
         names used by any of the foregoing.

   8.    “JH Brickell Management LLC” means the entity doing business under the name “JH
         Brickell Management LLC” (“JH Brickell”), including parents, subsidiaries, affiliates,
         predecessors, successors, officers, directors, employees, agents, general partners, limited
         partners, partnerships and aliases, code names, or trade or business names used by any of
         the foregoing.

   9.    “JXVM Consulting LLC” means the entity doing business under the name “JXVM
         Consulting LLC” (“JXVM”), including parents, subsidiaries, affiliates, predecessors,
         successors, officers, directors, employees, agents, general partners, limited partners,
         partnerships and aliases, code names, or trade or business names used by any of the
         foregoing.

   10.   “KYC Payment Company LLC” means the entity doing business under the name “KYC
         Payment Company LLC” (“KYC”), including parents, subsidiaries, affiliates,
         predecessors, successors, officers, directors, employees, agents, general partners, limited
         partners, partnerships and aliases, code names, or trade or business names used by any of
         the foregoing.

   11.   “Metaverse Realty Title Company LLC” means the entity doing business under the name
         “Metaverse Realty Title Company LLC” (“Metaverse”), including parents, subsidiaries,
         affiliates, predecessors, successors, officers, directors, employees, agents, general
         partners, limited partners, partnerships and aliases, code names, or trade or business
         names used by any of the foregoing.

   12.   “NKC Management LLC” means the entity doing business under the name “NKC
         Management LLC” (“NKC”), including parents, subsidiaries, affiliates, predecessors,
         successors, officers, directors, employees, agents, general partners, limited partners,
         partnerships and aliases, code names, or trade or business names used by any of the
         foregoing.

   13.   “Zeus X1 LLC” means the entity doing business under the name “Zeus X1 LLC”
         (“Zeus”), including parents, subsidiaries, affiliates, predecessors, successors, officers,
         directors, employees, agents, general partners, limited partners, partnerships and aliases,
         code names, or trade or business names used by any of the foregoing.

   14.   “Person” means a natural person, firm, association, organization, partnership, business,
         trust, corporation, bank or any other private or public entity.

   15.   A “Representative” of a Person means any present or former family members, officers,
         executives, partners, joint-venturers, directors, trustees, employees, consultants,
         accountants, attorneys, agents, or any other representative acting or purporting to act on



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         behalf of the Person.

   16.   “Acero” means (i) Roman David Acero Quintero and/or (ii) any present or former
         representative of Acero.

   17.   “E. Valencia” means (i) Eduardo Valencia and/or (ii) any present or former
         representative of E. Valencia.

   18.   “Gonzalez” means (i) Martha Gonzalez and/or (ii) any present or former representative of
         Gonzalez.

   19.   “J. Valencia” means (i) Juan Jose Valencia Vargas and/or (ii) any present or former
         representative of J. Valencia.

   20.   “P. Vargas” means (i) Paola Andrea Vargas Gonzalez, and/or (ii) any present or former
         representative of P. Vargas.

   21.   “R. Vargas” means (i) Rafael Alberto Vargas Gonzalez, and/or (ii) any present or former
         representative of R. Vargas.

   22.   “Reyes” means (i) Samuel Reyes, and/or (ii) any present or former representative of
         Reyes.

   23.   “Rojas” means (i) Catherine Rojas and/or (ii) any present or former representative of
         Rojas.

   24.   “Document” shall include, but is not limited to, any written, printed, or typed matter
         including, but not limited to all drafts and copies bearing notations or marks not found in
         the original, letters and correspondence, interoffice communications, slips, tickets,
         records, worksheets, financial records, accounting documents, bookkeeping documents,
         memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
         telephone messages, text messages, voice mails, tape recordings, notices, instructions,
         minutes, summaries, notes of meetings, file folder markings, and any other organizational
         indicia, purchase orders, information recorded by photographic process, including
         microfilm and microfiche, computer printouts, spreadsheets, and other electronically
         stored information, including but not limited to writings, drawings, graphs, charts,
         photographs, sound recordings, images, and other data or data compilations that are
         stored in any medium from which information can be retrieved, obtained, manipulated, or
         translated.

   25.   “Communication” means any correspondence, contact, discussion, e-mail, instant
         message, or any other kind of oral or written exchange or transmission of information (in
         the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
         more Persons or entities, including, without limitation, all telephone conversations, face-
         to-face meetings or conversations, internal or external discussions, or exchanges of a
         Document or Documents.



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   26.   “Concerning” means directly or indirectly, in whole or in part, describing, constituting,
         evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
         connection with, commenting on, relating to, regarding, discussing, showing, describing,
         analyzing or reflecting.

   27.   An “Agreement” means any actual or contemplated (i) written or oral Agreement; (ii)
         term or provision of such Agreement; or (iii) amendment of any nature or termination of
         such Agreement. A request for any Agreement among or between specified parties
         includes a request for all Documents Concerning (i) any actual or contemplated
         Agreement among or between such parties, whether or not such Agreement included any
         other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
         contemplated demand, request or application for any such Agreement, and any response
         thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
         Agreement, and any response thereto.

   28.   The term “Reviewed” means examined, assessed, considered, analyzed or evaluated.

   29.   The term “you” and “your” means the Person to whom or entity to which this subpoena
         was issued.

   30.   To the extent necessary to bring within the scope of this this subpoena any information or
         Documents that might otherwise be construed to be outside its scope:
         a.     the word “or” means “and/or”;
         b.     the word “and” means “and/or”;
         c.     the functional words “each,” “every” “any” and “all” shall each be deemed to
                include each of the other functional words;
         d.     the masculine gender includes the female gender and the female gender includes
                the masculine gender; and
         e.     the singular includes the plural and the plural includes the singular.

   31.   “Relevant Period” means the time period beginning April 20, 2021, or the earliest time
         for which records exist, whichever is earlier, and continuing to the present, unless
         otherwise specified.

   32.   “Relevant Entities and Individuals” means each of the following: Empirex, Acer, AKC,
         Cryptox Hub, Cryptox Payroll, Infinitech, Intellect, JH Brickell, JXVM, KYC,
         Metaverse, NKC, Zeus, Acero, E. Valencia, Gonzalez, J. Valencia, P. Vargas, Reyes, and
         Rojas and any entity or individual Concerning the recruiting of Empirex investors or the
         sale of an Empirex investment to investors.

                                             Instructions

   1.    Unless otherwise specified, this subpoena calls for production of the original Documents
         and all copies and drafts of same. Documents responsive to this subpoena may be in
         electronic or paper form. Electronic Documents such as email should be produced in



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         accordance with the attached Document entitled SEC Data Delivery Standards. All
         responsive electronic Documents, including all metadata, should also be produced in their
         native software format.

   2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
         send copies of the originals. The Commission cannot reimburse you for the copying
         costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
         hard copy Documents and produce them in an electronic format consistent with the SEC
         Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
         in paper format. If you choose to send copies, you ---must secure and retain the originals
         and store them in a safe place. The staff may later request or require that you produce the
         originals.

   3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
         including even faint marks or print. Also, please note that if copies of a Document differ
         in any way, they are considered separate Documents and you must send each one. For
         example, if you have two copies of the same letter, but only one of them has handwritten
         notes on it, you must send both the clean copy and the one with notes.

   4.    In producing a photocopy of an original Document that contains post-it(s), notation
         flag(s), or other removable markings or attachments which may conceal all or a portion
         of the markings contained in the original Document, photocopies of the original
         Document both with and without the relevant post-it(s), notation flag(s), or removable
         markings or attachments should be produced.

   5.    Documents should be produced as they are kept in the ordinary course of business or be
         organized and labeled to correspond with the categories in this request. In that regard,
         Documents should be produced in a unitized manner, i.e., delineated with staples or paper
         clips to identify the Document boundaries.

   6.    Documents should be labeled with sequential numbering (bates-stamped).

   7.    You must produce all Documents created during, or Concerning, the period from April
         20, 2021, or the earliest time for which records exist, whichever is earlier, to the date of
         this subpoena, unless otherwise specified.

   8.    The scope of any given request should not be limited or narrowed based on the fact that it
         calls for Documents that are responsive to another request.

   9.    You are not required to produce exact duplicates of any Documents that have been
         previously produced to the Securities and Exchange Commission staff in connection with
         this matter. If you are not producing Documents based upon a prior production, please
         identify the responsive Documents that were previously produced.

   10.   This subpoena covers all Documents in or subject to your possession, custody or control,
         including all Documents that are not in your immediate possession but that you have the



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          effective ability to obtain, that are responsive, in whole or in part, to any of the individual
          requests set forth below. If, for any reason – including a claim of attorney-client privilege
          – you do not produce something called for by the request, you should submit a list of
          what you are not producing. The list should describe each item separately, noting:

          a.     its author(s);
          b.     its date;
          c.     its subject matter;
          d.     the name of the Person who has the item now, or the last Person known to have it;
          e.     the names of everyone who ever had the item or a copy of it, and the names of
                 everyone who was told the item’s contents;
          f.     the basis upon which you are not producing the responsive Document;
          g.     the specific request in the subpoena to which the Document relates;
          h.     the attorney(s) and the client(s) involved; and
          i.     in the case of the work product doctrine, the litigation for which the Document
                 was prepared in anticipation.

   11.    If Documents responsive to this subpoena no longer exist because they have been lost,
          discarded, or otherwise destroyed, you should identify such Documents and give the date
          on which they were lost, discarded or destroyed.

                                      Documents to be Produced

   To the extent not previously produced in response to a subpoena in this matter, produce all
   Documents identified below:


   1.     Documents sufficient to disclose all of your employers from April 20, 2021 through
          present, as well as your title(s), dates of affiliation with each employer, and salary or
          other compensation;

   2.     Documents sufficient to identify the nature of your relationship with the Relevant Entities
          and Individuals and all salary or other compensation you have received from the Relevant
          Entities and Individuals from April 20, 2021 through present;

   3.     All Documents Concerning Agreements, contracts, loans, notes, or understandings
          between you and Empirex and the Relevant Entities and Individuals;

   4.     For each year from April 20, 2021 through present, Document sufficient to disclose your
          annual income and all sources of income;

   5.     Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
          financial accounts held in your name or for your benefit, or over which you have any
          control, or by or on behalf of Empirex and Documents sufficient to disclose, for each
          account identified in response to this Item:



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            a. the name, address, and telephone number of the financial institution where the
               account is held, maintained, directed or controlled;
            b. the account number;
            c. the name, address, and telephone number of the branch office, if any, where the
               account is held, maintained, or directed;
            d. the account name; and,
            e. the date the account was opened;

   6.    For the accounts responsive to Item 5 above, all account information including but not
         limited to account opening Documents, Communications, monthly account statements,
         cancelled checks (front and back), wire transfer requests, confirmations, emails, notes
         and other similar Documents;

   7.    Documents sufficient to disclose all of your other assets over $1,000 in value, including
         the current location of all such assets;

   8.    Documents sufficient to disclose all other assets held by or on behalf of Empirex;

   9.    For each tax year 2021 through present, copies of all your filed federal and state income
         tax returns;

   10.   Documents sufficient to disclose the corporate structure of Empirex including, but not
         limited to, the date and place of establishment, organization, and, if applicable,
         incorporation;

   11.   Documents sufficient to identify all officers, directors, principals, owners, shareholders,
         employees, and all others acting on behalf of Empirex and Documents sufficient to
         disclose, for each individual identified in response to this Item:

            a.   title;
            b.   dates of affiliation with Empirex;
            c.   current or last known home address and telephone number;
            d.   current or last known employment address and telephone number; and,
            e.   salary or other compensation for each year from April 20, 2021 through present;

   12.   Documents sufficient to identify all individuals and entities for whom Empirex performs
         or has performed services of any kind and the nature of the services performed;

   13.   All draft and final financial reports Concerning Empirex including, but not limited to,
         audited and unaudited financial statements, including balance sheets and statements of
         income and retained earnings and cash flows, as well as all ledgers, journals, and
         workpapers used to prepare and support Empirex’s financial statements, copies of filed
         federal and state corporate income tax returns and 1099/1098/1096 tax returns, w-2s and
         payroll tax returns, trial balances, cash receipt journals, bank statements, copies of
         canceled checks, deposit records with copies of deposit items, cash disbursement
         journals, balance sheets, statements of income and retained earnings and cash flows, any


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         other report of receipts, disbursements, net profits and losses, and cash flow, and any
         other financial reports and other information Concerning the financial condition, business
         and operations of Empirex;

   14.   All QuickBooks files Concerning Empirex;

   15.   Documents sufficient to identify all Empirex investors by name, address, and telephone
         number;

   16.   For each investor identified in response to Item 15 above, Documents sufficient to
         disclose

            a. the amount invested;
            b. the date(s) of investments; and,
            c. whether, when, and how much of each investors’ principal has been returned to
               them;

   17.   For each investor identified in response to Item 15 above, all Documents Concerning
         Agreements, contracts, loans, notes, or understandings between you or Empirex and the
         investor and all Documents that reflect terms of investments;

   18.   For each investor identified in response to Item 15 above, all periodic or other account
         statements;

   19.   For each investor identified in response to Item 15 above, all Documents Concerning the
         investment of (or other use of) their funds by you or Empirex and the current location of
         investor funds;

   20.   All Documents and Communications Concerning all investment, promotional, sales,
         marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
         disseminated, directly or indirectly, by you or any of the Relevant Entities and
         Individuals, including, but not limited to, brochures, offering memoranda and
         attachments, business and projection plans, subscription agreements, and operating
         agreements;

   21.   All Documents Concerning your or Empirex’s drafting, review of and comments made
         on all draft and final Empirex offering and marketing materials provided to prospective
         and actual Empirex investors;

   22.   Documents sufficient to identify all individuals or entities who were solicited as potential
         investors but did not ultimately invest in Empirex;

   23.   All Documents Concerning funds received by you or Empirex from the Relevant Entities
         and Individuals, including, but not limited to, front and back of all canceled checks,
         check stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms,
         and any other documents or records reflection such receipts;


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   24.   All Documents Concerning funds disbursed by you or Empirex to the Relevant Entities
         and Individuals, including, but not limited to, front and back of all canceled checks,
         check stubs, wire transfer instructions, invoices, receipts, statements, ledgers, tax forms,
         and any other documents or records reflection such disbursements;

   25.   All Documents Concerning the payment of fees to any individual or entity in connection
         with the recruiting of Empirex investors or the sale of an Empirex investment to
         investors;

   26.   All Documents Concerning Communications between you or Empirex and investors or
         potential investors in Empirex;

   27.   All Documents Concerning all Communications between you and the Relevant Entities
         and Individuals Concerning:

            a. Empirex;
            b. all the Relevant Entities and Individuals;
            c. all funds received by the Relevant Entities and Individuals directly or indirectly
               from you or Empirex;
            d. all funds disbursed by the Relevant Entities and Individuals directly or indirectly
               to you or Empirex;
            e. all funds received or disbursed by you or Empirex;
            f. all Agreements, contracts, loans, notes, or understandings between you and the
               Relevant Entities and Individuals;
            g. all Agreements, contracts, loans, notes, or understandings among or between the
               Relevant Entities and Individuals Concerning Empirex; and,

   28.   To the extent not provided in response to other Items, all Documents Concerning the
         following:

            a. Empirex;
            b. All your or Empirex accounts held at Amerant Bank, N.A., Bank of America,
               N.A., BlueVine, Capital One, N.A., Citibank, N.A., Coastal Community Bank,
               N.A., JPMorgan Chase Bank, N.A., Santander Bank, N.A., Signature Bank, TD
               Bank, N.A., Truist Bank, Wells Fargo Bank, N.A., Binance Holdings Ltd.,
               E*Trade Financial Corporation, Gemini Trust Company LLC, Interactive Brokers
               LLC, Kucoin.com, Robinhood Securities, LLC, TD Ameritrade, Inc., Tradestation
               Securities, Inc., Webull Financial LLC, Coinbase Inc., and Payward Ventures,
               Inc. from April 20, 2021 through the present, including, but not limited to,
               account opening Documents and periodic or other statements;
            c. All your or Empirex accounts held at all other domestic or foreign banks,
               brokerages, or other financial institutions not identified in response to any other
               Item from April 20, 2021 through the present, including, but not limited to,
               account opening Documents and periodic or other statements;


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            d. the Relevant Entities and Individuals; and,
            e. All Empirex investors.

   29.   All records responsive to Items 1 to 28 above for the time period January 1, 2018 to
         June 16, 2022 to the extent not previously produced in response to the prior subpoena
         dated April 20, 2021 issued to you in connection with this investigation.




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                                                                          U.S. Securities and Exchange Commission

                                                                                                Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the U.S.
    Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
    described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
    prior to submission.**

    General Instructions ................................................................................................................................................................................... 1
    Delivery Formats............................................................................................................................................................ 2
         I. Imaged Productions..............................................................................................................................................................................................................................3
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    General Instructions

    Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
    ENF-CPU (U.S. Securities & Exchange Commission), 14420 Albemarle Point Place, Suite 102, Chantilly, VA 20151-1750

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
    (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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                                      287                               Data Delivery Standards
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.    A cover letter must be included with each production and should include the following information:
             a. Case number, case name and requesting SEC staff member name
             b. A list of each piece of media included in the production with its unique production volume number
             c. A list of custodians, identifying the Bates range for each custodian
             d. The time zone in which the emails were standardized during conversion
             e. Whether the production contains native files produced from Mac operating system environments
  2.    Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
        labeled with the following:
             a. Case number
             b. Production date
             c. Producing party
             d. Bates range (if applicable)
  3.    All submissions must be organized by custodian unless otherwise instructed.
  4.    All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
        should follow parent files sequentially in the Bates numbering.
  5.    All load-ready collections should include only one data load file and one image pointer file.
  6.    All load-ready text must be produced as separate document-level text files.
  7.    All load-ready collections should account for custodians in the custodian field.
  8.    All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
        as separate records.
  9.    Audio files should be separated from data files if both are included in the production.
  10.   Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
        are not permitted.
  11.   All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.   The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
        Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
        information, please reach out to the requesting SEC staff member.
  13.   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
        Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
        member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
        for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
        be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
        using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.   Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
        electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
        marked as BSA or SAR material, or should be produced separately from other case related material.
  15.   Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
        email or in a cover letter apart from the media.
  16.   All electronic productions should be produced free of computer viruses.
  17.   Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
        discuss appropriate handling.
  18.   Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
        reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.   Additional technical descriptions can be found in the addendum to this document.

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                                                                                           U.S. Securities and Exchange Commission
                                                                                                             Data Delivery Standards
       *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
       result electronic productions may be damaged.*
Delivery Formats
I.    Imaged Productions
      The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
      standard load files, Bates numbered image files, native files and searchable document-level text files.
      1. Images
         a. Black and white images must be 300 DPI Group IV single-page TIFF files
         b. Color images must be produced in JPEG format
         c. File names cannot contain embedded spaces or special characters (including the comma)
         d. Folder names cannot contain embedded spaces or special characters (including the comma)
         e. All image files must have a unique file name, i.e. Bates number
         f. Images must be endorsed with sequential Bates numbers in the lower right corner of each image
         g. The number of image files per folder should not exceed 2,000 files
         h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
         i. AUTOCAD/photograph files should be produced as a single page JPEG file
      2.    Image Cross-Reference File
            The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
            file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
            following format:
                   ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount
      3. Data File
         The data file (.DAT) contains all of the fielded information that will be loaded into the database.
           a.   The first line of the .DAT file must be a header row identifying the field names
           b.   The .DAT file must use the following Concordance® default delimiters:
                           lb
                  Comma ASCII character (020)
           c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
           d.   Date fields should be provided in the format: mm/dd/yyyy
           e.   Date and time fields must be two separate fields
           f.   The time zone must be included in all time fields
           g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                parent/child relationship between an email and its attachments
           h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
                storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
           i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
                on the produced storage media. The native file must be named after the FIRSTBATES.
           j.   BEGATTACH and ENDATTACH fields must be two separate fields
           k.   A complete list of metadata fields is available in Addendum A to this document
      4. Text
         Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
         per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
         may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
         that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
         characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
         should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
         the redacted version.
      5.    Linked Native Files
            Copies of original email and native file documents/attachments must be included for all electronic productions.
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     a.   Native file documents must be named per the FIRSTBATES number
     b.   The full path of the native file must be provided in the .DAT file for the LINK field
     c.   The number of native files per folder should not exceed 2,000 files




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 II.    Native File Production without Load Files
        With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
        in the normal course of business and organized by custodian-named file folders. When approved, native email files (.PST or
        .MBOX) may be produced. A separate folder should be provided for each custodian.

III.    Adobe PDF File Production
        With prior approval, Adobe PDF files may be produced in native file format.
            1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
            2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
                characters (including commas).
            3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
                or image only. This requires all layers of the PDF to be flattened first.
            4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
               1)   Caller Name:          Caller’s name or account/identification number
               2)   Originating Number:   Caller’s phone number
               3)   Called Party Name:    Called party’s name
               4)   Terminating Number:   Called party’s phone number
               5)   Date:                 Date of call
               6)   Time:                 Time of call
               7)   Filename:             Filename of audio file

 V.       Video Files
          Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.      Electronic Trade and Bank Records
          When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

          1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
               separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
               separate document must be provided that includes such details.

          2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
               any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
               field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

          1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
               separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
               separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
               dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                   a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                         loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                         not combined into a single column containing both pieces of information. Any fields of data that are provided
                         in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


          Field Name           Sample Data                     Description
          FIRSTBATES           EDC0000001                      First Bates number of native file document/email
          LASTBATES            EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
          ATTACHRANGE          EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
          BEGATTACH            EDC0000001                      First Bates number of attachment range
          ENDATTACH            EDC0000015                      Last Bates number of attachment range
          PARENT_BATES         EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
          CHILD_BATES          EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
          CUSTODIAN            Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
          FROM                 John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          TO                   Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
          CC                   Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
          BCC                  John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                 entries
          SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
          FILE_NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
          DATE_SENT            10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
          TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
          _ZONE                                                the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                 combined with the DATE_SENT field




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    TIME_ZONE        GMT                         The time zone in which the emails were standardized
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
    LINK             D:\001\ EDC0000001.msg      Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
    MIME_TYPE        application/msword          The content type of an email or native file document
                                                 as identified/extracted from the header
    FILE_EXTEN       MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
    AUTHOR           John Smith                  Email: (empty)
                                                 Native: Author of the document
    LAST_AUTHOR      Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
    DATE_CREATED     10/10/2010                  Email: (empty)
                                                 Native: Date the document was created
    TIME_CREATED/T 10:25 AM GMT                  Email: (empty)
    IME_ZONE                                     Native: Time the document was created including time
                                                 zone
                                                 **This data must be a separate field and cannot be
    DATE_MOD         10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
    TIME_MOD/TIME_ 07:00 PM GMT                  Email: (empty)
    ZONE                                         Native: Time the document was last modified including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    DATE_ACCESSD     10/12/2010                  Email: (empty)
                                                 Native: Date the document was last accessed
    TIME_ACCESSD/T 07:00 PM GMT                  Email: (empty)
    IME_ZONE                                     Native: Time the document was last accessed including
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    PRINTED_DATE     10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
    FILE_SIZE        5,952                       Size of native file document/email in KB
    PGCOUNT          1                           Number of pages in native file document/email
    PATH             J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
    INTFILEPATH      Personal Folders\Deleted    Email: original location of email including original
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
    INTMSGID         <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                       ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date – Date the data was received or made
    3) Connection Time – Time data was received or made
    4) Originating number – Number that used data
    5) IMEI Originating – Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes – Identify data direction, or other data routing information
    8) Time Zone – Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                        Washington, D.C. 20549

                          Supplemental Information for Persons Requested to Supply
                          Information Voluntarily or Directed to Supply Information
                                    Pursuant to a Commission Subpoena
   A. False Statements and Documents
   Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
            Government of the United States, knowingly and willfully--
                (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                (3) makes or uses any false writing or document knowing the same to contain any materially false,
                fictitious, or fraudulent statement or entry.

   Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
            record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
            proper administration of any matter within the jurisdiction of any department or agency of the United States
            . . ., or in relation to or contemplation of any such matter.
   B. Testimony
   If your testimony is taken, you should be aware of the following:
   1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
        the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
        will not go off the record at your, or your counsel’s, direction.
   2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
        counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
        testimony to clarify any of the answers you give during testimony; and make summary notes during your
        testimony solely for your use. If you are accompanied by counsel, you may consult privately.
   If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
   testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
   once to afford you the opportunity to arrange to be so accompanied, represented or advised.
   You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
   This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
   adverse to another’s. If you are represented by counsel who also represents other persons involved in the
   investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
   possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
   3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
        A person who has submitted documentary evidence or testimony in a formal investigative proceeding
        shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
        his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
        investigative proceeding the Commission may for good cause deny such request. In any event, any
        witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
        own testimony.
   If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
   appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
   4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
   be imposed upon:
            Whoever--
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                (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                be true; or
                (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                does not believe to be true.
   5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
   local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
   You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
   United States, to give any information that may tend to incriminate you.
   If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
   question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
   6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
   during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
   C. Submissions and Settlements
   Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
            Persons who become involved in . . . investigations may, on their own initiative, submit a written
            statement to the Commission setting forth their interests and position in regard to the subject matter
            of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
            general nature of the investigation, including the indicated violations as they pertain to them, and
            the amount of time that may be available for preparing and submitting a statement prior to the
            presentation of a staff recommendation to the Commission for the commencement of an
            administrative or injunction proceeding. Submissions by interested persons should be forwarded to
            the appropriate Division Director or Regional Director with a copy to the staff members conducting
            the investigation and should be clearly referenced to the specific investigation to which they relate.
            In the event a recommendation for the commencement of an enforcement proceeding is presented
            by the staff, any submissions by interested persons will be forwarded to the Commission in
            conjunction with the staff memorandum.
   The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
   Commission enforcement proceedings, when the staff deems appropriate.
   Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
            In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
            staff, with appropriate authorization, may discuss with persons involved the disposition of such
            matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
            however, that the disposition of any such matter may not, expressly or impliedly, extend to any
            criminal charges that have been, or may be, brought against any such person or any
            recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
            before the Commission who consents, or agrees to consent, to any judgment or order does so
            solely for the purpose of resolving the claims against him in that investigative, civil, or
            administrative matter and not for the purpose of resolving any criminal charges that have been, or
            might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
            has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
            criminal proceedings. That authority and responsibility are vested in the Attorney General and
            representatives of the Department of Justice.
   D. Freedom of Information Act
   The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
   public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
   which a person can make a written request that information submitted to the Commission not be disclosed under the
   FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
   disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
   be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
   you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
   please provide a duplicate request, together with a stamped, self-addressed envelope.
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   E. Authority for Solicitation of Information
   Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
   set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
   of any legal right or privilege you might have.
   Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
   Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
   the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
   Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
   requested information to the Commission is voluntary on your part.
   F. Effect of Not Supplying Information
   Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
   Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
   supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
   21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
   209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
   any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
   produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
   Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
   failing to provide all or any part of the requested information.
   G. Principal Uses of Information
   The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
   person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
   the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
   Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
   provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
   explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
   accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
   other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
   disposition, transfer, or retention, in accordance with applicable law, of information provided.
   H. Routine Uses of Information
   The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
   and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
   where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
   general, a confidential matter between the Commission and such other governmental agencies.
   Set forth below is a list of the routine uses which may be made of the information furnished.
   1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
   breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
   there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
   Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
   reasonably necessary to assist in connection with the SEC’s efforts to respond to the suspected or confirmed breach
   or to prevent, minimize, or remedy such harm.
   2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
   foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
   3. To national securities exchanges and national securities associations that are registered with the SEC, the
   Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
   Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
   the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
   securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
   their regulatory or enforcement responsibilities.
   4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
   the Federal securities laws.
   5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
   members of its staff, is a party or otherwise involved in an official capacity.
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   6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
   201.102(e).
   7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
   authority; or professional association or self-regulatory authority to the extent that it performs similar functions
   (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
   8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
   SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
   a contract; or the issuance of a license, grant, or other benefit.
   9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
   concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
   investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
   requesting agency, to the extent that the information is relevant and necessary to the requesting agency’s decision on
   the matter.
   10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
   in support of the function for which the records are collected and maintained or for related personnel management
   functions or manpower studies; may also be used to respond to general requests for statistical information (without
   personal identification of individuals) under the Freedom of Information Act.
   11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
   competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
   administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
   3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
   Practice, 17 CFR 201.100 through 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
   201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
   entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
   proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
   laws or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
   12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
   connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
   have further information about the matters related therein, and those matters appeared to be relevant at the time to
   the subject matter of the inquiry.
   13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
   performance of a service related to this system of records and who need access to the records for the purpose of
   assisting the Commission in the efficient administration of its programs, including by performing clerical,
   stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
   these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
   552a.
   14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
   is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
   include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
   15. To members of advisory committees that are created by the Commission or by Congress to render advice and
   recommendations to the Commission or to Congress, to be used solely in connection with their official designated
   functions.
   16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1
   through 200.735-18, and who assists in the investigation by the Commission of possible violations of the Federal
   securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
   78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
   otherwise in connection with the Commission’s enforcement or regulatory functions under the Federal securities laws.
   17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
   made at the request of that individual.
   18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
   their activities, and other matters under the Commission’s jurisdiction.
   19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
   78c(a)(47)), as amended.
   20. To respond to subpoenas in any litigation or other proceeding.
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 154 of
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   21. To a trustee in bankruptcy.
   22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
   commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
   including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
   garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
   23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
   records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
   breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
   (including its information systems, programs, and operations), the Federal Government, or national security, resulting
   from a suspected or confirmed breach.

                                                        *****
   Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
   would like more information, or have questions or comments about federal securities regulations as they affect small
   businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
   551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
   Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
   Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
   activities for their responsiveness to the special needs of small business.
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       ATTACHMENT G
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 156 of
                                     287

    From:            Springer, Shelly-Ann
    To:              "Weinstein, David"
    Bcc:             Perez, Carmen
    Subject:         smail Empirex Capital LLC (FL-04274)-Empirex Capital LLC and Rafael Alberto Vargas Gonzalez Extension
                     Requests
    Date:            Wednesday, June 22, 2022 11:36:00 AM


    Mr. Weinstein

    Pursuant to our discussion, we agree to your request for an extension of time to July 21, 2022 for
    your clients Empirex Capital LLC (“Empirex”) and Rafael Alberto Vargas Gonzalez (“Vargas”) to
    produce all documents responsive to their respective Commission subpoenas dated June 16, 2022
    with the further agreement that Empirex and Mr. Vargas will commence a rolling production of
    documents and all documents responsive to their respective subpoenas will be produced earlier if
    available. Please do not hesitate to contact me if you would like to discuss this matter further.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
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       ATTACHMENT H
                                                                                    From:            Weinstein, David
                                                                                    To:              Springer, Shelly-Ann
                                                                                    Subject:         Empirex Capital LLC/Rafael Vargas
                                                                                    Date:            Friday, July 22, 2022 7:43:20 PM
                                                                                    Attachments:     image001.png
                                                                                    CAUTION: This email originated from outside of the organization. Do not click links or open
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 158 of




                                                                                    attachments unless you recognize the sender and know the content is safe.
                                                                                    Shelly-Ann,
                                                                                    When we spoke earlier this week I advised you that I have made my client aware of the deadline and
                                                                                    extension imposed by your subpoenas.
                                                                                    As of this moment, I have not received any documents from him to send to you.
                                                                                    David
                                                                                    David S. Weinstein
                                                                                    Partner
                                                                                    D: 305.679.5754 | M: 786.877.3474
                                                                                    dweinstein@joneswalker.com
                                                                                               Ii]
                                     287




                                                                                    Jones Walker LLP
                                                                                    201 S Biscayne Blvd, Ste 3000
                                                                                    Miami, FL 33131
                                                                                    joneswalker.com
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         ATTACHMENT I
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 160 of
                                     287

    From:          Buitrago, Roberto
    To:            dweinstein@joneswalker.com
    Cc:            Springer, Shelly-Ann
    Subject:       In the Matter of Empirex Capital LLC, FL-04274
    Date:          Thursday, July 28, 2022 11:59:09 AM
    Attachments:   2022-07-28--SUBP FOLLOW UP-(R Vargas, Empirex)--To David Weinstein--FL-4274-.pdf


    Please see attached,
    If you have any questions or concerns, please direct them to Shelly-Ann Spinger cc’d
    on this email.


    Roberto Buitrago
    Legal Assistant
    801 Brickell Ave., #1950
    Miami, Florida 33131
    T: 305-416-6268
    F: 703-813-9474
    buitragor@sec.gov
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                                      287
                                               UNITED STATE.S
                             SECURITIES ANO EXCHANGE COMMISSION
                                      801 BRICKELL AVENUE, SUITE 1950
                                            MIAMI, FLORIDA 33131

      MIAMI
REGI<JNAl. OFFICE




            DIVISION OF ENFORCEMENT                                           Shelly-Ann A. Springer-Charles
                                                                              Senior Counsel
                                                                              (305) 416-6224
                                                                              springers@sec.gov


            July 28, 2022

            VIA OVERNIGHT DELIVERY & EMAIL
            David S. Weinstein, Esq.
            Jones Walker LLP
            201 South Biscayne Boulevard, Suite 3000
            Miami, FL 33131-4330
            dweinstein@joneswalker.com


            Re: In the Matter ofEmpirex Capital LLC, FL-04274


            Dear Mr. Weinstein:

                   As you know, your clients Rafael Alberto Vargas Gonzalez and his entity Empirex
            Capital LLC ("Empirex") were issued two separate June 16, 2022 subpoenas for documents
            ("subpoenas") in connection with the above-referenced investigation and all documents
            responsive to the subpoenas were originally due on June 30, 2022. On June 22, 2022,
            pursuant to your request for an extension of time, the staff agreed to extend the due date
            through July 21, 2022, or earlier if available, for Mr. Vargas and Empirex to produce all
            documents responsive to the subpoenas with the further agreement that Mr. Vargas and
            Empirex would commence rolling productions of documents. To date we have not received
            any documents from Mr. Vargas or Empirex responsive to the subpoenas. We are concerned
            that Mr. Vargas and Empirex have no intention of producing any documents responsive to the
            subpoenas.

                    Accordingly, we kindly ask that you confirm with Mr. Vargas whether or not he and
            his entity, Empirex, intend to produce all documents responsive to the subpoenas. Please
            communicate his response to me via email at springers@sec.gov by 5:00 p.m., August 1,
            2022. Please note, if Mr. Vargas and Empirex intend to produce documents responsive to the
            subpoenas, they are due by 5 :00 p.m., August 4, 2022. Please send the documents to:

                    ENF-CPU
                    U.S. Securities and Exchange Commission
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                                     287



             14420 Albemarle Point Place, Suite 102
             Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed
      to the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letter to me at
      springers@sec.gov.

             If you have any questions or would like to discuss this matter, you may contact me at
      (305) 416-6224.


                                                          Sincerely,

                                                          SHELLY-ANN      Digitally signed by SHELLY-
                                                                          ANN SPRINGER-CHARLES
                                                          SPRINGER-       Date: 2022.07.28 11 :20:09
                                                          CHARLES         -04'00'


                                                          Shelly-Ann A. Springer-Charles
                                                          Senior Counsel
                                                          Division of Enforcement




                                                    2
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                                     287




        ATTACHMENT J
                                                                                    From:            Weinstein, David
                                                                                    To:              ENF-Centralized Production Unit
                                                                                    Cc:              Springer, Shelly-Ann
                                                                                    Subject:         In the Matter of Empirex Capital LLC, FL-04274
                                                                                    Date:            Monday, August 1, 2022 1:13:34 PM
                                                                                    Attachments:     image001.png
                                                                                                     SEC Cover Letter re Empirex Capital -ENF-CPU Subpoena Compliance - 08.01.22(100562470.1).pdf
                                                                                                     EC 38 000383-000389.pdf
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                                                                                    CAUTION: This email originated from outside of the organization. Do not click links or open
                                                                                    attachments unless you recognize the sender and know the content is safe.
                                                                                    Please see the attached correspondence and attachments.
                                                                                    Sincerely,
                                                                                    David S. Weinstein
                                                                                    David S. Weinstein
                                                                                    Partner
                                                                                    D: 305.679.5754 | M: 786.877.3474
                                                                                    dweinstein@joneswalker.com
                                                                                               Ii]
                                     287




                                                                                    Jones Walker LLP
                                                                                    201 S Biscayne Blvd, Ste 3000
                                                                                    Miami, FL 33131
                                                                                    joneswalker.com
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                                     287


IWALKER
  JONES                                                                             David S. Weinstein
                                                                                    D: 305.679.5754
                                                                                    F: 305.679.5838
                                                                                    dweinstein@joneswalker.com




August 1, 2022

Via E-mail: ENF-CPU@sec.gov

ENF-CPU
U.S. Securities and Exchange Commission
14420 Albermale Point Place, Suite 102
Chantilly, VA 20151-1750

Re:     In the Matter of Empirex Capital LLC, FL04274

Dear Ms. Springer-Charles:

      In response to your letter dated July 28, 2022, Mr. Vargas and his entity, Empirex, do intend to
produce documents responsive to the subpoenas.

      Enclosed please find document Bates no. EC 38 000383          000389 responsive to the SEC
subpoena dated, June 16, 2022 in connection with the above referenced matter.

      Should any additional responsive documents be discovered, we will provide them to you by 5:00
pm on August 4, 2022.

       Please contact me if you have any questions regarding the response to the Subpoena or
require additional documents.

Sincerely,
/s/ David S. Weinstein
David S. Weinstein

DSW

Cc: Shelly-Ann Springer-Charles, Senior Counsel- via email springers@sec.gov




#100556034v1


201 South Biscayne Boulevard, Suite 3000 | Miami, FL 33131-4330 | T: 305.679.5700 | F: 305.679.5710
joneswalker.com
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                                     287




                                       EMPIREX CAPITAL




      I.   THE PARTIES. This Independent Contractor Agreement ("Agreement")
           made

           this March 5th 2020 is by and between:

           Contractor: ACER MEDIA LLC with a mailing address of 848 Brickell Ave,
           Miami FL 33130 ("Contractor"), and

           Client: EMPIREX CAPITAL LLC with a mailing address of 848 BRICKELL
           AVE SUITE 10, MIAMI FL 33130 ("Client").

           In consideration of the mutual terms, conditions, and covenants hereinafter
           set forth, Contractor and Client agree as follows:

     II.   SERVICES. The Client shall pay, and the Client shall provide the following
           services: Office management activities.



    Ill.   TERM. The services shall begin on March 5th 2020 and end by writing with
           minimum 60 day's notice.



   IV.     TERMINATION. Either the Client or the Contractor:
             -
           □ Cannot terminate this Agreement unless either party breaks its terms.


             -
           □ Can terminate this Agreement, without cause, by giving the other Party
           60 days' notice and providing their obligations up until termination.

    V.     COMPENSATION. In exchange for the services provided by the Contractor,
           the Client agrees to pay the following: (check one)




                                                                              EC 38 000383
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                                     287



          □ -$800/ Week.
          □ - Commission in the amount of 0.5% for OTC payments {BUY/SELL
          CRYPTO)



          OTHER EXPENSES. In addition to the Contractor's compensation, the
          Client agrees to pay the Contractor for the following: {check all that apply)

          □   - Materials. The Contractor's materials used for providing the services.
          □   -Travel Expenses. The Contractor's travel expenses to and from the
          location of where the services are being provided in addition to any other
          needs the services require.
              -
          □ Insurance. Any insurance required by the Contractor that is needed
          specifically for the services provided.

   VII.   INDEMNIFICATION. The Contractor shall indemnify and hold the Client
          harmless from any loss or liability from performing the Services under this
          Agreement.
  VIII.   INSURANCE NO REQUIRED. The Contractor is no required to have liability
          insurance and workers' compensation insurance in accordance with
          industry standards and state law. The Client has the right to review such
          insurance policies prior to the commencement of the services.
   IX.    OTHER BUSINESS ACTIVITY. The Contractor may engage in other
          business activities provided, however, that Contractor shall not during the
          term of this Agreement solicit the Client's employees, clients, accounts, or
          other related business endeavors of the Client.
    X.    ASSIGNMENT. Neither the Client nor the Contractor may assign this
          Agreement without the express written consent of the other party.
   XI.    RELATIONSHIP DEFINED. Nothing in this Agreement shall indicate the
          Contractor is a partner, agent, or employee of the Client. The Client
          employs the Contractor as an independent contractor, and the Contractor
          hereby accepts.
   XII.   OTHER AGREEMENTS. It is agreed between the parties that there are no
          other agreements or understandings between them relating to the subject
          matter of this Agreement. This Agreement supersedes all prior agreements,
          oral or written, between the parties and is intended as a complete and
          exclusive statement of the agreement between the parties. No change or
          modification of this Agreement shall be valid unless the same be in writing
          and signed by the parties.
  XIII.   LEGAL NOTICE. All notices or required or permitted to be given hereunder
          shall be in writing and may be delivered personally or by Certified Mail -




                                                                               EC 38 000384
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                                     287



         Return Receipt Requested, postage prepaid, addressed those mentioned in
         Section I.
  XIV.   GOVERNING LAW. This Agreement shall be construed in accordance with
         and governed by the laws under the state of FLORIDA.

   IN WITNESS WHEREOF, the Parties have indicated their acceptance of the terms of
   this Agreement by their signatures below on the dates indicated.



   Agreed,



   Rafael Vargas                                     David Acero

   Empirex Capital                                   Acer Media LLC




                                                                           EC 38 000385
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                                       EMPIREX CAPITAL




      I.   THE PARTIES. This Independent Contractor Agreement ("Agreement")
           made

           this March 5th 2020 is by and between:

           Contractor: INTELLECT MANAGEMENT LLC with a mailing address of 80
           Harding ave Miami Beach FL ("Contractor"), and

           Client: EMPIREX CAPITAL LLC with a mailing address of 848 BRICKELL
           AVE SUITE 10, MIAMI FL 33130 ("Client").

           In consideration of the mutual terms, conditions, and covenants hereinafter
           set forth, Contractor and Client agree as follows:

     II.   SERVICES. The Client shall pay, and the Client shall provide the following
           services: Office management activities.



    Ill.   TERM. The services shall begin on March 5th 2020 and end by writing with
           minimum 60 day's notice.



   IV.     TERMINATION. Either the Client or the Contractor:
             -
           □ Cannot terminate this Agreement unless either party breaks its terms.


             -
           □ Can terminate this Agreement, without cause, by giving the other Party
           60 days' notice and providing their obligations up until termination.

    V.     COMPENSATION. In exchange for the services provided by the Contractor,
           the Client agrees to pay the following: (check one)




                                                                              EC 38 000386
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                                     287



          □ -$1,000 I Week.
          □ - Commission in the amount of 0.5% for OTC payments {BUY/SELL
          CRYPTO)



          OTHER EXPENSES. In addition to the Contractor's compensation, the
          Client agrees to pay the Contractor for the following: {check all that apply)

          □   - Materials. The Contractor's materials used for providing the services.
          □   -Travel Expenses. The Contractor's travel expenses to and from the
          location of where the services are being provided in addition to any other
          needs the services require.
              -
          □ Insurance. Any insurance required by the Contractor that is needed
          specifically for the services provided.

   VII.   INDEMNIFICATION. The Contractor shall indemnify and hold the Client
          harmless from any loss or liability from performing the Services under this
          Agreement.
  VIII.   INSURANCE NO REQUIRED. The Contractor is no required to have liability
          insurance and workers' compensation insurance in accordance with
          industry standards and state law. The Client has the right to review such
          insurance policies prior to the commencement of the services.
   IX.    OTHER BUSINESS ACTIVITY. The Contractor may engage in other
          business activities provided, however, that Contractor shall not during the
          term of this Agreement solicit the Client's employees, clients, accounts, or
          other related business endeavors of the Client.
    X.    ASSIGNMENT. Neither the Client nor the Contractor may assign this
          Agreement without the express written consent of the other party.
   XI.    RELATIONSHIP DEFINED. Nothing in this Agreement shall indicate the
          Contractor is a partner, agent, or employee of the Client. The Client
          employs the Contractor as an independent contractor, and the Contractor
          hereby accepts.
   XII.   OTHER AGREEMENTS. It is agreed between the parties that there are no
          other agreements or understandings between them relating to the subject
          matter of this Agreement. This Agreement supersedes all prior agreements,
          oral or written, between the parties and is intended as a complete and
          exclusive statement of the agreement between the parties. No change or
          modification of this Agreement shall be valid unless the same be in writing
          and signed by the parties.
  XIII.   LEGAL NOTICE. All notices or required or permitted to be given hereunder
          shall be in writing and may be delivered personally or by Certified Mail -




                                                                               EC 38 000387
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                                     287



         Return Receipt Requested, postage prepaid, addressed those mentioned in
         Section I.
  XIV.   GOVERNING LAW. This Agreement shall be construed in accordance with
         and governed by the laws under the state of FLORIDA.

   IN WITNESS WHEREOF, the Parties have indicated their acceptance of the terms of
   this Agreement by their signatures below on the dates indicated.



   Agreed,



   Rafael Vargas                                     Catherine Rojas

   Empirex Capital                                   Intellect Management LLC




                                                                           EC 38 000388
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                          Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 172 of
                                                               287




                                                                               021-373263

                                                                               FLORIDA

                                                                               12-31

                                                                               2020-08-14

                                                                               848 BRICKELL AVE
                                                                               SUITE 1005
                                                                               MIAMI FL 33131

                                                                               2012079236

                                                                               1451 BRICKELL AVE
                                                                               UNIT 4203
                                                                               MIAMI
                                                                               FL
                                                                               33131

                                                                               2020-08-07 08:04:16
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 173 of
                                     287




       ATTACHMENT K
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 174 of
                                     287
                                                  UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       801   BR ICKEL L A V ENUE , SUITE 1950

                                               MIAMI , FLORIDA 33131


     MIAM I

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT

      April 11, 2022

      VIA OVERNIGHT DELIVERY
      AKC Management LLC
      c/o Paola Vargas, MGR, Registered Agent
      221 SW 12th Street
      #PH4
      Miami, FL 33130

      Re: In the Matter ofEmpirex Capital LLC, FL-04274

      Dear Ms. Vargas:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission's Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for documents issued to AKC Management LLC ("AKC"), in connection
      with the above-referenced investigation.

             The enclosed subpoena requires AKC to produce documents to the SEC by April 25,
      2022. Please deliver the materials by April 25, 2022 at 5:00 p.m. to:

                  ENF-CPU
                  U.S. Securities and Exchange Commission
                  14420 Albemarle Point Place, Suite 102
                  Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed to
      the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letters to me at
      springers@sec.gov. Additionally, please include the SEC matter number and the name of the
      requesting attorney when responding.
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                                     287



           Please carefully read the subpoena attachment, which contains, among other things,
   important instructions related to the manner of producing documents. In particular, if AKC
   prefers to send us copies of original documents, the staff requests that you scan and produce
   hard copy documents, as well as electronic documents, in an electronic format consistent
   with the SEC Data Delivery Standards attached hereto. All electronic documents
   responsive to the subpoena, including all metadata, should also be produced in their native
   software format. If you have any questions concerning the production of documents in an
   electronic format, please contact me as soon as possible and in any event before producing
   documents. For security reasons, we strongly encourage the encryption of sensitive documents
   before production.

          When producing the records, please consecutively number and mark each document
   produced with a symbol that identifies it as being produced by AKC.

          In your cover letter(s) accompanying the production of responsive documents, please
   enclose a list briefly describing each item you send. The list should identify the paragraph(s) in
   the subpoena attachment to which each item responds. Please also state in the cover letter(s)
   whether you believe AKC has met the obligations of the subpoena by searching carefully and
   thoroughly for everything called for by the subpoena, and sending it all to us.

          A copy of the subpoena should be included with the documents that are produced.
   Correspondence should reference case number, case name and requesting SEC staff member.

           Passwords for documents, files, compressed archives, and encrypted media should be
   provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
   letter mailed separately from the data. Password correspondence should reference case number,
   case name and requesting SEC staff member.

          In addition, for any documents that qualify as records of regularly conducted activities
   under Federal Rule of Evidence 902(11), please have the appropriate representative(s) of AKC
   complete a business records certification (a sample of which is enclosed) and return it with the
   document production. Execution of this certification may allow the Commission to introduce the
   documents provided by AKC in any subsequent judicial proceeding, without requiring the
   testimony of a records custodian.

           Please note that, in any matter in which enforcement action is ultimately deemed to be
   warranted, the Division of Enforcement will not recommend any settlement to the Commission
   unless the party wishing to settle certifies, under penalty of perjury, that all documents
   responsive to Commission subpoenas and formal and informal document requests in this matter
   have been produced.

           Enclosed is a copy of the Commission's Form 1662, entitled "Supplemental Information
   for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
   Pursuant to a Commission Subpoena." This form explains how we may use the information that
   AKC provides to the Commission and has other important information.




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          This investigation is a non-public, fact-finding inquiry. We are trying to determine
   whether there have been any violations of the federal securities laws. The investigation does not
   mean that we have concluded that anyone has violated the law. Also, the investigation does not
   mean that we have a negative opinion of any person, entity, or security.

          If you have any questions or would like to discuss this matter, you may contact me at
   (305) 416-6224.

                                                        Sincerely,

                                                         SHELLY-ANN SHELLY-ANN
                                                                        Digitally signed by
                                                                                      SPRINGER-
                                                         SPRINGER-      CHARLES
                                                                        Date: 2022.04.1110:51 :47
                                                         CHARLES        -04'00'

                                                        Shelly-Ann A. Springer-Charles
                                                        Senior Counsel
                                                        Division of Enforcement
                                                        (305) 416-6224
                                                        springers@sec.gov


    Enclosures:       Subpoena and Attachment
                      SEC Data Delivery Standards
                      SEC Form 1662
                      Business Records Certification




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                                                                 SUBPOENA
                            UNITED STATES OF AMERICA
                         SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter ofEmpirex Capital LLC, FL-04274

To:    AKC Management LLC
       c/o Paola Vargas, MGR, Registered Agent
       221 SW 12th Street
       #PH4
       Miami, FL 33130


IZI    YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
       Chantilly, VA 20151-1750, no later than April 25, 2022 at 5:00 p.m.


D      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:


                  FEDERAL LAW REQUIRES YOU TO COMPLY WITH TIDS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.
                SHELLY-ANN             Digitally signed by SHELLY-ANN
                                       SPRINGER-CHARLES
                SPRINGER-CHARLES       Date: 2022.04.11 1o:s3:37 -04•00·
       By:                                                                      Date:     April 11 , 2022
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S . Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                SUBPOENA ATTACHMENT FOR AKC MANAGEMENT LLC
                      In the Matter ofEmpirex Capital LLC, FL-04274

                                             April 11, 2022

                                              Definitions

   As used in this subpoena, the words and phrases listed below shall have the following meanings:

   1.     "AKC Management LLC" means the entity doing business under the name "AKC
          Management LLC" ("AKC"), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   2.     "Empirex Capital LLC" means the entity doing business under the name "Empirex
          Capital LLC" ("Empirex"), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   3.     "Person" means a natural person, firm, association, organization, partnership, business,
          trust, corporation, bank or any other private or public entity.

   4.     A "Representative" of a Person means any present or former family members, officers,
          executives, partners, joint-venturers, directors, trustees, employees, consultants,
          accountants, attorneys, agents, or any other representative acting or purporting to act on
          behalf of the Person.

   5.     "Acero" means (i) Roman David Acero Quintero and/or (ii) any present or former
          representative of Acero.

   6.     "Gonzalez" means (i) Martha Gonzalez and/or (ii) any present or former representative of
          Gonzalez.

   7.     "P. Vargas" means (i) Paola Andrea Vargas Gonzalez, and/or (ii) any present or former
          representative of P. Vargas.

   8.     "R. Vargas" means (i) Rafael Alberto Vargas Gonzalez, and/or (ii) any present or former
          representative of R. Vargas.

   9.     "Rojas" means (i) Catherine Rojas and/or (ii) any present or former representative of
          Rojas.

   10.    "Document" shall include, but is not limited to, any written, printed, or typed matter
          including, but not limited to all drafts and copies bearing notations or marks not found in



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         the original, letters and correspondence, interoffice communications, slips, tickets,
         records, worksheets, financial records, accounting documents, bookkeeping documents,
         memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
         telephone messages, text messages, voice mails, tape recordings, notices, instructions,
         minutes, summaries, notes of meetings, file folder markings, and any other organizational
         indicia, purchase orders, information recorded by photographic process, including
         microfilm and microfiche, computer printouts, spreadsheets, and other electronically
         stored information, including but not limited to writings, drawings, graphs, charts,
         photographs, sound recordings, images, and other data or data compilations that are
         stored in any medium from which information can be retrieved, obtained, manipulated, or
         translated.

   11.   "Communication" means any correspondence, contact, discussion, e-mail, instant
         message, or any other kind of oral or written exchange or transmission of information (in
         the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
         more Persons or entities, including, without limitation, all telephone conversations, face-
         to-face meetings or conversations, internal or external discussions, or exchanges of a
         Document or Documents.

   12.   "Concerning" means directly or indirectly, in whole or in part, describing, constituting,
         evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
         connection with, commenting on, relating to, regarding, discussing, showing, describing,
         analyzing or reflecting.

   13.   An "Agreement" means any actual or contemplated (i) written or oral Agreement; (ii)
         term or provision of such Agreement; or (iii) amendment of any nature or termination of
         such Agreement. A request for any Agreement among or between specified parties
         includes a request for all Documents Concerning (i) any actual or contemplated
         Agreement among or between such parties, whether or not such Agreement included any
         other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
         contemplated demand, request or application for any such Agreement, and any response
         thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
         Agreement, and any response thereto.

   14.   The term "Reviewed" means examined, assessed, considered, analyzed or evaluated.

   15.   The term "you" and "your" means the Person to whom or entity to which this subpoena
         was issued.

   16.   To the extent necessary to bring within the scope of this this subpoena any information or
         Documents that might otherwise be construed to be outside its scope:
         a.     the word "or" means "and/or";
         b.     the word "and" means "and/or";
         c.     the functional words "each," "every" "any" and "all" shall each be deemed to
                include each of the other functional words;




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         d.     the masculine gender includes the female gender and the female gender includes
                the masculine gender; and
         e.     the singular includes the plural and the plural includes the singular.

   17.   "Relevant Period" means the time period beginning January 1, 2018, or the earliest time
         for which records exist, whichever is earlier, and continuing to the present, unless
         otherwise specified.

   18.   "Relevant Entities and Individuals" means each of the following: Empirex, Acero,
         Gonzalez, P. Vargas, R. Vargas, Rojas, and any entity or individual Concerning the
         recruiting of Empirex investors or the sale of an Empirex investment to investors.

                                            Instructions

   1.    Unless otherwise specified, this subpoena calls for production of the original Documents
         and all copies and drafts of same. Documents responsive to this subpoena may be in
         electronic or paper form. Electronic Documents such as email should be produced in
         accordance with the attached Document entitled SEC Data Delivery Standards. All
         responsive electronic Documents, including all metadata, should also be produced in their
         native software format.

   2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
         send copies of the originals. The Commission cannot reimburse you for the copying
         costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
         hard copy Documents and produce them in an electronic format consistent with the SEC
         Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
         in paper format. If you choose to send copies, you must secure and retain the originals
         and store them in a safe place. The staff may later request or require that you produce the
         originals.

   3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
         including even faint marks or print. Also, please note that if copies of a Document differ
         in any way, they are considered separate Documents and you must send each one. For
         example, if you have two copies of the same letter, but only one of them has handwritten
         notes on it, you must send both the clean copy and the one with notes.

   4.    In producing a photocopy of an original Document that contains post-it(s), notation
         flag(s), or other removable markings or attachments which may conceal all or a portion
         of the markings contained in the original Document, photocopies of the original
         Document both with and without the relevant post-it(s), notation flag(s), or removable
         markings or attachments should be produced.

   5.    Documents should be produced as they are kept in the ordinary course of business or be
         organized and labeled to correspond with the categories in this request. In that regard,
         Documents should be produced in a unitized manner, i.e., delineated with staples or paper
         clips to identify the Document boundaries.



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   6.    Documents should be labeled with sequential numbering (bates-stamped).

   7.    You must produce all Documents created during, or Concerning, the period from January
         1, 2018, or the earliest time for which records exist, whichever is earlier, to the date of
         this subpoena, unless otherwise specified.

   8.    The scope of any given request should not be limited or narrowed based on the fact that it
         calls for Documents that are responsive to another request.

   9.    You are not required to produce exact duplicates of any Documents that have been
         previously produced to the Securities and Exchange Commission staff in connection with
         this matter. If you are not producing Documents based upon a prior production, please
         identify the responsive Documents that were previously produced.

   10.   For any Documents that qualify as records of regularly conducted activities under Federal
         Rule of Evidence 902(11), please complete a business records certification (a sample of
         which is enclosed) and return it with the Document production.

   11.   This subpoena covers all Documents in or subject to your possession, custody or control,
         including all Documents that are not in your immediate possession but that you have the
         effective ability to obtain, that are responsive, in whole or in part, to any of the individual
         requests set forth below. If, for any reason - including a claim of attorney-client privilege
         - you do not produce something called for by the request, you should submit a list of
         what you are not producing. The list should describe each item separately, noting:

         a.      its author(s);
         b.      its date;
         c.      its subject matter;
         d.      the name of the Person who has the item now, or the last Person known to have it;
         e.      the names of everyone who ever had the item or a copy of it, and the names of
                 everyone who was told the item's contents;
         f.      the basis upon which you are not producing the responsive Document;
         g.      the specific request in the subpoena to which the Document relates;
         h.      the attorney(s) and the client(s) involved; and
         1.      in the case of the work product doctrine, the litigation for which the Document
                 was prepared in anticipation.

   12.   If Documents responsive to this subpoena no longer exist because they have been lost,
         discarded, or otherwise destroyed, you should identify such Documents and give the date
         on which they were lost, discarded or destroyed.




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                                   Documents to be Produced

   1.   Documents sufficient to disclose the corporate structure of AKC, including, but not
        limited to, the date and place of establishment, organization, and, if applicable,
        incorporation;

   2.   Documents sufficient to identify all officers, directors, principals, owners, shareholders,
        employees, and all others acting on behalf of AKC, and Documents sufficient to disclose,
        for each individual identified in response to this Item:
        a. title;
        b. dates of affiliation with AKC;
        c. current or last known home address and telephone number;
        d. current or last known employment address and telephone number; and,
        e. salary or other compensation for each year from January 1, 2018 to the present;

   3.   Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
        financial accounts held by or on behalf of AKC from January 1, 2018 to the present, and
        Documents sufficient to disclose, for each account identified in response to this Item:
        a. the name, address, and telephone number of the financial institution where the
            account is held, maintained, directed or controlled;
        b. the account number;
        c. the name, address, and telephone number of the branch office, if any, where the
            account is held, maintained, or directed;
        d. the account name; and,
        e. the date the account was opened;

   4.   Documents sufficient to disclose all other assets held by or on behalf of AKC;

   5.   All draft and final financial reports Concerning AKC including, but not limited to,
        audited and unaudited financial statements, including balance sheets and statements of
        income and retained earnings and cash flows, as well as all ledgers, journals, and
        workpapers used to prepare and support AK.C's financial statements, balance sheets,
        copies of filed federal and state corporate income tax returns and 1099/1098/1096 tax
        returns, w-2s and payroll tax returns, trial balances, cash receipt journals, bank
        statements, copies of canceled checks, deposit records with copies of deposit items, cash
        disbursement journals, balance sheets, statements of income and retained earnings, and
        any other report of receipts, disbursements, net profits and losses, and cash flow;

   6.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
        between AKC and any of the Relevant Entities and Individuals;

   7.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
        among or between the Relevant Entities and Individuals Concerning Empirex;

   8.   All Documents or Communications Concerning Empirex;


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   9.    Documents sufficient to identify all AKC investors, Concerning or referred by any of the
         Relevant Entities and Individuals, and all Empirex investors by name, address, and
         telephone number;

   10.   For each investor identified in response to Item 9 above, Documents sufficient to
         disclose:
         a. the amount invested;
         b. the date(s) of investments; and,
         c. whether, when, and how much of each investors' principal has been returned to them;

   11.   For each investor identified in response to Item 9 above, all Documents Concerning
         agreements or contracts between AKC or Empirex and the investor and all Documents
         Concerning terms of investments;

   12.   For each investor identified in response to Item 9 above, all periodic or other account
         statements;

   13.   For each investor identified in response to Item 9 above, all Documents Concerning the
         investment of (or other use of) their funds by AKC or Empirex and the current location of
         investor funds;

   14.   All Documents and Communications Concerning all investment, promotional, sales,
         marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
         disseminated, directly or indirectly, by AKC or Empirex or any of the Relevant Entities
         and Individuals to AKC investors, Concerning or referred by any of the Relevant Entities
         and Individuals, or Empirex investors, including, but not limited to, offering memoranda
         and attachments, business and projection plans, subscription agreements, and operating
         agreements;

   15.   Documents sufficient to identify all individuals or entities who any of the Relevant
         Entities and Individuals solicited as potential investors but did not ultimately invest in
         AKC or Empirex;

   16.   All Documents Concerning the payment of fees to any individual or entity in connection
         with the recruiting of AKC investors by any of the Relevant Entities and Individuals or
         Empirex investors or the sale of an AKC investment by any of the Relevant Entities and
         Individuals to investors or the sale of an Empirex investment to investors;

   17.   All Documents Concerning Communications between AKC or any of the Relevant
         Entities and Individuals and investors or potential investors in AKC, Concerning or
         referred by any of the Relevant Entities and Individuals, or investors in Empirex;

   18.   All Documents and Communications Concerning all Empirex investors;




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   19.   All Documents and Communications Concerning funds received by AKC from the
         Relevant Entities and Individuals, including, but not limited to, front and back of all
         canceled checks, check stubs, wire transfer instructions, invoices, receipts, statements,
         ledgers, tax forms, and any other documents or records reflection such receipts;

   20.   All Documents and Communications Concerning funds disbursed by AKC to the
         Relevant Entities and Individuals, including, but not limited to, front and back of all
         canceled checks, check stubs, wire transfer instructions, invoices, receipts, statements,
         ledgers, tax forms, and any other documents or records reflection such disbursements;

   21.   All Documents Concerning all Communications between AKC and the Relevant
         Entities and Individuals during the Relevant Period Concerning:
         a. AKC;
         b. Empirex;
         C. Acero;
         d. Gonzalez;
         e. Rojas;
         f. P. Vargas;
         g. R. Vargas;
         h. all funds received by the Relevant Entities and Individuals directly or indirectly from
             AKC;
         1.  all funds disbursed by the Relevant Entities and Individuals directly or indirectly to
             AKC;
         j. all funds received or disbursed by AKC; and,
         k. all Agreements, contracts, loans, notes, or understandings between AKC and the
             Relevant Entities and Individuals; and,

   22.   To the extent not provided in response to other Requests, all Documents Concerning the
         following:
         a. All AKC accounts held at Bank of America, N.A., JPMorgan Chase Bank, N.A., and
             Wells Fargo Bank, N.A. from January 1, 2018 through the present, including, but not
             limited to, account opening Documents and periodic or other statements;
         b. All other AKC accounts held at all other domestic or foreign banks, brokerages, or
             other financial institutions from January 1, 2018 through the present, including, but
             not limited to, account opening Documents and periodic or other statements;
         c. The Relevant Entities and Individuals;
         d. All AKC investors, Concerning or referred by any of the Relevant Entities and
             Individuals;
         e. All Empirex Investors; and,
         f. All funds or assets, including, but not limited to, the purpose of the funds or assets,
             deposited into any AKC bank, brokerage, or cryptocurrency account by any
             individual or entity.



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                 DECLARATION OF [Insert Name] CERTIFYING RECORDS
                  OF REGULARLY CONDUCTED BUSINESS ACTIVITY

         I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

      1. I am employed by AKC Management LLC as [insert position] and by reason ofmy
         position am authorized and qualified to make this declaration. [ifpossible supply
         additional information as to how person is qualified to make declaration, e.g., I am
         custodian ofrecords, I am familiar with the company's recordkeeping practices or
         systems, etc.]

      2. I further certify that the documents [attached hereto or submitted herewith] and stamped
         [insert bates range] are true copies of records that were:

                 (a) made at or near the time of the occurrence of the matters set forth therein, by,
                 or from information transmitted by, a person with knowledge of those matters;

                 (b) kept in the course of regularly conducted business activity; and

                 (c) made by the regularly conducted business activity as a regular practice.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on
         [date].




                                                [Name]
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                                                                       U.S. Securities and Exchange Commission

                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC).       **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division o(Enforcement
prior to submission.**

General Instructions ................ .................. .................. ................... ................. ................... .................. ................... ................. .................. 1
Delivery Formats ............................................................................................................................................................ 2
     I. hnaged Productions............................................................................................................................................................................................................................. .3
             1. Images ............... .................. .................. .................. ................... .................. .................. .................. ................... .................. ...... 3
             2. Image Cross-Reference File ....................................................................................................................................................... 3
             3. DataFile ...................................................................................................................................................................... 3
             4. Text ..................................................................................................................................................................................... 3
             5. Linked Native Files .................................................................................................................................................................... 3
     II. Native File Productions without Load Files ... ...................................................................... .................................................... 4

     III. Adobe PDF File Productions .......................................................................... .... ................................. .... .... ........................... 4
     IV. Audio Files .............................................................................. ..................... .................... ................................. ...................... 4
     V.       Video Files ...................................................................................................................................................................... 4
     VI. Electronic Trade and Bank Records ......................................................................................................................................... 4
     VII. Electronic Phone Records ....................................................................................................................................................... 4
     VIII. Audit W orkpapers ................................................... .. .... .. .................. ..................... .. ...... ........................... ... ............ ............. 5

     IX. Mobile Device Data ................................................................................................................................................................ 5



General Instructions

Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
ENF-CPU (U.S. Securities & Exchange Commission), 14420 Albemarle Point Place, Suite 102, Chantilly, VA 20151-1750

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet
(Note: An Adobe PDFfile is aJlJ. considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

 The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.    The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
         Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
         information, please reach out to the requesting SEC staff member.
  13 .   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
         Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
         member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
         for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
         be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
         using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
         marked as BSA or SAR material, or should be produced separately from other case related material.
  15.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  16.    All electronic productions should be produced free of computer viruses.
  17.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  18.    Before producing unique data sets (large sets ofrelational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.    Additional technical descriptions can be found in the addendum to this document.

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                                                                                                   Rev 8/2021
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       *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
       result electronic productions may be damaged.*

Delivery Formats

I.    Imaged Productions
      The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
      standard load files, Bates numbered image files, native files and searchable document-level text files .

      1.   Images
           a. Black and white images must be 300 DPI Group IV single-page TIFF files
           b. Color images must be produced in JPEG format
           c. File names cannot contain embedded spaces or special characters (including the comma)
           d. Folder names cannot contain embedded spaces or special characters (including the comma)
           e. All image files must have a unique file name, i.e. Bates number
           f. Images must be endorsed with sequential Bates numbers in the lower right comer of each image
           g. The number of image files per folder should not exceed 2,000 files
           h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
           1. AUTOCAD/photograph files should be produced as a single page JPEG file

      2.    Image Cross-Reference File
            The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
            file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
            following format:
                   Image/D, VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,P ageCount

      3. Data File
         The data file (.DAT) contains all of the fielded information that will be loaded into the database.

           a. The first line of the .DAT file must be a header row identifying the field names
           b. The .DAT file must use the following Concordance® default delimiters:
                  Comma 11 ASCII character (020)
                  Quote ~ ASCII character (254)
           c. If the .DAT file is produced in Unicode format it must contain the byte order marker
           d. Date fields should be provided in the format: mm/dd/yyyy

           f.      The time zone must be included in all time fields
           g.      If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                   parent/child relationship between an email and its attachments
           h.      An OCRPA TH field must be included to provide the file path and name of the extracted text file on the produced
                   storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file .
           i.      For productions with native files, a LINK field must be included to provide the file path and name of the native file
                   on the produced storage media. The native file must be named after the FIRSTBATES.
           j.      BEGATTACH and ENDATTACH fields must be two separate fields
           k.      A complete list ofmetadata fields is available in Addendum A to this document

      4. Text
         Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
         per the FIRSTBATES/lmage Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
         may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
         that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
         characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
         should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
         the redacted version.

      5.        Linked Native Files
                Copies of original email and native file documents/attachments must be included for all electronic productions.

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     a.   Native file documents must be named per the FIRSTBATES number
     b.   The full path of the native file must be provided in the .DAT file for the LINK field
     c.   The number of native files per folder should not exceed 2,000 files




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II.    Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders . When approved, native email files (.PST or
       .MBOX) may be produced. A separate folder should be provided for each custodian.

m.     Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
               characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

IV.     Audio Files
        Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
        Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
        metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file .
        The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller's name or account/identification number
             2)   Originating Number:   Caller's phone number
             3)   Called Party Name:    Called party's name
             4)   Terminating Number:   Called party's phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

V.       Video Files
         Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

VI.      Electronic Trade and Bank Records
         When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats :

         1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
            separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
            separate document must be provided that includes such details.

         2. Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar "I". If
            any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
            field structure do not fit in the header, a separate document must be provided that includes such details.

 VII. Electronic Phone Records
      When producing electronic phone records, provide the files in the following format:

         1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
            separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
            separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
            dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                      loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                      not combined into a single column containing both pieces of information. Any fields of data that are provided
                      in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                    ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field defmition and
formatting described below:


         Field Name           Sample Data                     Description
         FIRSTBATES           EDC000000l                      First Bates number of native file document/email
         LASTBATES            EDC000000l                      Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE          EDC000000 1 - EDC00000 15       Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment "child" document
         BEGATTACH            EDC000000l                      First Bates number of attachment range
         ENDATTACH            EDC0000015                      Last Bates number of attachment range
         PARENT- BATES        EDC000000l                      First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment "child"
                                                                 document
         CHILD- BATES         EDC0000002; EDC0000014          First Bates number of "child" attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a "parent" document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department frorr
                                                              whose files the document originated
         FROM                 John Smith                      Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                 entries
         TO                   Coffman, Janice; LeeW           Recipient( s)
                              [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
         cc                   Frank Thompson [mailto:         Carbon copy recipient(s)
                              frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
         BCC                  John Cain                       Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                 entries
         SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, includin~
                                                              extension
         DATE SENT             10/ 12/2010                    Email: Date the email was sent
                                                              Native: (emoty)
         TIME SENT/TIME 07:05PMGMT                            Email: Time the email was sent/ Time zone in whicl
          ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                 combined with the DATE SENT field




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    TIME- ZONE       GMT                         The time zone in which the emails were standardizec
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
    LINK             D:\001 \ EDC000000 l .msg   Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
    MIME TYPE        application/ms word         The content type of an email or native file document
                                                 as identified/extracted from the header
    FILE EXTEN       MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
    AUTHOR           John Smith                  Email: (empty)
                                                 Native: Author of the document
    LAST AUTHOR      Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
    DATE- CREATED    10/ 10/2010                 Email: (empty)
                                                 Native: Date the document was created
    TIME_CREATED/1 10:25AMGMT                    Email: (empty)
    IME ZONE                                     Native: Time the document was created including timt
                                                 zone
                                                 **This data must be a separate field and cannot be
    DATE MOD         10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
    TIME_MOD/TIME_ 07:00PMGMT                    Email: (empty)
    ZONE                                         Native: Time the document was last modified includin~
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    DATE- ACCESSD    10/ 12/2010                 Email: (empty)
                                                 Native: Date the document was last accessed
    TIME ACCESSD/T 07:00PMGMT                    Email: (empty)
    IME ZONE                                     Native: Time the document was last accessed includin~
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    PRINTED- DATE    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
    FILE SIZE        5,952                       Size of native file document/email in KB
    PGCOUNT          1                           Number of pages in native file document/email
    PATH             J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
    INTFILEP ATH     Personal Folders\Deleted    Email: original location of email including origina
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
    INTMSGID         <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306dl(mMSN>                Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc .edu>           Native: (empty)
                              X-SpamCatcher-Score: 1[X]
                              Received:from[136.167.40 .119
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGati
                              Pro SMTP4. l.8)
                              with ESMTP-TLS id 612587IC
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11 :40: 10
                              0400
                              Message-ID:
                              <4 l29F3CA.2020509@dc.edu)
                              Date: Mon, 23 Aug 200'
                              11 :40:36 -400
                              From:        Taylor        Evan•
                              <example_from@dc .edu>
                              User-Agent:Mozilla/5 .0
                              (Windows;U; Windows NT 5.1
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7 .0
                              X-Accept-Language:en-us,en
                              MIME-Version: 1.0
                              To:           Jon          Smitl
                              <example_to@mail.dc.edu>
                              Subject:Business Developmen
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bi
         MD5HASH              dl3ldd02c5e6eec4693d9a069       MD5 Hash value ofthe document.
                              8afl95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC000000l.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG000000l,,E:\001 \IMG000000l.TIF, Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003 .TIF,,,,
           IMG0000004,, E:\001\IMG0000004.TIF,Y,,,
           IMG000000S,,E :\001\IMGO00O0OS .TIF,Y,,,
           IMG0000006,, E:\001\IMG0000006.TIF,,,,




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                                                       ADDENDUMB

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date - Date the call was received or made
    3) Connection Time - Time call was received or made
    4) Seizure Time -Time it took for the call to be placed in seconds
    5) Originating Number - Phone that placed the call
    6) Terminating Number - Phone that received the call
    7) Elapsed Time - The length of time the call lasted, preferably in seconds
    8) End Time - The time the call ended
    9) Number Dialed - Actual number dialed
    10) IMEi Originating - Unique id to phone used to make call
    11) IMEi Terminating- Unique id to phone used to receive call
    12) IMSI Originating - Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes - Identify call direction or other routing information
    15) Time Zone - Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date - Date the text was received or made
    3) Connection Time - Time text was received or made
    4) Originating Number - Who placed the text
    5) Terminating Number - Who received the text
    6) IMEi Originating - Unique id to phone used to make text
    7) IMEi Terminating- Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code - Identify text direction, or other text routing information
    11) Text Type Code - Type of text message (sent SMS, MMS, or other)
    12) Time Zone - Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date - Date the data was received or made
    3) Connection Time - Time data was received or made
    4) Originating number - Number that used data
    5) IMEi Originating - Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes - Identify data direction, or other data routing information
    8) Time Zone - Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                                 Washington, D.C. 20549

                          Supplemental Information for Persons Requested to Supply
                          Information Voluntarily or Directed to Supply Information
                                    Pursuant to a Commission Subpoena
   A. False Statements and Documents
   Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
            Government of the United States, knowingly and willfully--
                (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                (3) makes or uses any false writing or document knowing the same to contain any materially false,
                fictitious, or fraudulent statement or entry.

   Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
            record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
            proper administration of any matter within the jurisdiction of any department or agency of the United States
            ... , or in relation to or contemplation of any such matter.
   B. Testimony
   If your testimony is taken, you should be aware of the following:
   1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
        the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
        will not go off the record at your, or your counsel's, direction.
   2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
        counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
        testimony to clarify any of the answers you give during testimony; and make summary notes during your
        testimony solely for your use. If you are accompanied by counsel, you may consult privately.
   If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
   testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
   once to afford you the opportunity to arrange to be so accompanied, represented or advised.
   You may be represented by counsel who also represents other persons involved in the Commission's investigation.
   This multiple representation, however, presents a potential conflict of interest if one client's interests are or may be
   adverse to another's. If you are represented by counsel who also represents other persons involved in the
   investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
   possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
   3.   Transcript Availability. Rule 6 of the Commission's Rules Relating to Investigations, 17 CFR 203.6, states:
        A person who has submitted documentary evidence or testimony in a formal investigative proceeding
        shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
        his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
        investigative proceeding the Commission may for good cause deny such request. In any event, any
        witness, upon proper identification, shall have the right to inspect the official transcript of the witness'
        own testimony.
   If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
   appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
   4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
   be imposed upon:
            Whoever--
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                (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                be true; or
                (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                does not believe to be true.
   5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
   local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
   You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
   United States, to give any information that may tend to incriminate you.
   If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
   question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
   6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
   during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
   C. Submissions and Settlements
   Rule 5(c) of the Commission's Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
            Persons who become involved in ... investigations may, on their own initiative, submit a written
            statement to the Commission setting forth their interests and position in regard to the subject matter
            of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
            general nature of the investigation, including the indicated violations as they pertain to them, and
            the amount of time that may be available for preparing and submitting a statement prior to the
            presentation of a staff recommendation to the Commission for the commencement of an
            administrative or injunction proceeding. Submissions by interested persons should be forwarded to
            the appropriate Division Director or Regional Director with a copy to the staff members conducting
            the investigation and should be clearly referenced to the specific investigation to which they relate.
            In the event a recommendation for the commencement of an enforcement proceeding is presented
            by the staff, any submissions by interested persons will be forwarded to the Commission in
            conjunction with the staff memorandum.
   The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
   Commission enforcement proceedings, when the staff deems appropriate.
   Rule 5(f) of the Commission's Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
            In the course of the Commission's investigations, civil lawsuits, and administrative proceedings, the
            staff, with appropriate authorization, may discuss with persons involved the disposition of such
            matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
            however, that the disposition of any such matter may not, expressly or impliedly, extend to any
            criminal charges that have been, or may be, brought against any such person or any
            recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
            before the Commission who consents, or agrees to consent, to any judgment or order does so
            solely for the purpose of resolving the claims against him in that investigative, civil, or
            administrative matter and not for the purpose of resolving any criminal charges that have been, or
            might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
            has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
            criminal proceedings. That authority and responsibility are vested in the Attorney General and
            representatives of the Department of Justice.
   D. Freedom of Information Act
   The Freedom of Information Act, 5 U.S.C. 552 (the "FOIA"), generally provides for disclosure of information to the
   public. Rule 83 of the Commission's Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
   which a person can make a written request that information submitted to the Commission not be disclosed under the
   FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
   disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
   be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
   you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
   please provide a duplicate request, together with a stamped, self-addressed envelope.
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   E. Authority for Solicitation of Information
   Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
   set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
   of any legal right or privilege you might have.
   Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
   Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
   the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
   Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
   requested information to the Commission is voluntary on your part.
   F. Effect of Not Supplying Information
   Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
   Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
   supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
   21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
   209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
   any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
   produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
   Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
   failing to provide all or any part of the requested information.
   G. Principal Uses of Information
   The Commission's principal purpose in soliciting the information is to gather facts in order to determine whether any
   person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
   the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
   Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
   provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
   explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
   accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
   other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission's receipt, use,
   disposition, transfer, or retention, in accordance with applicable law, of information provided.
   H. Routine Uses of Information
   The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
   and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
   where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
   general, a confidential matter between the Commission and such other governmental agencies.
   Set forth below is a list of the routine uses which may be made of the information furnished.
   1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
   breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
   there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
   Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
   reasonably necessary to assist in connection with the SEC's efforts to respond to the suspected or confirmed breach
   or to prevent, minimize, or remedy such harm.
   2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
   foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
   3. To national securities exchanges and national securities associations that are registered with the SEC, the
   Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
   Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
   the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
   securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
   their regulatory or enforcement responsibilities.
   4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
   the Federal securities laws.
   5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
   members of its staff, is a party or otherwise involved in an official capacity.
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   6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
   201.102(e).
   7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
   authority; or professional association or self-regulatory authority to the extent that it performs similar functions
   (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
   8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
   SEC's decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
   a contract; or the issuance of a license, grant, or other benefit.
   9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
   concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
   investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
   requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
   the matter.
   10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
   in support of the function for which the records are collected and maintained or for related personnel management
   functions or manpower studies; may also be used to respond to general requests for statistical information (without
   personal identification of individuals) under the Freedom of Information Act.
   11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
   competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
   administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
   3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission's Rules of
   Practice, 17 CFR 201.100 through 900 or the Commission's Rules of Fair Fund and Disgorgement Plans, 17 CFR
   201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
   entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
   proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
   laws or the Commission's Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
   12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC's staff, or in
   connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
   have further information about the matters related therein, and those matters appeared to be relevant at the time to
   the subject matter of the inquiry.
   13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
   performance of a service related to this system of records and who need access to the records for the purpose of
   assisting the Commission in the efficient administration of its programs, including by performing clerical,
   stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
   these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
   552a.
   14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
   is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
   include, but not be limited to, section 21 (a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
   15. To members of advisory committees that are created by the Commission or by Congress to render advice and
   recommendations to the Commission or to Congress, to be used solely in connection with their official designated
   functions.
   16. To any person who is or has agreed to be subject to the Commission's Rules of Conduct, 17 CFR 200. 735-1
   through 200. 735-18, and who assists in the investigation by the Commission of possible violations of the Federal
   securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
   78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
   otherwise in connection with the Commission's enforcement or regulatory functions under the Federal securities laws.
   17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
   made at the request of that individual.
   18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
   their activities, and other matters under the Commission's jurisdiction.
   19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
   78c(a)(47)), as amended.
   20. To respond to subpoenas in any litigation or other proceeding.
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   21. To a trustee in bankruptcy.
   22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
   commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
   including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
   garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
   23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
   records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
   breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
   (including its information systems, programs, and operations), the Federal Government, or national security, resulting
   from a suspected or confirmed breach.

                                                        *****
   Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
   would like more information, or have questions or comments about federal securities regulations as they affect small
   businesses, please contact the Office of Small Business Policy, in the SEC's Division of Corporation Finance, at 202-
   551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
   Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
   Ombudsman's office receives comments from small businesses and annually evaluates federal agency enforcement
   activities for their responsiveness to the special needs of small business.
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        ATTACHMENT L
                                                                                    From:            Paula Mejia
                                                                                    To:              Springer, Shelly-Ann
                                                                                    Cc:              "David Joffe, Esq."
                                                                                    Subject:         United States and Exchange Commission Investigation in the matter of Empirex Capital LLC, FL-04274 - Legal
                                                                                                     Representation of AKC Management LLC and Paola Vargas, MNG, Registered Agent
                                                                                    Date:            Tuesday, April 26, 2022 3:44:58 PM
                                                                                    Attachments:     image001.png
                                                                                                     Representation Letter.pdf
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                                                                                    CAUTION: This email originated from outside of the organization. Do not click links or open
                                                                                    attachments unless you recognize the sender and know the content is safe.
                                                                                    Good Afternoon,
                                                                                    My name is Paula and I am David J. Joffe, Esquire paralegal.
                                                                                    Please be advised that this office represents AKC Management LLC and Paola Vargas, MGR,
                                                                                    Registered Agent in the referenced matter.
                                                                                    Attached please find the Notice of Legal Representation.
                                                                                    Thank you.
                                                                                    Respectfully,
                                                                                    Paula M.
                                                                                    Paralegal
                                                                                    Joffe Law, P.A.
                                                                                    The 110 Tower
                                     287




                                                                                    110 SE 6th Street , Suite 1700
                                                                                    Fort Lauderdale, FL 33301
                                                                                    T: 954-723-0007
                                                                                    F: 954-723-0033
                                                                                               Iii




                                                                                    https://www.joffefederaldefense.com/
                                                                                    Confidentiality Notice: This e-mail and/or any attachment to it contains, or may contain, privileged
                                                                                    and confidential information intended only for the use of the individual(s) named in the e-mail. If
                                                                                    you are not the intended recipient, or the person responsible for delivering it to the intended
                                                                                    recipient, please permanently delete it from your computer system and promptly notify me.
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                                       Joffe Law, P.A.
                                       David J. Joffe, Esq.
      The 110 Tower
      110 SE 6th Street                                       Tel: (954) 723-0007
      Suite 1700                                              Fax: (954) 723-0033
      Fort Lauderdale, Florida 33301                          e-mail: davidjjoffe@aol.com


                                           April 26, 2022

      VIA EMAIL
      springers@sec.gov


      SHELLY-ANN A. SPRINGER-CHARLES
      Senior Counsel
      U.S. Securities and Exchange Commission
      Miami Regional Office
      801 Brickell Avenue, Suite 1950
      Miami, Florida 33131

             Re:    Notice of Legal Representation
                    AKC Management LLC and Paola Vargas, MGR, Registered Agent


      Dear Ms. Springer-Charles:

             Please be advised that this office represents AKC Management LLC and Paola
      Vargas, MGR, Registered Agent in the Matter of Empirex Capital LLC, FL-04274.
      Please direct any further communications regarding this matter to our office.

                                                              Very truly yours,



                                                              DAVID J. JOFFE, ESQ.
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       ATTACHMENT M
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 205 of
                                     287

    From:            Springer, Shelly-Ann
    To:              "Davidjjoffe@aol.com"
    Bcc:             Perez, Carmen
    Subject:         smail Empirex Capital LLC (FL-04274)-AKC Management LLC and Paola Vargas
    Date:            Wednesday, April 27, 2022 9:08:00 AM


    Mr. Joffe,

    Thank you for providing confirmation of your firm’s representation of AKC Management LLC (“AKC”)
    and Paola Vargas in connection with the subject matter.

    Pursuant to our discussion, below, in italics, is a sample of the representations that must be included
    in a request for a copy of a Formal Order of Investigation. The request must be made by a person or
    counsel for a person who has been asked to furnish documents or testimony in the formal
    investigation for which the person is requesting a copy of the formal order. The request should be
    made in writing and directed to a Division of Enforcement official at the Assistant Director level or
    higher who in this matter is, Eric Busto, Assistant Regional Director. Eric and I share the same
    address below. Feel free to mail the request letter directly to Eric, or PDF and email a copy of the
    signed request to me and I will forward it on to Eric. The relevant matter in this case is Empirex
    Capital LLC (FL-04274).

    The undersigned represents [client’s name] in the above captioned matter. Pursuant to 17 C.F.R.
    §203.7 [I/we] hereby request on behalf of [my/our] client[s] to be furnished with a copy of the
    Commission’s Formal Order of Investigation in the above matter. [I/We] warrant that the Formal
    Order and information contained therein will remain confidential and will not be disseminated to any
    person or party except [my/our] client[s] for use in connection with [my/our] representation of
    [him/her/it/them] in this matter.

    As you know, AKC’s response to the Commission’s subpoena dated April 11, 2022 to AKC was due on
    April 25, 2022. In connection with your request for an extension of time for AKC to provide
    responsive documents, we can agree to an extension of time through May 11, 2022 for AKC to
    produce all documents responsive to the subpoena with the additional agreement that AKC will
    being a rolling production of responsive documents prior to this date. Please do not hesitate to
    contact me if you would like to discuss this matter further.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
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       ATTACHMENT N
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 207 of
                                     287

    From:            Springer, Shelly-Ann
    To:              "Davidjjoffe@aol.com"
    Bcc:             Perez, Carmen
    Subject:         smail FW: smail Empirex Capital LLC (FL-04274)-AKC Management LLC and Paola Vargas
    Date:            Friday, April 29, 2022 3:44:00 PM


    Mr. Joffe,

    Pursuant to our discussion, I am forwarding the email I sent you earlier this week.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami


    From: Springer, Shelly-Ann
    Sent: Wednesday, April 27, 2022 9:08 AM
    To: 'Davidjjoffe@aol.com' <Davidjjoffe@aol.com>
    Subject: smail Empirex Capital LLC (FL-04274)-AKC Management LLC and Paola Vargas

    Mr. Joffe,

    Thank you for providing confirmation of your firm’s representation of AKC Management LLC (“AKC”)
    and Paola Vargas in connection with the subject matter.

    Pursuant to our discussion, below, in italics, is a sample of the representations that must be included
    in a request for a copy of a Formal Order of Investigation. The request must be made by a person or
    counsel for a person who has been asked to furnish documents or testimony in the formal
    investigation for which the person is requesting a copy of the formal order. The request should be
    made in writing and directed to a Division of Enforcement official at the Assistant Director level or
    higher who in this matter is, Eric Busto, Assistant Regional Director. Eric and I share the same
    address below. Feel free to mail the request letter directly to Eric, or PDF and email a copy of the
    signed request to me and I will forward it on to Eric. The relevant matter in this case is Empirex
    Capital LLC (FL-04274).

    The undersigned represents [client’s name] in the above captioned matter. Pursuant to 17 C.F.R.
    §203.7 [I/we] hereby request on behalf of [my/our] client[s] to be furnished with a copy of the
    Commission’s Formal Order of Investigation in the above matter. [I/We] warrant that the Formal
    Order and information contained therein will remain confidential and will not be disseminated to any
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    person or party except [my/our] client[s] for use in connection with [my/our] representation of
    [him/her/it/them] in this matter.

    As you know, AKC’s response to the Commission’s subpoena dated April 11, 2022 to AKC was due on
    April 25, 2022. In connection with your request for an extension of time for AKC to provide
    responsive documents, we can agree to an extension of time through May 11, 2022 for AKC to
    produce all documents responsive to the subpoena with the additional agreement that AKC will
    being a rolling production of responsive documents prior to this date. Please do not hesitate to
    contact me if you would like to discuss this matter further.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
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       ATTACHMENT O
From:               Perez, Carmen
To:                 "davidjjoffe@aol.com"
Cc:                 Springer, Shelly-Ann
Subject:            SMAIL FL-04274
Date:               Tuesday, May 10, 2022 2:55:20 PM
Attachments:        image001.png
                    Paola A. Vargas 5-10-2022.pdf


Mr. Joffe,

Please see attached correspondence.

Regards,
Carmen R. Perez

___________________________________________________
                          Carmen R. Perez
                          Senior Paralegal Specialist
                          United States Securities and Exchange Commission
                          Miami Regional Office, Division of Enforcement




          Ii]
                          801 Brickell Avenue, Suite 1950
                          Miami, Florida 33131
                          P: 305.982.6350
                          F: 703.813-.9558
                             Email: perezc@sec.gov
                             Website: https://www.sec.gov/regional-office/miami
                                                                                                                                                                    287




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and Exchange Commission.
                                                                                                                               Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 210 of
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                                               UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                     801   BRICKELL A V ENUE , SUITE 1950

                                            MIAMI , FLORIDA 33131


     MIAMI

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT

      May 10, 2022

      VIA OVERNIGHT DELIVERY & EMAIL
      Paola A. Vargas
      c/o David J. Joffe, Esq.
      Joffe Law, P.A.
      The 110 Tower
      110 SE 6th Street
      Suite 1700
      Fort Lauderdale, Florida 33301
      davidjjoffe@aol.com

      Re: In the Matter of Empirex Capital LLC, FL-04274

      Dear Mr. Joffe:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission’s Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for testimony issued to your client, Paola A. Vargas, in connection with the
      above-referenced investigation.

             The subpoena requires your client, Paola A. Vargas, to appear for testimony conducted
      by audio-visual teleconference means, using the WebEx Internet platform, Wednesday, June 8,
      2022 at 10:00 a.m. EDT. I will send you and your client a WebEx invitation directed to your
      email addresses, to enable you to access the testimony session.

              A background questionnaire is also enclosed. During your client’s testimony, the staff
      intends to ask background questions concerning, among other things, your client’s residences,
      telephone numbers, education and employment. To expedite that part of the testimony, we
      request that your client complete the enclosed questionnaire on a voluntary basis and provide it
      to the staff prior to your client’s testimony.

              Enclosed is a copy of the Commission’s Form 1662, entitled “Supplemental Information
      for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
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   Pursuant to a Commission Subpoena.” This form explains how we may use the information that
   your client provides to the Commission and has other important information for your client.
   Please provide a copy of this form to your client.

          This investigation is a non-public, fact-finding inquiry. We are trying to determine
   whether there have been any violations of the federal securities laws. The investigation does not
   mean that we have concluded that anyone has violated the law. Also, the investigation does not
   mean that we have a negative opinion of any person, entity, or security.

          If you have any questions or would like to discuss this matter, you may contact me at
   (305) 416-6224.

                                                        Sincerely,




                                                        Shelly-Ann A. Springer-Charles
                                                        Senior Counsel
                                                        Division of Enforcement
                                                        (305) 416-6224
                                                        springers@sec.gov


    Enclosures:       Subpoena
                      SEC Form 1662
                      Background Questionnaire




                                                   2
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                                                          SUBPOENA
                            UNITED STATES OF AMERICA
                         SECURITIES AND EXCHANGE COMMISSION
                                    In the Matter of Empirex Capital LLC, FL-04274

To:     Paola A. Vargas
        c/o David J. Joffe, Esq.
        Joffe Law, P.A.
        The 110 Tower
        110 SE 6th Street
        Suite 1700
        Fort Lauderdale, Florida 33301
        davidjjoffe@aol.com

□       YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
        and Exchange Commission, at the place, date and time specified below:

        YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
        time specified below:
        Wednesday, June 8, 2022 at 10:00 a.m. EDT, by audio-visual teleconference means, using
        the WebEx Internet platform. You are to access the testimony session through a WebEx
        invite, which will be sent from Shelly-Ann A. Springer-Charles, Senior Counsel, to you and
        your counsel.
         FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
              If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
         Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


        By:                                                                      Date:     May 10, 2022
        Shelly-Ann A. Springer-Charles, Senior Counsel
        U.S. Securities and Exchange Commission
        Miami Regional Office
        801 Brickell Avenue, Suite 1950
        Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                                 BACKGROUND QUESTIONNAIRE

   Please respond to the following questions. Answering these questions will reduce the
   amount of time spent on background information when you testify. You may use the space
   provided, attaching additional sheets as necessary, or supply the information in a separate
   document. If you would like an electronic version of this document, please contact us and
   we will provide you with one.

   Today’s date: _________________

   1. What is your full name?

   2. Have you ever been known by any other name? Yes ____ No ____
      If yes, list each such name and the period(s) in which you were known by that name.


   3. Date and place of birth?


   4. Country of citizenship?


   5. Marital Status? Married ___     Divorced ___ Single ___




   6. List the names, ages, and occupations of your children, if any.




   7. List the names, ages and occupations of your parents and siblings.
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   Background Questionnaire
   Page 2

   8. List all residences you occupied at any time during the last three years, including vacation
      homes, beginning with your current residence. For each residence, state the address, dates of
      residence, and all telephone numbers (including facsimile numbers) listed at that address.




   9. List the names of any individuals who assisted you in completing this questionnaire.




   ELECTRONIC COMMUNICATIONS ACCOUNTS
   10. List all telephone numbers and telecommunication services that were in your name or that
       you regularly used at any time between January 1, 2018 and the present. Include all
       residential business, cellular, credit card, and VOIP numbers, and services such as Google
       Voice, Skype, and video conference services. For each telephone number, state the name of
       the corresponding carrier (e.g., AT&T, Verizon, Vonage, Skype, etc.).




   11. List the universal resource locator (URL) for all websites or blogs that you established or for
       which you had the authority to control content at any time between January 1, 2018 and the
       present. For each website, state the name(s) of the domain name registrar (e.g. GoDaddy)
       through which the URL was obtained, the name(s) of all individuals or entities who provided
       web site hosting or design services, whether the website contained primarily business or
       personal information, and the time period in which it was active.
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   Background Questionnaire
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   12. List all electronic mail addresses and social networking accounts (e.g.Facebook, LinkedIn,
       Twitter, Instagram, Flickr, Google+) that were in your name or that you regularly used at any
       time between January 1, 2018 and the present. Include all personal, business, or shared
       electronic mail addresses and social networking accounts. For each electronic mail address
       and social networking account, state the name(s) of the corresponding internet service
       provider(s) (e.g. Google, Yahoo, AOL, or your employer), whether the address was used
       primarily for business or personal correspondence, and the time period in which it was active.




   13. List all usernames for instant messaging and similar electronic communications services
       (including, but not limited to, Bloomberg, Skype, whatsapp), other than those listed in
       response to questions above, that were in your name or that you regularly used at any time
       between January 1, 2018 and the present. Include all personal, business, and shared
       addresses. For each username, state the name(s) of the communication service provider (e.g.
       Google, AOL, etc.), whether the address was used primarily for business or personal
       correspondence, the time period in which it was active, and the name of the software
       application(s) (e.g. GTalk, ICQ, MSN Messenger) you used to access it.




   14. List all internet message boards and discussion forums (including, but not limited to, Money
       Maker Group, PNQI Message Board, Investors Hub Daily) of which you were a member or
       on which you posted messages at any time between January 1, 2018 and the present. For each
       message board or discussion forum, state the service provider and your member name or
       identification information.
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   PUBLICLY-HELD COMPANIES
   15. Are you now, or have you ever been, an officer or director of any publicly-held company?
       Yes ___ No ____.




   16. Are you now, or have you ever been, a beneficial owner, directly or indirectly, of five per
       cent or more of any class of equity securities of any publicly held company? Yes ___ No
       ____.




   PRIVATELY-HELD COMPANIES
   17. Are you now, or have you ever been, a beneficial owner, directly or indirectly, of any
       privately-held company (i.e., corporation, partnership, limited liability company or other
       corporate form)?




   18. Are you now, or have you ever been, a manager or a member of any privately-held company
       (i.e., corporation, partnership, limited liability company or other corporate form)?
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   SECURITIES ACCOUNTS

   19. List all securities or brokerage accounts that you have held in your name, individually or
       jointly, at any time between January 1, 2018 and the present. Include all foreign accounts.
       For each such account, identify: (i) the brokerage firm; (ii) the location of the branch where
       your account is or was held; (iii) your broker; (iv) the type of account (i.e., cash, margin or
       IRA); (v) the account number; and (vi) whether any person has ever held discretionary
       authority or power of attorney over the account; if so, name such person(s).




   20. List all securities or brokerage accounts (including foreign accounts), other than those listed
       in your answer to the previous question, in which you had any direct or indirect beneficial
       interest at any time between January 1, 2018 and the present. For each such account, provide
       the information requested by the previous question.




   21. List all securities or brokerage accounts (including foreign accounts), other than those listed
       in your answers to the two previous questions, over which you had any control at any time
       between January 1, 2018 and the present. For each such account, provide the information
       requested by the first question in this section.
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   BANK ACCOUNTS
   22. List all accounts you have held in your name at any financial institution (i.e., bank, thrift, or
       credit union) at any time between January 1, 2018 and the present. Include all foreign
       accounts. For each such account, identify: (i) the financial institution; (ii) the address of the
       branch at which your account is or was held; (iii) the type of account (i.e., checking, savings,
       money market or IRA); (iv) the account number; and (v) whether any person has ever had
       discretionary authority or power of attorney over the account; if so, name such person(s).




   23. List all accounts at financial institutions (including foreign accounts), other than those listed
       in your answer to the previous question, in which you had any direct or indirect beneficial
       interest at any time between January 1, 2018 and the present. For each such account, provide
       the information requested by the previous question.




   24. List all accounts at financial institutions (including foreign accounts), other than those listed
       in your answers to the two previous questions, over which you had any control at any time
       between January 1, 2018 and the present. For each such account, provide the information
       requested by the first question in this section.
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   25. List any other accounts (including foreign accounts), other than those listed in your answers
       to the previous questions in this section, that were held in your name, in which you had any
       direct or indirect beneficial interest, or over which you had any control, that you have used to
       transfer funds between January 1, 2018 and the present, including, but not limited to, PayPal
       accounts. For each such account, provide the information requested by the first question in
       this section.




   PRIOR PROCEEDINGS
   26. Have you ever testified in any proceeding conducted by the staff of the Securities and
       Exchange Commission, a U.S. or foreign federal or state agency, a U.S. or foreign federal or
       state court, a stock exchange, the Financial Industry Regulatory Authority (“FINRA”) or any
       other self-regulatory organization (“SRO”), or in any arbitration proceeding related to
       securities transactions?




   27. Have you ever been deposed in connection with any court proceeding? Yes ___ No ____.




   28. Have you ever been named as a defendant or respondent in any action or proceeding brought
       by the SEC, any other U.S. or foreign federal agency, a state securities agency, FINRA, an
       SRO, or any exchange? Yes ___ No ____.
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   29. Have you ever been a defendant in any action (other than those listed in response to the
       previous question) alleging violations of the federal securities laws? Yes ___ No ____.




   30. Have you ever been a defendant in any criminal proceeding other than one involving a minor
       traffic offense? Yes ___ No ____.




    EDUCATIONAL HISTORY
   31. Provide the requested information about each educational institution that you have attended,
       beginning with the most recent and working backward to the date that you completed high
       school.




   32. Other than courses taken in connection with institutions listed in response to question 31, list
       any securities, accounting or business related courses taken since high school. For each such
       course, identify the date that the course was completed and the name of the institution or
       organization that offered the course.




   PROFESSIONAL LICENSES/CLUBS
   33. Do you hold, or have you ever held, any professional license? Yes ___ No ____.




   34. For CPA licenses held, please provide: (i) license number; (ii) dates license was in an active
       status (i.e., licensed to practice public accounting); and (iii) dates license was not active.
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   35. Are you, or have you ever been, a member of any professional or business club or
       organization? Yes ___ No ____.




   36. Are you, or have you been at any time between January 1, 2018 and the present, a member of
       any social clubs, charities or nonprofit organizations? Yes ___ No ____.




   EMPLOYMENT HISTORY
   37. Are you, or have you ever been, an employee of a broker, dealer, investment adviser,
       investment company, municipal securities dealer, municipal advisor, transfer agent, or
       nationally recognized statistical rating organization? Yes ___ No ____.




   38. State your employment activities, beginning with the present and working backward to the
       date that you completed high school and attach a recent copy of your resume or curriculum
       vitae. For each position you have held (including multiple positions or titles with the same
       employer), provide the following information:




                     CONTINUE ON ADDITIONAL SHEETS IF NECESSARY
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                               SECURITIES AND EXCHANGE COMMISSION
                                        Washington, D.C. 20549

                          Supplemental Information for Persons Requested to Supply
                          Information Voluntarily or Directed to Supply Information
                                    Pursuant to a Commission Subpoena
   A. False Statements and Documents
   Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
            Government of the United States, knowingly and willfully--
                (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                (3) makes or uses any false writing or document knowing the same to contain any materially false,
                fictitious, or fraudulent statement or entry.

   Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
            record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
            proper administration of any matter within the jurisdiction of any department or agency of the United States
            . . ., or in relation to or contemplation of any such matter.
   B. Testimony
   If your testimony is taken, you should be aware of the following:
   1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
        the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
        will not go off the record at your, or your counsel’s, direction.
   2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
        counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
        testimony to clarify any of the answers you give during testimony; and make summary notes during your
        testimony solely for your use. If you are accompanied by counsel, you may consult privately.
   If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
   testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
   once to afford you the opportunity to arrange to be so accompanied, represented or advised.
   You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
   This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
   adverse to another’s. If you are represented by counsel who also represents other persons involved in the
   investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
   possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
   3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
        A person who has submitted documentary evidence or testimony in a formal investigative proceeding
        shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
        his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
        investigative proceeding the Commission may for good cause deny such request. In any event, any
        witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
        own testimony.
   If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
   appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
   4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
   be imposed upon:
            Whoever--
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                (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                be true; or
                (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                does not believe to be true.
   5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
   local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
   You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
   United States, to give any information that may tend to incriminate you.
   If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
   question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
   6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
   during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
   C. Submissions and Settlements
   Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
            Persons who become involved in . . . investigations may, on their own initiative, submit a written
            statement to the Commission setting forth their interests and position in regard to the subject matter
            of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
            general nature of the investigation, including the indicated violations as they pertain to them, and
            the amount of time that may be available for preparing and submitting a statement prior to the
            presentation of a staff recommendation to the Commission for the commencement of an
            administrative or injunction proceeding. Submissions by interested persons should be forwarded to
            the appropriate Division Director or Regional Director with a copy to the staff members conducting
            the investigation and should be clearly referenced to the specific investigation to which they relate.
            In the event a recommendation for the commencement of an enforcement proceeding is presented
            by the staff, any submissions by interested persons will be forwarded to the Commission in
            conjunction with the staff memorandum.
   The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
   Commission enforcement proceedings, when the staff deems appropriate.
   Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
            In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
            staff, with appropriate authorization, may discuss with persons involved the disposition of such
            matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
            however, that the disposition of any such matter may not, expressly or impliedly, extend to any
            criminal charges that have been, or may be, brought against any such person or any
            recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
            before the Commission who consents, or agrees to consent, to any judgment or order does so
            solely for the purpose of resolving the claims against him in that investigative, civil, or
            administrative matter and not for the purpose of resolving any criminal charges that have been, or
            might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
            has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
            criminal proceedings. That authority and responsibility are vested in the Attorney General and
            representatives of the Department of Justice.
   D. Freedom of Information Act
   The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
   public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
   which a person can make a written request that information submitted to the Commission not be disclosed under the
   FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
   disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
   be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
   you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
   please provide a duplicate request, together with a stamped, self-addressed envelope.
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   E. Authority for Solicitation of Information
   Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
   set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
   of any legal right or privilege you might have.
   Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
   Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
   the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
   Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
   requested information to the Commission is voluntary on your part.
   F. Effect of Not Supplying Information
   Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
   Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
   supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
   21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
   209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
   any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
   produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
   Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
   failing to provide all or any part of the requested information.
   G. Principal Uses of Information
   The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
   person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
   the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
   Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
   provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
   explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
   accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
   other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
   disposition, transfer, or retention, in accordance with applicable law, of information provided.
   H. Routine Uses of Information
   The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
   and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
   where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
   general, a confidential matter between the Commission and such other governmental agencies.
   Set forth below is a list of the routine uses which may be made of the information furnished.
   1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
   breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
   there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
   Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
   reasonably necessary to assist in connection with the SEC’s efforts to respond to the suspected or confirmed breach
   or to prevent, minimize, or remedy such harm.
   2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
   foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
   3. To national securities exchanges and national securities associations that are registered with the SEC, the
   Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
   Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
   the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
   securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
   their regulatory or enforcement responsibilities.
   4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
   the Federal securities laws.
   5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
   members of its staff, is a party or otherwise involved in an official capacity.
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   6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
   201.102(e).
   7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
   authority; or professional association or self-regulatory authority to the extent that it performs similar functions
   (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
   8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
   SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
   a contract; or the issuance of a license, grant, or other benefit.
   9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
   concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
   investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
   requesting agency, to the extent that the information is relevant and necessary to the requesting agency’s decision on
   the matter.
   10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
   in support of the function for which the records are collected and maintained or for related personnel management
   functions or manpower studies; may also be used to respond to general requests for statistical information (without
   personal identification of individuals) under the Freedom of Information Act.
   11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
   competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
   administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
   3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
   Practice, 17 CFR 201.100 through 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
   201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
   entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
   proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
   laws or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
   12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
   connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
   have further information about the matters related therein, and those matters appeared to be relevant at the time to
   the subject matter of the inquiry.
   13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
   performance of a service related to this system of records and who need access to the records for the purpose of
   assisting the Commission in the efficient administration of its programs, including by performing clerical,
   stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
   these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
   552a.
   14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
   is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
   include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
   15. To members of advisory committees that are created by the Commission or by Congress to render advice and
   recommendations to the Commission or to Congress, to be used solely in connection with their official designated
   functions.
   16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1
   through 200.735-18, and who assists in the investigation by the Commission of possible violations of the Federal
   securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
   78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
   otherwise in connection with the Commission’s enforcement or regulatory functions under the Federal securities laws.
   17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
   made at the request of that individual.
   18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
   their activities, and other matters under the Commission’s jurisdiction.
   19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
   78c(a)(47)), as amended.
   20. To respond to subpoenas in any litigation or other proceeding.
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   21. To a trustee in bankruptcy.
   22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
   commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
   including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
   garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
   23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
   records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
   breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
   (including its information systems, programs, and operations), the Federal Government, or national security, resulting
   from a suspected or confirmed breach.

                                                        *****
   Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
   would like more information, or have questions or comments about federal securities regulations as they affect small
   businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
   551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
   Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
   Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
   activities for their responsiveness to the special needs of small business.
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        ATTACHMENT P
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    From:            Springer, Shelly-Ann
    To:              "Davidjjoffe@aol.com"
    Bcc:             Perez, Carmen
    Subject:         smail RE: smail RE: smail FL-04274-AKC Management LLC Document Production and Paola Vargas Testimony
    Date:            Friday, May 20, 2022 9:10:00 AM


    Mr. Joffe,

    Pursuant to the voicemail I just left, I was following up on the below. I also would like to discuss an
    email that I plan to send to you ahead of testimony where we ask you and your client, Paola Vargas,
    to make certain representations regarding the testimony format ahead of the testimony. Please free
    to give me a call or respond via email at your earliest convenience.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami


    From: Springer, Shelly-Ann
    Sent: Tuesday, May 17, 2022 3:00 PM
    To: 'Davidjjoffe@aol.com' <Davidjjoffe@aol.com>
    Subject: smail RE: smail FL-04274-AKC Management LLC Document Production and Paola Vargas
    Testimony

    Mr. Joffe,

    Pursuant to the voicemail I just left, I was following up on the below. I saw your text message that
    you are currently in a reverse proffer with the USAO. Feel free to give me a call or respond via email
    at your earliest convenience.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
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    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami


    From: Springer, Shelly-Ann
    Sent: Monday, May 16, 2022 10:06 AM
    To: 'Davidjjoffe@aol.com' <Davidjjoffe@aol.com>
    Subject: smail FL-04274-AKC Management LLC Document Production and Paola Vargas Testimony

    Mr. Joffe,

    As you know, all documents responsive to the Commission’s April 11, 2022 subpoena to your client
    AKC Management LLC (“AKC”) were originally due on April 25, 2022 and later, in connection with
    your request for an extension, on May 11, 2022. When we spoke on May 11, 2022, you indicated
    you planned to meet with your client on Friday, May 13, 2022 to discuss the production of
    documents and would get back to me that day with the date on which we could expect all
    responsive documents. Pursuant to my voicemail of today, I did not hear from you on Friday and
    wanted to touch base for an update on when we can expect all of the documents responsive to the
    Commission’s April 11, 2022 subpoena to AKC.

    In addition, pursuant to my voicemail, please let me know if your client, Paola Vargas, will require a
    translator at her Wednesday, June 8, 2022 testimony. If so, please let me know what language the
    translator needs to speak.

    Please feel free to give me a call to discuss.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 231 of
                                     287

    From:             Springer, Shelly-Ann
    To:               "Davidjjoffe@aol.com"
    Bcc:              Perez, Carmen
    Subject:          smail RE: smail FL-04274-AKC Management LLC Document Production and Paola Vargas Testimony
    Date:             Tuesday, May 17, 2022 3:00:00 PM


    Mr. Joffe,

    Pursuant to the voicemail I just left, I was following up on the below. I saw your text message that
    you are currently in a reverse proffer with the USAO. Feel free to give me a call or respond via email
    at your earliest convenience.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami


    From: Springer, Shelly-Ann
    Sent: Monday, May 16, 2022 10:06 AM
    To: 'Davidjjoffe@aol.com' <Davidjjoffe@aol.com>
    Subject: smail FL-04274-AKC Management LLC Document Production and Paola Vargas Testimony

    Mr. Joffe,

    As you know, all documents responsive to the Commission’s April 11, 2022 subpoena to your client
    AKC Management LLC (“AKC”) were originally due on April 25, 2022 and later, in connection with
    your request for an extension, on May 11, 2022. When we spoke on May 11, 2022, you indicated
    you planned to meet with your client on Friday, May 13, 2022 to discuss the production of
    documents and would get back to me that day with the date on which we could expect all
    responsive documents. Pursuant to my voicemail of today, I did not hear from you on Friday and
    wanted to touch base for an update on when we can expect all of the documents responsive to the
    Commission’s April 11, 2022 subpoena to AKC.

    In addition, pursuant to my voicemail, please let me know if your client, Paola Vargas, will require a
    translator at her Wednesday, June 8, 2022 testimony. If so, please let me know what language the
    translator needs to speak.

    Please feel free to give me a call to discuss.
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                                     287

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 233 of
                                     287

    From:             Springer, Shelly-Ann
    To:               "Davidjjoffe@aol.com"
    Bcc:              Perez, Carmen
    Subject:          smail FL-04274-AKC Management LLC Document Production and Paola Vargas Testimony
    Date:             Monday, May 16, 2022 10:05:00 AM


    Mr. Joffe,

    As you know, all documents responsive to the Commission’s April 11, 2022 subpoena to your client
    AKC Management LLC (“AKC”) were originally due on April 25, 2022 and later, in connection with
    your request for an extension, on May 11, 2022. When we spoke on May 11, 2022, you indicated
    you planned to meet with your client on Friday, May 13, 2022 to discuss the production of
    documents and would get back to me that day with the date on which we could expect all
    responsive documents. Pursuant to my voicemail of today, I did not hear from you on Friday and
    wanted to touch base for an update on when we can expect all of the documents responsive to the
    Commission’s April 11, 2022 subpoena to AKC.

    In addition, pursuant to my voicemail, please let me know if your client, Paola Vargas, will require a
    translator at her Wednesday, June 8, 2022 testimony. If so, please let me know what language the
    translator needs to speak.

    Please feel free to give me a call to discuss.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
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                                     287




       ATTACHMENT Q
          <
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 235 of
                                     287                          01
                                +1 (754) 423-6057


                                      iMessage
                                Tue, May 17, 2:53 PM


            I am currently in a reverse proffer
            with the USAO.

                        The sender is not in your contact list.
                                     Report Junk




          m       Cl) 0Message
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 236 of
                                     287




       ATTACHMENT R
                                                                                    From:               Perez, Carmen
                                                                                    To:                 "davidjjoffe@aol.com"
                                                                                    Cc:                 Springer, Shelly-Ann
                                                                                    Subject:            SMAIL FL-04274 Correspondence
                                                                                    Date:               Tuesday, May 31, 2022 12:32:24 PM
                                                                                    Attachments:        Empirex Capital LLC (FL-04274)-May 31, 2022 letter to David J. Joffe, Esq.pdf
                                                                                    Please see attached correspondence.
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 237 of




                                                                                    Regards,
                                                                                                          Carmen R. Pérez, Senior Paralegal Specialist
                                                                                                          Miami Regional Office, Division of Enforcement
                                                                                                          U.S. Securities and Exchange Commission
                                                                                            Ii]




                                                                                                          801 Brickell Ave, Suite 1950, Miami, FL 33131
                                                                                                          Phone: (305) 982-6350 Fax: (703) 813-9558
                                                                                                          Email: perezc@sec.gov
                                                                                                          Website: https://www.sec.gov/regional-office/miami
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                                      287
                                                UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       8.01 BRICKELL AVENUE, SUITE 1950
                                              MIAMI, FLORIDA 33131

     MIAMI
RltGJONAl, OFFICE




             DIVISION OF ENFORCEMENT                                            Shelly-Ann A. Springer-Charles
                                                                                Senior Counsel
                                                                                (305) 416-6224
                                                                                springers@sec.gov

             May 31, 2022

             VIA OVERNIGHT DELIVERY & EMAIL
             David J. Joffe, Esq.
             Joffe Law, P.A.
             The 110 Tower
             110 SE 6th Street, Suite 1700
             Fort Lauderdale, FL 33301
             davidjjoffe@aol.com


             Re: In the Matter of Empirex Capital LLC, FL-04274


             Dear Mr. Joffe:

                     As you know, your client AKC Management LLC (“AKC”) was issued an April 11,
             2022 subpoena for documents (“AKC subpoena”) in connection with the subject matter and
             all documents responsive to that subpoena were originally due on April 25, 2022. The staff
             did not receive a production of documents from AKC on the original April 25, 2022 due date.
             On April 27, 2022, pursuant to your request for an extension of time for AKC to produce all
             documents responsive to the AKC subpoena, the staff agreed to an extension of time through
             May 11, 2022 for AKC to produce all documents responsive to the AKC subpoena. We did
             not receive a production of documents from AKC on May 11, 2022. When we spoke on May
             11, 2022, you indicated you planned to meet with your client on May 13, 2022 to discuss the
             production of documents and would get back to me that day with the date on which we could
             expect all responsive documents. I did not hear from you on May 13, 2022. I have left you
             three subsequent voicemails and sent you three emails on May 16, 17, and 20, 2022 regarding,
             among other things, AKC’s outstanding production of documents but, absent a short text
             message at the time of one of my calls to you, I have not heard back from you.

                     We request compliance with the lawfully issued AKC subpoena. Accordingly, please
             have your client AKC produce all documents responsive to the AKC subpoena by 5 p.m.,
             June 2, 2022.
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             Please send the documents to:

             ENF-CPU
             U.S. Securities and Exchange Commission
             14420 Albemarle Point Place, Suite 102
             Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed
      to the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letter to me at
      springers@sec.gov.

               In addition, as you know, your client Paola Vargas is required by a May 10, 2022
      subpoena to appear for testimony conducted by audio-visual teleconference means, using the
      WebEx Internet platform, on Wednesday, June 8, 2022 at 10:00 am. EDT. No later than June
      2, 2022, please provide me with the email address where I can send the WebEx link directly to
      Ms. Vargas and let me know if Ms. Vargas will require the services of a translator at the
      testimony. In addition, ahead of Ms. Vargas’ testimony, I will be sending you an email with
      various matters to address regarding the WebEx testimony. We kindly ask that you respond
      to that email ahead of the testimony.

             If you have any questions or would like to discuss this matter, you may contact me at
      (305) 416-6224.


                                                          Sincerely,




                                                          Shelly-Ann A. Springer-Charles
                                                          Senior Counsel
                                                          Division of Enforcement
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                                     287




        ATTACHMENT S
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 241 of
                                     287

    From:               Springer, Shelly-Ann
    To:                 "Davidjjoffe@aol.com"
    Bcc:                Perez, Carmen
    Subject:            smail Empirex Capital LLC (FL-04274)-Paola Vargas Testimony
    Date:               Wednesday, June 1, 2022 1:16:00 PM


    Mr. Joffe,

    As discussed in my letter to you dated yesterday, I am emailing you regarding your client, Paola
    Vargas’, Wednesday, June 8, 2022 10:00 a.m. EDT testimony.

    Please note Ms. Vargas’ testimony will be not be recorded via any means of video recording. There
    will be a court reporter that will transcribe the testimony and a transcript will be available a number
    of weeks after the Wednesday, June 8, 2022 10:00 a.m. EDT testimony.

    You can certainly confer with your client privately during breaks with your own private phone calls or
    video sessions via your personal cell phones.

    There are various matters to address prior to Ms. Vargas’ Wednesday, June 8, 2022 10:00 a.m. EDT
    testimony. I kindly ask that you respond prior to the sworn testimony taking place on Wednesday,
    June 8, 2022 at 10:00 am EDT.


        •       When we send the WebEx invite link, please understand that only the persons to
               whom we directly send the link to are authorized to join the session. You and your
               client, Paola Vargas, should not forward the invite or sign-in information to anyone
               else. Please provide a list of the persons and corresponding email addresses and
               positions of the persons whom you wish to attend the WebEx testimony.

        •       You and your client, Paola Vargas, understand and agree that the oath or affirmation
               to tell the truth will be administered by audio-visual means rather than in person, but
               will have the same effect as if administered in person, and that she will tell the truth,
               the whole truth and nothing but the truth.

        •       We will provide you access to exhibits including portions of our investigative file by
               sharing through WebEx, contingent on your representation that you and your client,
               Paola Vargas, will not in any way record, save or capture any of this material.

        •      You and your client, Paola Vargas, understand and agree that you will not record any
               of the WebEx session whether through the WebEx system or with a separate device.

        •      You and your client, Paola Vargas, understand and agree that she will testify in a room
               alone, without the presence of any other individual outside of counsel.

        •      While it is acceptable to communicate with counsel during testimony, your client,
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                                     287

            Paola Vargas, understands and agrees to request a break in order to speak with
            counsel prior to communicating with counsel.

        •    You understand and agree that if you send a chat message or email to your client,
            Paola Vargas, while on the record, you MUST state on the record that such a
            communication occurred.

        •   You and your client, Paola Vargas, understand and agree that she will not rely on any
            documents (including notes, websites, emails, calendars, etc.) outside of the exhibits
            during the testimony.

    Please respond to this email confirming that: (1) you and your client, Paola Vargas, understand and
    agree that the oath or affirmation to tell the truth will be administered by audio-visual means rather
    than in person, but will have the same effect as if administered in person, and that she will tell the
    truth, the whole truth and nothing but the truth; (2) neither you nor your client, Paola Vargas, will in
    any way take any screen shots, pictures, or otherwise copy or capture, whether digitally or
    otherwise, any of the exhibits or other images that the staff makes available for your review via any
    WebEx sessions in connection with this matter. This does not preclude you as Paola Vargas’ counsel
    from taking notes during testimony; (3) neither you nor your client, Paola Vargas, will in any way
    record any of the WebEx session whether through the WebEx system or with a separate device; (4)
    you and your client, Paola Vargas, understand and agree that she will testify in a room alone,
    without the presence of any other individual outside of counsel; (5) while it is acceptable to
    communicate with counsel during testimony, your client, Paola Vargas, agrees to request a break in
    order to speak with counsel prior to communicating with counsel; (6) you agree that if you send a
    chat message or email to your client, Paola Vargas, while on the record, you MUST state on the
    record that such a communication occurred; and (7) you and your client, Paola Vargas, understand
    and agree that she will not rely on any documents (including notes, websites, emails, calendars, etc.)
    outside of the exhibits during the testimony.

    Please note, if Ms. Vargas intends to voluntarily produce the completed background questionnaire,
    which will help in expediting her June 8, 2022 testimony, we ask that she do so by June 6, 2022. A
    copy of the questionnaire was included with Ms. Vargas’ May 10, 2022 subpoena for testimony. If
    you would like an electronic version of the questionnaire, please let me know and I will be happy to
    email one to you.

    Please do not hesitate to contact me if you have any questions or concerns.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
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                                     287

    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami
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        ATTACHMENT T
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 245 of
                                     287

    From:            Paula Mejia
    To:              Springer, Shelly-Ann
    Cc:              David Joffe, Esq.
    Subject:         Empirex Capital LLC (FL-04274)-Paola Vargas Testimony
    Date:            Wednesday, June 1, 2022 1:44:02 PM
    Attachments:     image001.png



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    Good Afternoon, Ms. Springer-Charles,
    Mr. Joffe asked me to reach you about the referenced subpoena for testimony.
    We have some documents to be filed in reference to said matter.
    Could you please provide us with the civil case number in the District Court?
    Thank you.
    Respectfully,

    Paula M.
    Paralegal
    Joffe Law, P.A.
    The 110 Tower
    110 SE 6th Street , Suite 1700
    Fort Lauderdale, FL 33301
    T: 954-723-0007
    F: 954-723-0033

              ■             I
    https://www.joffefederaldefense.com/

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                                     287




       ATTACHMENT U
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 247 of
                                     287

    From:            Springer, Shelly-Ann
    To:              "Paula Mejia"
    Cc:              "David Joffe, Esq."
    Bcc:             Perez, Carmen
    Subject:         smail RE: Empirex Capital LLC (FL-04274)-Paola Vargas Testimony
    Date:            Thursday, June 2, 2022 7:35:00 AM
    Attachments:     image002.png


    Good Morning, Ms. Mejia,

    Thank you for reaching out to me. We do not have a federal district court action associated with the
    United States Securities and Exchange Commission’s (“Commission”) Empirex Capital LLC (FL-04274)
    investigation. Ms. Vargas’ May 10, 2022 subpoena for testimony was issued pursuant to a formal
    order of private investigation entered by the Commission in connection with our ongoing
    investigation. Please feel free to contact me if you have any additional questions or would like to
    discuss this matter further.

    Thank you.

    Shelly-Ann A. Springer-Charles
    Senior Counsel
    U.S. Securities and Exchange Commission
    Miami Regional Office
    801 Brickell Avenue, Suite 1950
    Miami, Florida 33131
    Tel: (305) 416-6224
    Fax: (305) 536-4146
    https://www.sec.gov/regional-office/miami


    From: Paula Mejia <paula@joffelaw.com>
    Sent: Wednesday, June 1, 2022 1:44 PM
    To: Springer, Shelly-Ann <SpringerS@sec.gov>
    Cc: David Joffe, Esq. <davidjjoffe@aol.com>
    Subject: Empirex Capital LLC (FL-04274)-Paola Vargas Testimony

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    attachments unless you recognize the sender and know the content is safe.

    Good Afternoon, Ms. Springer-Charles,
    Mr. Joffe asked me to reach you about the referenced subpoena for testimony.
    We have some documents to be filed in reference to said matter.
    Could you please provide us with the civil case number in the District Court?
    Thank you.
    Respectfully,

    Paula M.
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 248 of
                                     287

    Paralegal
    Joffe Law, P.A.
    The 110 Tower
    110 SE 6th Street , Suite 1700
    Fort Lauderdale, FL 33301
    T: 954-723-0007
    F: 954-723-0033

              [IJ]         I
    https://www.joffefederaldefense.com/

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                                     287




       ATTACHMENT V
Case 1:22-mc-22752-DPG Document 1-3 Entered on FLSD Docket 08/30/2022 Page 250 of
                                     287

    From:            Paula Mejia
    To:              Springer, Shelly-Ann
    Cc:              "David Joffe, Esq."
    Subject:         IN THE MATTER OF EMPIREX CAPITAL LLC- FL-04274 - DEFENDANT, PAOLA VARGAS’ OBJECTIONS TO
                     SUBPOENAS
    Date:            Thursday, June 2, 2022 3:04:54 PM
    Attachments:     image001.png
                     vargas (AKC) objection to subpoena for production.pdf
                     vargas objection to subpoena for testimony.pdf



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    attachments unless you recognize the sender and know the content is safe.

    Good Afternoon, Ms. Springer-Charles,
    Attached please find Ms. Vargas objections to the subpoena for testimony and objections to
    subpoena for production.
    Respectfully,

    Paula M.
    Paralegal
    Joffe Law, P.A.
    The 110 Tower
    110 SE 6th Street , Suite 1700
    Fort Lauderdale, FL 33301
    T: 954-723-0007
    F: 954-723-0033

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    https://www.joffefederaldefense.com/

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                               UNITED STATES OF AMERICA
                          SECURITIES AND EXCHANGE COMMISSION
                                     MIAMI, FLORIDA

                    IN THE MATTER OF EMPIREX CAPITAL LLC- FL-04274

   SECURITIES AND EXCHANGE
   COMMISSION,

                 Plaintiff,

   vs.

   EMPIREX CAPITAL LLC,
   AKC MANAGEMENT, LLC
   PAOLA VARGAS

               Defendants.
   _______________________________/


                          DEFENDANT, AKC MANAGEMENT, LLC s
                               OBJECTIONS TO SUBPOENA

          The Defendant, AKC MANAGEMENT, LLC (hereinafter " AKC"), by and through

   undersigned counsel files its Objections to Subpoena issued by the SEC pursuant to Rule 8 of the

   United States Securities & Exchange Commissions Rules Regulating Investigations, 17 C.F.R.

   §203.8 and would state as follows:

                                    FACTUAL BACKGROUND

          1.     Plaintiff, SECURITIES AND EXCHANGE COMMISSION (hereinafter "SEC"')

   filed an action against Empirex Capital, LLC.

          2.     As a result of said action, SEC is seeking to obtain documents from AKC.

          3.     The SEC issued a subpoena for documents requesting a voluminous amount of

   documents from AKC that are irrelevant to the investigation pending.
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          4.   AKC files its objection to said subpoena and challenges the validity of the subpoena

   pursuant to 15 U.S.C. §78u(c). See also United States v. Powell, 379 U.S. 48 (1964).



                                         LEGAL ARGUMENT

          AKC challengers the subpoena issued by the SEC for production of documents and

   therefore, the SEC must show that (1) the inquiry is being conducted for a legitimate purpose;

   (2) the subpoena is not too indefinite; (3) the information sought is reasonably relevant to the

   inquiry and (4) the subpoena was complied with required administrative procedures and was not

   issued in bad faith or for improper purposes.

          AKC argues that the subpoena is being issued as a fishing expedition and that most if not

   all of the documents being sought is not relevant to the investigation pending and was issued in

   bad faith. Again, AKC has limited to no involvement with the investigation being performed by

   the SEC and the subpoena was issued to threaten and/or harass AKC into producing its

   documents whether relevant to the investigation or not.

          Because AKC has objected to the issuance of said subpoena, SEC must seek an

   enforcement action in a United States District Court. See 15 U.S.C. § 78u(c); Sprecher v.

   Graber, 716 F.2d 968, 975 (2d Cir.1983).

          WHEREFORE, AKC prays that in the interest of justice, it 's objection to subpoena for

   production issued by the SEC is granted any other relief that is just and proper.




                                                    2
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 1, 2022, to Shelly Ann Springer-Charles, Senior

   Counsel, United States Securities and Exchange Commission, Division of Enforcement at

   springers@sec.gov.

                                                 Respectfully submitted,

                                                 JOFFE LAW, P.A.
                                                 Attorney for AKC
                                                 110 SE 6th Street, Suite 1700
                                                 Fort Lauderdale, Florida 33301
                                                 Telephone: (954) 723-0007
                                                 Facsimile: (954) 723-0033
                                                 davidjjoffe@aol.com
                                                    ·idjjoffe@aol.com

                                                 By
                                                      ~~Fi(~~
                                                      DAVID J. JOFFE, ESQUIRE
                                                      FLORIDA BAR NO. 0814164




                                             3
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                                UNITED STATES OF AMERICA
                           SECURITIES AND EXCHANGE COMMISSION
                                      MIAMI, FLORIDA

                    IN THE MATTER OF EMPIREX CAPITAL LLC- FL-04274

   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,

   vs.

   EMPIREX CAPITAL LLC,
   AKC MANAGEMENT, LLC
   PAOLA VARGAS

               Defendants.
   _______________________________/


                                 DEFENDANT, PAOLA VARGAS
                                  OBJECTIONS TO SUBPOENA

          The Defendant, PAOLA VARGAS (hereinafter " VARGAS"), by and through

   undersigned counsel files her Objections to Subpoena issued by the SEC pursuant to Rule 8 of

   the United States Securities & Exchange Commission's Rules Regulating Investigations, 17

   C.F.R. §203.8 and would state as follows:

                                     FACTUAL BACKGROUND

          1.      Plaintiff, SECURITIES AND EXCHANGE COMMISSION (hereinafter "SEC"')

   filed an action against Empirex Capital, LLC.

          2.      As a result of said action, SEC is seeking to obtain testimony from VARGAS.

          3.      The SEC issued a subpoena for testimony from VARGAS. VARGAS files this

   objection due to the fact that she is also under criminal investigation by the government and any

   statements or testimony she provides could be used against her in the criminal investigation.
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          4.   VARGAS files her objection to said subpoena and challenges the validity of the

   subpoena pursuant to 15 U.S.C. §78u(c). See also United States v. Powell, 379 U.S. 48 (1964).

                                        LEGAL ARGUMENT

          VARGAS objects to the subpoena issued requiring her to testify before the SEC in

   connection with their investigation against Empirex Capital, LLC. VARGAS objects to said

   subpoena due to the fact that there is also a pending criminal investigation pending as to her and

   her alleged involvement with Empirex Capital, LLC. VARGAS raises her fifth amendment right

   regarding said subpoena. The fifth amendment stands as a sentinel for the protection of a

   defendant's constitutional right to remain silent. The right is not self-executing, however.

   Therefore, when a defendant voluntarily testifies, she waives her fifth amendment right and

   places herself in the same position as any other witness, subject to cross examination as to

   matters revealed in her testimony. Brown v. United States, 356 U.S. 148, 78 S.Ct. 148 (1958);

   United States v. Beechum, 582 F.2d 898 (5th Cir. 1978), cert. denied, 440 U.S. 920, 99 S.Ct.

   1244 (1979). VARGAS therefore cannot testify as same would be deemed a waiver of her fifth

   amendment right.

          Because VARGAS has objected to the issuance of said subpoena, SEC must seek an

   enforcement action in a United States District Court. See 15 U.S.C. § 78u(c); Sprecher v.

   Graber, 716 F.2d 968, 975 (2d Cir.1983).

          WHEREFORE, VARGAS prays that in the interest of justice, her objection to subpoena

   for testimony issued by the SEC is granted and any other relief that is just and proper.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 1, 2022, to Shelly Ann Springer-Charles, Senior

   Counsel, United States Securities and Exchange Commission, Division of Enforcement at

   springers@sec.gov.

                                                 Respectfully submitted,


                                                 JOFFE LAW, P.A.
                                                 Attorney for VARGAS
                                                 110 SE 6th Street, Suite 1700
                                                 Fort Lauderdale, Florida 33301
                                                 Telephone: (954) 723-0007
                                                 Facsimile: (954) 723-0033
                                                 davidjjoffe@aol.com
                                                      UJJV.1..1.\,,,~UVJ..\,,,VJ.J.J.




                                                 By
                                                      DAVID J. JOFFE, ESQUIRE
                                                      FLORIDA BAR NO. 0814164




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      ATTACHMENT W
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                                      287
                                                UNITED STATE.S
                               SECURITIES ANO EXCHANGE COMMISSION
                                       801 BRICKELL AVENUE, SUITE 1950
                                             MIAMI, FLORIDA 33131

      MIAMI
REGI<JNAl. OFFICE




            DIVISION OF ENFORCEMENT                                              Shelly-Ann A. Springer-Charles
                                                                                 Senior Counsel
                                                                                 (305) 416-6224
                                                                                 springers@sec.gov


            July 13, 2022

            VIA OVERNIGHT DELIVERY & EMAIL
            Paola A. Vargas
            c/o David J. Joffe, Esq.
            Joffe Law, P.A.
            The 110 Tower
            110 SE 6th Street, Suite 1700
            Fort Lauderdale, FL 33301
            davidjjoffe@aol.com


            Re: In the Matter ofEmpirex Capital LLC, FL-04274


            Dear Ms. Vargas:

            It has come to our attention that as of June 30, 2022 AKC Management LLC ("AKC") was
            voluntarily dissolved. We believe AKC or Paola A. Vargas may possess documents and data,
            referred to in this letter as "Evidence," relevant to an ongoing investigation being conducted
            by the staff of the United States Securities and Exchange Commission. Accordingly, we
            hereby provide notice that such Evidence should be reasonably preserved and retained until
            further notice. Failure to do so could give rise to civil and criminal liability.

            The Commission considers potentially relevant documents to include those created on or after
            January 1, 2018 requested in the April 11, 2022 subpoena issued to AKC in connection with
            the subject investigation, a copy of which is enclosed with this letter and which we intend to
            seek enforcement of in a United States District Court.

            Such Evidence includes both "hard copy" and electronically-stored information in your
            possession, custody or control, including: text files, data compilations, word processing
            documents, spreadsheets, e-mail, voicemail, databases, calendars and scheduling information,
            logs, file fragments and backup files, letters, instant messages, memoranda, notes, drawings,
            designs, and correspondence or communications of any kind. Evidence that is stored
            electronically may be maintained on shared network files, computer hard drives, servers,
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      DVDs, CD-ROMs, flash drives, thumb drives, laptops, digital recorders, netbooks, PDAs,
      smartphones, or other handheld devices, as well as in cloud or other remote data storage or
             .      .
      processmg servtces.

      You have a duty to reasonably preserve and retain such Evidence.

      This duty includes an obligation to provide notice to all employees or custodians who may be
      in possession of Evidence. This duty also extends to the preservation and retention of
      Evidence in the possession or custody of third-parties, such as a provider of cloud computing
      or other remote data storage or processing services, or an internet service provider, cloud
      computing provider, or social media platforms such Facebook, Linkedln, or Twitter, if such
      Evidence is within your control.

      You may need to act affirmatively to prevent the destruction of Evidence. This duty may
      necessitate quarantining certain Evidence to avoid its destruction or alteration. You should
      consider whether you need to discontinue the routine destruction of Evidence, including
      discontinuing the recycling of backup tapes or other storage media, and the deletion of emails,
      ''trash," "recycling," "drafts," "sent," or "archived" folders. You should avoid running or
      installing any drive cleaning, wiping, encrypting, or defragmenting software on electronic
      devices that may contain Evidence.

      You should not alter or damage any forensically recoverable data. Any attempt to replicate
      electronic data without adhering to best practices for data replication could compromise the
      integrity or contents of such data.

      You should consider preserving any forensically recoverable data by having mirror image
      copes of devices made or by forensically preserving data stored in the cloud or other remote
      computing service. Simply making "hard copies" of such Evidence or transforming it to other
      formats (such as TIFF or PDF documents) does not constitute preservation of forensic data.
      We are prepared to discuss with you proper protocols for replication before you attempt to
      copy Evidence. The Commission may be able to retain and supervise computer forensic
      resources to properly and non-invasively create back-up images of Evidence.

      While we recognize that this may impose a burden on you, it is absolutely necessary that you
      fully comply with your obligations to reasonably retain and preserve Evidence. We appreciate
      your efforts in this regard.
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      Please contact me if you have any questions, or to meet-and-confer about the matters
      discussed above.


                                                                 Sincerely,
                                                                                       Digitally signed by SHELLY-
                                                                 SHELLY-ANN       ANN SPRINGER-CHARLES
                                                                 SPRINGER-CHARLES Date: 2022.07.13 os:06:03
                                                                                       -04'00'

                                                                 Shelly-Ann A. Springer-Charles
                                                                 Senior Counsel
                                                                 Division of Enforcement


      Encl. April 11, 2022 Subpoena to AKC Management LLC
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                                     287
                                                  UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                       801   BR ICKEL L A V ENUE , SUITE 1950

                                               MIAMI , FLORIDA 33131


     MIAM I

REGIONAL OFFICE




      DIVISION OF ENFORCEMENT

      April 11, 2022

      VIA OVERNIGHT DELIVERY
      AKC Management LLC
      c/o Paola Vargas, MGR, Registered Agent
      221 SW 12th Street
      #PH4
      Miami, FL 33130

      Re: In the Matter ofEmpirex Capital LLC, FL-04274

      Dear Ms. Vargas:

              The enclosed subpoena has been issued pursuant to a formal order entered by the United
      States Securities and Exchange Commission. Pursuant to Rule 8 of the United States Securities
      and Exchange Commission's Rules Relating to Investigations, 17 C.F.R. § 203.8, I have
      enclosed a subpoena for documents issued to AKC Management LLC ("AKC"), in connection
      with the above-referenced investigation.

             The enclosed subpoena requires AKC to produce documents to the SEC by April 25,
      2022. Please deliver the materials by April 25, 2022 at 5:00 p.m. to:

                  ENF-CPU
                  U.S. Securities and Exchange Commission
                  14420 Albemarle Point Place, Suite 102
                  Chantilly, VA 20151-1750

              For smaller electronic productions under 10MB in size, the materials may be emailed to
      the following email address: ENF-CPU@sec.gov.

             Please also provide a duplicate copy of any document production cover letters to me at
      springers@sec.gov. Additionally, please include the SEC matter number and the name of the
      requesting attorney when responding.
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           Please carefully read the subpoena attachment, which contains, among other things,
   important instructions related to the manner of producing documents. In particular, if AKC
   prefers to send us copies of original documents, the staff requests that you scan and produce
   hard copy documents, as well as electronic documents, in an electronic format consistent
   with the SEC Data Delivery Standards attached hereto. All electronic documents
   responsive to the subpoena, including all metadata, should also be produced in their native
   software format. If you have any questions concerning the production of documents in an
   electronic format, please contact me as soon as possible and in any event before producing
   documents. For security reasons, we strongly encourage the encryption of sensitive documents
   before production.

          When producing the records, please consecutively number and mark each document
   produced with a symbol that identifies it as being produced by AKC.

          In your cover letter(s) accompanying the production of responsive documents, please
   enclose a list briefly describing each item you send. The list should identify the paragraph(s) in
   the subpoena attachment to which each item responds. Please also state in the cover letter(s)
   whether you believe AKC has met the obligations of the subpoena by searching carefully and
   thoroughly for everything called for by the subpoena, and sending it all to us.

          A copy of the subpoena should be included with the documents that are produced.
   Correspondence should reference case number, case name and requesting SEC staff member.

           Passwords for documents, files, compressed archives, and encrypted media should be
   provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
   letter mailed separately from the data. Password correspondence should reference case number,
   case name and requesting SEC staff member.

          In addition, for any documents that qualify as records of regularly conducted activities
   under Federal Rule of Evidence 902(11), please have the appropriate representative(s) of AKC
   complete a business records certification (a sample of which is enclosed) and return it with the
   document production. Execution of this certification may allow the Commission to introduce the
   documents provided by AKC in any subsequent judicial proceeding, without requiring the
   testimony of a records custodian.

           Please note that, in any matter in which enforcement action is ultimately deemed to be
   warranted, the Division of Enforcement will not recommend any settlement to the Commission
   unless the party wishing to settle certifies, under penalty of perjury, that all documents
   responsive to Commission subpoenas and formal and informal document requests in this matter
   have been produced.

           Enclosed is a copy of the Commission's Form 1662, entitled "Supplemental Information
   for Persons Requested to Supply Information Voluntarily or Directed to Supply Information
   Pursuant to a Commission Subpoena." This form explains how we may use the information that
   AKC provides to the Commission and has other important information.




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          This investigation is a non-public, fact-finding inquiry. We are trying to determine
   whether there have been any violations of the federal securities laws. The investigation does not
   mean that we have concluded that anyone has violated the law. Also, the investigation does not
   mean that we have a negative opinion of any person, entity, or security.

          If you have any questions or would like to discuss this matter, you may contact me at
   (305) 416-6224.

                                                        Sincerely,

                                                         SHELLY-ANN SHELLY-ANN
                                                                        Digitally signed by
                                                                                      SPRINGER-
                                                         SPRINGER-      CHARLES
                                                                        Date: 2022.04.1110:51 :47
                                                         CHARLES        -04'00'

                                                        Shelly-Ann A. Springer-Charles
                                                        Senior Counsel
                                                        Division of Enforcement
                                                        (305) 416-6224
                                                        springers@sec.gov


    Enclosures:       Subpoena and Attachment
                      SEC Data Delivery Standards
                      SEC Form 1662
                      Business Records Certification




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                                                                 SUBPOENA
                            UNITED STATES OF AMERICA
                         SECURITIES AND EXCHANGE COMMISSION
                                   In the Matter ofEmpirex Capital LLC, FL-04274

To:    AKC Management LLC
       c/o Paola Vargas, MGR, Registered Agent
       221 SW 12th Street
       #PH4
       Miami, FL 33130


IZI    YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
       Chantilly, VA 20151-1750, no later than April 25, 2022 at 5:00 p.m.


D      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:


                  FEDERAL LAW REQUIRES YOU TO COMPLY WITH TIDS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.
                SHELLY-ANN             Digitally signed by SHELLY-ANN
                                       SPRINGER-CHARLES
                SPRINGER-CHARLES       Date: 2022.04.11 1o:s3:37 -04•00·
       By:                                                                      Date:     April 11 , 2022
       Shelly-Ann A. Springer-Charles, Senior Counsel
       U.S . Securities and Exchange Commission
       Miami Regional Office
       801 Brickell Avenue, Suite 1950
       Miami, FL 33131

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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                SUBPOENA ATTACHMENT FOR AKC MANAGEMENT LLC
                      In the Matter ofEmpirex Capital LLC, FL-04274

                                             April 11, 2022

                                              Definitions

   As used in this subpoena, the words and phrases listed below shall have the following meanings:

   1.     "AKC Management LLC" means the entity doing business under the name "AKC
          Management LLC" ("AKC"), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   2.     "Empirex Capital LLC" means the entity doing business under the name "Empirex
          Capital LLC" ("Empirex"), including parents, subsidiaries, affiliates, predecessors,
          successors, officers, directors, employees, agents, general partners, limited partners,
          partnerships and aliases, code names, or trade or business names used by any of the
          foregoing.

   3.     "Person" means a natural person, firm, association, organization, partnership, business,
          trust, corporation, bank or any other private or public entity.

   4.     A "Representative" of a Person means any present or former family members, officers,
          executives, partners, joint-venturers, directors, trustees, employees, consultants,
          accountants, attorneys, agents, or any other representative acting or purporting to act on
          behalf of the Person.

   5.     "Acero" means (i) Roman David Acero Quintero and/or (ii) any present or former
          representative of Acero.

   6.     "Gonzalez" means (i) Martha Gonzalez and/or (ii) any present or former representative of
          Gonzalez.

   7.     "P. Vargas" means (i) Paola Andrea Vargas Gonzalez, and/or (ii) any present or former
          representative of P. Vargas.

   8.     "R. Vargas" means (i) Rafael Alberto Vargas Gonzalez, and/or (ii) any present or former
          representative of R. Vargas.

   9.     "Rojas" means (i) Catherine Rojas and/or (ii) any present or former representative of
          Rojas.

   10.    "Document" shall include, but is not limited to, any written, printed, or typed matter
          including, but not limited to all drafts and copies bearing notations or marks not found in



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         the original, letters and correspondence, interoffice communications, slips, tickets,
         records, worksheets, financial records, accounting documents, bookkeeping documents,
         memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
         telephone messages, text messages, voice mails, tape recordings, notices, instructions,
         minutes, summaries, notes of meetings, file folder markings, and any other organizational
         indicia, purchase orders, information recorded by photographic process, including
         microfilm and microfiche, computer printouts, spreadsheets, and other electronically
         stored information, including but not limited to writings, drawings, graphs, charts,
         photographs, sound recordings, images, and other data or data compilations that are
         stored in any medium from which information can be retrieved, obtained, manipulated, or
         translated.

   11.   "Communication" means any correspondence, contact, discussion, e-mail, instant
         message, or any other kind of oral or written exchange or transmission of information (in
         the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
         more Persons or entities, including, without limitation, all telephone conversations, face-
         to-face meetings or conversations, internal or external discussions, or exchanges of a
         Document or Documents.

   12.   "Concerning" means directly or indirectly, in whole or in part, describing, constituting,
         evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
         connection with, commenting on, relating to, regarding, discussing, showing, describing,
         analyzing or reflecting.

   13.   An "Agreement" means any actual or contemplated (i) written or oral Agreement; (ii)
         term or provision of such Agreement; or (iii) amendment of any nature or termination of
         such Agreement. A request for any Agreement among or between specified parties
         includes a request for all Documents Concerning (i) any actual or contemplated
         Agreement among or between such parties, whether or not such Agreement included any
         other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
         contemplated demand, request or application for any such Agreement, and any response
         thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
         Agreement, and any response thereto.

   14.   The term "Reviewed" means examined, assessed, considered, analyzed or evaluated.

   15.   The term "you" and "your" means the Person to whom or entity to which this subpoena
         was issued.

   16.   To the extent necessary to bring within the scope of this this subpoena any information or
         Documents that might otherwise be construed to be outside its scope:
         a.     the word "or" means "and/or";
         b.     the word "and" means "and/or";
         c.     the functional words "each," "every" "any" and "all" shall each be deemed to
                include each of the other functional words;




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         d.     the masculine gender includes the female gender and the female gender includes
                the masculine gender; and
         e.     the singular includes the plural and the plural includes the singular.

   17.   "Relevant Period" means the time period beginning January 1, 2018, or the earliest time
         for which records exist, whichever is earlier, and continuing to the present, unless
         otherwise specified.

   18.   "Relevant Entities and Individuals" means each of the following: Empirex, Acero,
         Gonzalez, P. Vargas, R. Vargas, Rojas, and any entity or individual Concerning the
         recruiting of Empirex investors or the sale of an Empirex investment to investors.

                                            Instructions

   1.    Unless otherwise specified, this subpoena calls for production of the original Documents
         and all copies and drafts of same. Documents responsive to this subpoena may be in
         electronic or paper form. Electronic Documents such as email should be produced in
         accordance with the attached Document entitled SEC Data Delivery Standards. All
         responsive electronic Documents, including all metadata, should also be produced in their
         native software format.

   2.    For Documents in paper format, you may send the originals, or, if you prefer, you may
         send copies of the originals. The Commission cannot reimburse you for the copying
         costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
         hard copy Documents and produce them in an electronic format consistent with the SEC
         Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
         in paper format. If you choose to send copies, you must secure and retain the originals
         and store them in a safe place. The staff may later request or require that you produce the
         originals.

   3.    Whether you scan or photocopy Documents, the copies must be identical to the originals,
         including even faint marks or print. Also, please note that if copies of a Document differ
         in any way, they are considered separate Documents and you must send each one. For
         example, if you have two copies of the same letter, but only one of them has handwritten
         notes on it, you must send both the clean copy and the one with notes.

   4.    In producing a photocopy of an original Document that contains post-it(s), notation
         flag(s), or other removable markings or attachments which may conceal all or a portion
         of the markings contained in the original Document, photocopies of the original
         Document both with and without the relevant post-it(s), notation flag(s), or removable
         markings or attachments should be produced.

   5.    Documents should be produced as they are kept in the ordinary course of business or be
         organized and labeled to correspond with the categories in this request. In that regard,
         Documents should be produced in a unitized manner, i.e., delineated with staples or paper
         clips to identify the Document boundaries.



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   6.    Documents should be labeled with sequential numbering (bates-stamped).

   7.    You must produce all Documents created during, or Concerning, the period from January
         1, 2018, or the earliest time for which records exist, whichever is earlier, to the date of
         this subpoena, unless otherwise specified.

   8.    The scope of any given request should not be limited or narrowed based on the fact that it
         calls for Documents that are responsive to another request.

   9.    You are not required to produce exact duplicates of any Documents that have been
         previously produced to the Securities and Exchange Commission staff in connection with
         this matter. If you are not producing Documents based upon a prior production, please
         identify the responsive Documents that were previously produced.

   10.   For any Documents that qualify as records of regularly conducted activities under Federal
         Rule of Evidence 902(11), please complete a business records certification (a sample of
         which is enclosed) and return it with the Document production.

   11.   This subpoena covers all Documents in or subject to your possession, custody or control,
         including all Documents that are not in your immediate possession but that you have the
         effective ability to obtain, that are responsive, in whole or in part, to any of the individual
         requests set forth below. If, for any reason - including a claim of attorney-client privilege
         - you do not produce something called for by the request, you should submit a list of
         what you are not producing. The list should describe each item separately, noting:

         a.      its author(s);
         b.      its date;
         c.      its subject matter;
         d.      the name of the Person who has the item now, or the last Person known to have it;
         e.      the names of everyone who ever had the item or a copy of it, and the names of
                 everyone who was told the item's contents;
         f.      the basis upon which you are not producing the responsive Document;
         g.      the specific request in the subpoena to which the Document relates;
         h.      the attorney(s) and the client(s) involved; and
         1.      in the case of the work product doctrine, the litigation for which the Document
                 was prepared in anticipation.

   12.   If Documents responsive to this subpoena no longer exist because they have been lost,
         discarded, or otherwise destroyed, you should identify such Documents and give the date
         on which they were lost, discarded or destroyed.




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                                   Documents to be Produced

   1.   Documents sufficient to disclose the corporate structure of AKC, including, but not
        limited to, the date and place of establishment, organization, and, if applicable,
        incorporation;

   2.   Documents sufficient to identify all officers, directors, principals, owners, shareholders,
        employees, and all others acting on behalf of AKC, and Documents sufficient to disclose,
        for each individual identified in response to this Item:
        a. title;
        b. dates of affiliation with AKC;
        c. current or last known home address and telephone number;
        d. current or last known employment address and telephone number; and,
        e. salary or other compensation for each year from January 1, 2018 to the present;

   3.   Documents sufficient to disclose all domestic and foreign bank, brokerage, or other
        financial accounts held by or on behalf of AKC from January 1, 2018 to the present, and
        Documents sufficient to disclose, for each account identified in response to this Item:
        a. the name, address, and telephone number of the financial institution where the
            account is held, maintained, directed or controlled;
        b. the account number;
        c. the name, address, and telephone number of the branch office, if any, where the
            account is held, maintained, or directed;
        d. the account name; and,
        e. the date the account was opened;

   4.   Documents sufficient to disclose all other assets held by or on behalf of AKC;

   5.   All draft and final financial reports Concerning AKC including, but not limited to,
        audited and unaudited financial statements, including balance sheets and statements of
        income and retained earnings and cash flows, as well as all ledgers, journals, and
        workpapers used to prepare and support AK.C's financial statements, balance sheets,
        copies of filed federal and state corporate income tax returns and 1099/1098/1096 tax
        returns, w-2s and payroll tax returns, trial balances, cash receipt journals, bank
        statements, copies of canceled checks, deposit records with copies of deposit items, cash
        disbursement journals, balance sheets, statements of income and retained earnings, and
        any other report of receipts, disbursements, net profits and losses, and cash flow;

   6.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
        between AKC and any of the Relevant Entities and Individuals;

   7.   All Documents Concerning Agreements, contracts, loans, notes, or understandings
        among or between the Relevant Entities and Individuals Concerning Empirex;

   8.   All Documents or Communications Concerning Empirex;


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   9.    Documents sufficient to identify all AKC investors, Concerning or referred by any of the
         Relevant Entities and Individuals, and all Empirex investors by name, address, and
         telephone number;

   10.   For each investor identified in response to Item 9 above, Documents sufficient to
         disclose:
         a. the amount invested;
         b. the date(s) of investments; and,
         c. whether, when, and how much of each investors' principal has been returned to them;

   11.   For each investor identified in response to Item 9 above, all Documents Concerning
         agreements or contracts between AKC or Empirex and the investor and all Documents
         Concerning terms of investments;

   12.   For each investor identified in response to Item 9 above, all periodic or other account
         statements;

   13.   For each investor identified in response to Item 9 above, all Documents Concerning the
         investment of (or other use of) their funds by AKC or Empirex and the current location of
         investor funds;

   14.   All Documents and Communications Concerning all investment, promotional, sales,
         marketing, or advertising materials offered, sold, advertised, distributed, or otherwise
         disseminated, directly or indirectly, by AKC or Empirex or any of the Relevant Entities
         and Individuals to AKC investors, Concerning or referred by any of the Relevant Entities
         and Individuals, or Empirex investors, including, but not limited to, offering memoranda
         and attachments, business and projection plans, subscription agreements, and operating
         agreements;

   15.   Documents sufficient to identify all individuals or entities who any of the Relevant
         Entities and Individuals solicited as potential investors but did not ultimately invest in
         AKC or Empirex;

   16.   All Documents Concerning the payment of fees to any individual or entity in connection
         with the recruiting of AKC investors by any of the Relevant Entities and Individuals or
         Empirex investors or the sale of an AKC investment by any of the Relevant Entities and
         Individuals to investors or the sale of an Empirex investment to investors;

   17.   All Documents Concerning Communications between AKC or any of the Relevant
         Entities and Individuals and investors or potential investors in AKC, Concerning or
         referred by any of the Relevant Entities and Individuals, or investors in Empirex;

   18.   All Documents and Communications Concerning all Empirex investors;




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   19.   All Documents and Communications Concerning funds received by AKC from the
         Relevant Entities and Individuals, including, but not limited to, front and back of all
         canceled checks, check stubs, wire transfer instructions, invoices, receipts, statements,
         ledgers, tax forms, and any other documents or records reflection such receipts;

   20.   All Documents and Communications Concerning funds disbursed by AKC to the
         Relevant Entities and Individuals, including, but not limited to, front and back of all
         canceled checks, check stubs, wire transfer instructions, invoices, receipts, statements,
         ledgers, tax forms, and any other documents or records reflection such disbursements;

   21.   All Documents Concerning all Communications between AKC and the Relevant
         Entities and Individuals during the Relevant Period Concerning:
         a. AKC;
         b. Empirex;
         C. Acero;
         d. Gonzalez;
         e. Rojas;
         f. P. Vargas;
         g. R. Vargas;
         h. all funds received by the Relevant Entities and Individuals directly or indirectly from
             AKC;
         1.  all funds disbursed by the Relevant Entities and Individuals directly or indirectly to
             AKC;
         j. all funds received or disbursed by AKC; and,
         k. all Agreements, contracts, loans, notes, or understandings between AKC and the
             Relevant Entities and Individuals; and,

   22.   To the extent not provided in response to other Requests, all Documents Concerning the
         following:
         a. All AKC accounts held at Bank of America, N.A., JPMorgan Chase Bank, N.A., and
             Wells Fargo Bank, N.A. from January 1, 2018 through the present, including, but not
             limited to, account opening Documents and periodic or other statements;
         b. All other AKC accounts held at all other domestic or foreign banks, brokerages, or
             other financial institutions from January 1, 2018 through the present, including, but
             not limited to, account opening Documents and periodic or other statements;
         c. The Relevant Entities and Individuals;
         d. All AKC investors, Concerning or referred by any of the Relevant Entities and
             Individuals;
         e. All Empirex Investors; and,
         f. All funds or assets, including, but not limited to, the purpose of the funds or assets,
             deposited into any AKC bank, brokerage, or cryptocurrency account by any
             individual or entity.



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                 DECLARATION OF [Insert Name] CERTIFYING RECORDS
                  OF REGULARLY CONDUCTED BUSINESS ACTIVITY

         I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

      1. I am employed by AKC Management LLC as [insert position] and by reason ofmy
         position am authorized and qualified to make this declaration. [ifpossible supply
         additional information as to how person is qualified to make declaration, e.g., I am
         custodian ofrecords, I am familiar with the company's recordkeeping practices or
         systems, etc.]

      2. I further certify that the documents [attached hereto or submitted herewith] and stamped
         [insert bates range] are true copies of records that were:

                 (a) made at or near the time of the occurrence of the matters set forth therein, by,
                 or from information transmitted by, a person with knowledge of those matters;

                 (b) kept in the course of regularly conducted business activity; and

                 (c) made by the regularly conducted business activity as a regular practice.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on
         [date].




                                                [Name]
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                                                                       U.S. Securities and Exchange Commission

                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC).       **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division o(Enforcement
prior to submission.**

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     IX. Mobile Device Data ................................................................................................................................................................ 5



General Instructions

Due to COVID-19 restrictions the current, temporary mailing address for all physical productions sent to the SEC is:
ENF-CPU (U.S. Securities & Exchange Commission), 14420 Albemarle Point Place, Suite 102, Chantilly, VA 20151-1750

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet
(Note: An Adobe PDFfile is aJlJ. considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

 The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
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the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.


General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
  12.    The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
         Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
         information, please reach out to the requesting SEC staff member.
  13 .   Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
         Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
         member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
         for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
         be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
         using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  14.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
         marked as BSA or SAR material, or should be produced separately from other case related material.
  15.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  16.    All electronic productions should be produced free of computer viruses.
  17.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  18.    Before producing unique data sets (large sets ofrelational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  19.    Additional technical descriptions can be found in the addendum to this document.

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       *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
       result electronic productions may be damaged.*

Delivery Formats

I.    Imaged Productions
      The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
      standard load files, Bates numbered image files, native files and searchable document-level text files .

      1.   Images
           a. Black and white images must be 300 DPI Group IV single-page TIFF files
           b. Color images must be produced in JPEG format
           c. File names cannot contain embedded spaces or special characters (including the comma)
           d. Folder names cannot contain embedded spaces or special characters (including the comma)
           e. All image files must have a unique file name, i.e. Bates number
           f. Images must be endorsed with sequential Bates numbers in the lower right comer of each image
           g. The number of image files per folder should not exceed 2,000 files
           h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
           1. AUTOCAD/photograph files should be produced as a single page JPEG file

      2.    Image Cross-Reference File
            The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
            file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
            following format:
                   Image/D, VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,P ageCount

      3. Data File
         The data file (.DAT) contains all of the fielded information that will be loaded into the database.

           a. The first line of the .DAT file must be a header row identifying the field names
           b. The .DAT file must use the following Concordance® default delimiters:
                  Comma 11 ASCII character (020)
                  Quote ~ ASCII character (254)
           c. If the .DAT file is produced in Unicode format it must contain the byte order marker
           d. Date fields should be provided in the format: mm/dd/yyyy

           f.      The time zone must be included in all time fields
           g.      If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                   parent/child relationship between an email and its attachments
           h.      An OCRPA TH field must be included to provide the file path and name of the extracted text file on the produced
                   storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file .
           i.      For productions with native files, a LINK field must be included to provide the file path and name of the native file
                   on the produced storage media. The native file must be named after the FIRSTBATES.
           j.      BEGATTACH and ENDATTACH fields must be two separate fields
           k.      A complete list ofmetadata fields is available in Addendum A to this document

      4. Text
         Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
         per the FIRSTBATES/lmage Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
         may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
         that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
         characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
         should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
         the redacted version.

      5.        Linked Native Files
                Copies of original email and native file documents/attachments must be included for all electronic productions.

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     a.   Native file documents must be named per the FIRSTBATES number
     b.   The full path of the native file must be provided in the .DAT file for the LINK field
     c.   The number of native files per folder should not exceed 2,000 files




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II.    Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders . When approved, native email files (.PST or
       .MBOX) may be produced. A separate folder should be provided for each custodian.

m.     Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
               characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

IV.     Audio Files
        Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
        Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
        metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file .
        The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller's name or account/identification number
             2)   Originating Number:   Caller's phone number
             3)   Called Party Name:    Called party's name
             4)   Terminating Number:   Called party's phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

V.       Video Files
         Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

VI.      Electronic Trade and Bank Records
         When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats :

         1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
            separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
            separate document must be provided that includes such details.

         2. Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar "I". If
            any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
            field structure do not fit in the header, a separate document must be provided that includes such details.

 VII. Electronic Phone Records
      When producing electronic phone records, provide the files in the following format:

         1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
            separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
            separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
            dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                      loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                      not combined into a single column containing both pieces of information. Any fields of data that are provided
                      in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
      software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
      business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
      Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
     SEC staff member in order to discuss the appropriate production format




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                                                    ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field defmition and
formatting described below:


         Field Name           Sample Data                     Description
         FIRSTBATES           EDC000000l                      First Bates number of native file document/email
         LASTBATES            EDC000000l                      Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE          EDC000000 1 - EDC00000 15       Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment "child" document
         BEGATTACH            EDC000000l                      First Bates number of attachment range
         ENDATTACH            EDC0000015                      Last Bates number of attachment range
         PARENT- BATES        EDC000000l                      First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment "child"
                                                                 document
         CHILD- BATES         EDC0000002; EDC0000014          First Bates number of "child" attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a "parent" document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department frorr
                                                              whose files the document originated
         FROM                 John Smith                      Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                 entries
         TO                   Coffman, Janice; LeeW           Recipient( s)
                              [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
         cc                   Frank Thompson [mailto:         Carbon copy recipient(s)
                              frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
         BCC                  John Cain                       Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                 entries
         SUBJECT              Board Meeting Minutes           Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE NAME            BoardMeetingMinutes.docx        Native: Name of the original native file, includin~
                                                              extension
         DATE SENT             10/ 12/2010                    Email: Date the email was sent
                                                              Native: (emoty)
         TIME SENT/TIME 07:05PMGMT                            Email: Time the email was sent/ Time zone in whicl
          ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                 combined with the DATE SENT field




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    TIME- ZONE       GMT                         The time zone in which the emails were standardizec
                                                 during conversion.
                                                 Email: Time zone
                                                 Native: (empty)
    LINK             D:\001 \ EDC000000 l .msg   Hyperlink to the email or native file document
                                                 **The linked file must be named per the
                                                    FIRSTBATES number
    MIME TYPE        application/ms word         The content type of an email or native file document
                                                 as identified/extracted from the header
    FILE EXTEN       MSG                         The file type extension representing the email or
                                                 native file document; will vary depending on the
                                                 format
    AUTHOR           John Smith                  Email: (empty)
                                                 Native: Author of the document
    LAST AUTHOR      Jane Doe                    Email: (empty)
                                                 Native: Last Author of the document
    DATE- CREATED    10/ 10/2010                 Email: (empty)
                                                 Native: Date the document was created
    TIME_CREATED/1 10:25AMGMT                    Email: (empty)
    IME ZONE                                     Native: Time the document was created including timt
                                                 zone
                                                 **This data must be a separate field and cannot be
    DATE MOD         10/12/2010                  Email: (empty)
                                                 Native: Date the document was last modified
    TIME_MOD/TIME_ 07:00PMGMT                    Email: (empty)
    ZONE                                         Native: Time the document was last modified includin~
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    DATE- ACCESSD    10/ 12/2010                 Email: (empty)
                                                 Native: Date the document was last accessed
    TIME ACCESSD/T 07:00PMGMT                    Email: (empty)
    IME ZONE                                     Native: Time the document was last accessed includin~
                                                 the time zone
                                                 **This data must be a separate field and cannot be
    PRINTED- DATE    10/12/2010                  Email: (empty)
                                                 Native: Date the document was last printed
    FILE SIZE        5,952                       Size of native file document/email in KB
    PGCOUNT          1                           Number of pages in native file document/email
    PATH             J:\Shared\SmithJ\October    Email: (empty)
                     Agenda.doc                  Native: Path where native file document was stored
                                                 including original file name.
    INTFILEP ATH     Personal Folders\Deleted    Email: original location of email including origina
                     Items\Board Meeting         file name.
                     Minutes.msg                 Native: (empty)
    INTMSGID         <000805c2c71b$75977050$cb   Email: Unique Message ID
                     8306dl(mMSN>                Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc .edu>           Native: (empty)
                              X-SpamCatcher-Score: 1[X]
                              Received:from[136.167.40 .119
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGati
                              Pro SMTP4. l.8)
                              with ESMTP-TLS id 612587IC
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11 :40: 10
                              0400
                              Message-ID:
                              <4 l29F3CA.2020509@dc.edu)
                              Date: Mon, 23 Aug 200'
                              11 :40:36 -400
                              From:        Taylor        Evan•
                              <example_from@dc .edu>
                              User-Agent:Mozilla/5 .0
                              (Windows;U; Windows NT 5.1
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7 .0
                              X-Accept-Language:en-us,en
                              MIME-Version: 1.0
                              To:           Jon          Smitl
                              <example_to@mail.dc.edu>
                              Subject:Business Developmen
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bi
         MD5HASH              dl3ldd02c5e6eec4693d9a069       MD5 Hash value ofthe document.
                              8afl95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC000000l.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG000000l,,E:\001 \IMG000000l.TIF, Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003 .TIF,,,,
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                                                       ADDENDUMB

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date - Date the call was received or made
    3) Connection Time - Time call was received or made
    4) Seizure Time -Time it took for the call to be placed in seconds
    5) Originating Number - Phone that placed the call
    6) Terminating Number - Phone that received the call
    7) Elapsed Time - The length of time the call lasted, preferably in seconds
    8) End Time - The time the call ended
    9) Number Dialed - Actual number dialed
    10) IMEi Originating - Unique id to phone used to make call
    11) IMEi Terminating- Unique id to phone used to receive call
    12) IMSI Originating - Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes - Identify call direction or other routing information
    15) Time Zone - Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date - Date the text was received or made
    3) Connection Time - Time text was received or made
    4) Originating Number - Who placed the text
    5) Terminating Number - Who received the text
    6) IMEi Originating - Unique id to phone used to make text
    7) IMEi Terminating- Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code - Identify text direction, or other text routing information
    11) Text Type Code - Type of text message (sent SMS, MMS, or other)
    12) Time Zone - Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date - Date the data was received or made
    3) Connection Time - Time data was received or made
    4) Originating number - Number that used data
    5) IMEi Originating - Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes - Identify data direction, or other data routing information
    8) Time Zone - Time Zone in which the call was received or placed, if applicable
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                               SECURITIES AND EXCHANGE COMMISSION
                                                 Washington, D.C. 20549

                          Supplemental Information for Persons Requested to Supply
                          Information Voluntarily or Directed to Supply Information
                                    Pursuant to a Commission Subpoena
   A. False Statements and Documents
   Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
            Government of the United States, knowingly and willfully--
                (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                (3) makes or uses any false writing or document knowing the same to contain any materially false,
                fictitious, or fraudulent statement or entry.

   Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
   upon:
            Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
            record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
            proper administration of any matter within the jurisdiction of any department or agency of the United States
            ... , or in relation to or contemplation of any such matter.
   B. Testimony
   If your testimony is taken, you should be aware of the following:
   1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
        the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
        will not go off the record at your, or your counsel's, direction.
   2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
        counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
        testimony to clarify any of the answers you give during testimony; and make summary notes during your
        testimony solely for your use. If you are accompanied by counsel, you may consult privately.
   If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
   testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
   once to afford you the opportunity to arrange to be so accompanied, represented or advised.
   You may be represented by counsel who also represents other persons involved in the Commission's investigation.
   This multiple representation, however, presents a potential conflict of interest if one client's interests are or may be
   adverse to another's. If you are represented by counsel who also represents other persons involved in the
   investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
   possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
   3.   Transcript Availability. Rule 6 of the Commission's Rules Relating to Investigations, 17 CFR 203.6, states:
        A person who has submitted documentary evidence or testimony in a formal investigative proceeding
        shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
        his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
        investigative proceeding the Commission may for good cause deny such request. In any event, any
        witness, upon proper identification, shall have the right to inspect the official transcript of the witness'
        own testimony.
   If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
   appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
   4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
   be imposed upon:
            Whoever--
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                (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
                the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify
                truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
                willfully and contrary to such oath states or subscribes any material matter which he does not believe to
                be true; or
                (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
                section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
                does not believe to be true.
   5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
   local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
   You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
   United States, to give any information that may tend to incriminate you.
   If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
   question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
   6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
   during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
   C. Submissions and Settlements
   Rule 5(c) of the Commission's Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
            Persons who become involved in ... investigations may, on their own initiative, submit a written
            statement to the Commission setting forth their interests and position in regard to the subject matter
            of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
            general nature of the investigation, including the indicated violations as they pertain to them, and
            the amount of time that may be available for preparing and submitting a statement prior to the
            presentation of a staff recommendation to the Commission for the commencement of an
            administrative or injunction proceeding. Submissions by interested persons should be forwarded to
            the appropriate Division Director or Regional Director with a copy to the staff members conducting
            the investigation and should be clearly referenced to the specific investigation to which they relate.
            In the event a recommendation for the commencement of an enforcement proceeding is presented
            by the staff, any submissions by interested persons will be forwarded to the Commission in
            conjunction with the staff memorandum.
   The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
   Commission enforcement proceedings, when the staff deems appropriate.
   Rule 5(f) of the Commission's Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
            In the course of the Commission's investigations, civil lawsuits, and administrative proceedings, the
            staff, with appropriate authorization, may discuss with persons involved the disposition of such
            matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
            however, that the disposition of any such matter may not, expressly or impliedly, extend to any
            criminal charges that have been, or may be, brought against any such person or any
            recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
            before the Commission who consents, or agrees to consent, to any judgment or order does so
            solely for the purpose of resolving the claims against him in that investigative, civil, or
            administrative matter and not for the purpose of resolving any criminal charges that have been, or
            might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
            has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
            criminal proceedings. That authority and responsibility are vested in the Attorney General and
            representatives of the Department of Justice.
   D. Freedom of Information Act
   The Freedom of Information Act, 5 U.S.C. 552 (the "FOIA"), generally provides for disclosure of information to the
   public. Rule 83 of the Commission's Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
   which a person can make a written request that information submitted to the Commission not be disclosed under the
   FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
   disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
   be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
   you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
   please provide a duplicate request, together with a stamped, self-addressed envelope.
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   E. Authority for Solicitation of Information
   Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
   set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
   of any legal right or privilege you might have.
   Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
   Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
   the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
   Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
   requested information to the Commission is voluntary on your part.
   F. Effect of Not Supplying Information
   Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
   Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
   supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
   21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
   209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
   any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
   produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
   Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
   failing to provide all or any part of the requested information.
   G. Principal Uses of Information
   The Commission's principal purpose in soliciting the information is to gather facts in order to determine whether any
   person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
   the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
   Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
   provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
   explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
   accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
   other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission's receipt, use,
   disposition, transfer, or retention, in accordance with applicable law, of information provided.
   H. Routine Uses of Information
   The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
   and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
   where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
   general, a confidential matter between the Commission and such other governmental agencies.
   Set forth below is a list of the routine uses which may be made of the information furnished.
   1. To appropriate agencies, entities, and persons when (1) the SEC suspects or has confirmed that there has been a
   breach of the system of records, (2) the SEC has determined that as a result of the suspected or confirmed breach
   there is a risk of harm to individuals, the SEC (including its information systems, programs, and operations), the
   Federal Government, or national security; and (3) the disclosure made to such agencies, entities, and persons is
   reasonably necessary to assist in connection with the SEC's efforts to respond to the suspected or confirmed breach
   or to prevent, minimize, or remedy such harm.
   2. To other Federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
   foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
   3. To national securities exchanges and national securities associations that are registered with the SEC, the
   Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
   Accounting Oversight Board; the Federal banking authorities, including, but not limited to, the Board of Governors of
   the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
   securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
   their regulatory or enforcement responsibilities.
   4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
   the Federal securities laws.
   5. In any proceeding where the Federal securities laws are in issue or in which the Commission, or past or present
   members of its staff, is a party or otherwise involved in an official capacity.
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   6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
   201.102(e).
   7. To a bar association, state accountancy board, or other Federal, state, local, or foreign licensing or oversight
   authority; or professional association or self-regulatory authority to the extent that it performs similar functions
   (including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
   8. To a Federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
   SEC's decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
   a contract; or the issuance of a license, grant, or other benefit.
   9. To a Federal, state, local, tribal, foreign, or international agency in response to its request for information
   concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
   investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
   requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
   the matter.
   10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
   in support of the function for which the records are collected and maintained or for related personnel management
   functions or manpower studies; may also be used to respond to general requests for statistical information (without
   personal identification of individuals) under the Freedom of Information Act.
   11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
   competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
   administrative proceedings involving allegations of violations of the Federal securities laws (as defined in section
   3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission's Rules of
   Practice, 17 CFR 201.100 through 900 or the Commission's Rules of Fair Fund and Disgorgement Plans, 17 CFR
   201.1100 through 1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or
   entity is specifically designated to perform particular functions with respect to, or as a result of, the pending action or
   proceeding or in connection with the administration and enforcement by the Commission of the Federal securities
   laws or the Commission's Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
   12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC's staff, or in
   connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
   have further information about the matters related therein, and those matters appeared to be relevant at the time to
   the subject matter of the inquiry.
   13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
   performance of a service related to this system of records and who need access to the records for the purpose of
   assisting the Commission in the efficient administration of its programs, including by performing clerical,
   stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
   these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
   552a.
   14. In reports published by the Commission pursuant to authority granted in the Federal securities laws (as such term
   is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
   include, but not be limited to, section 21 (a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
   15. To members of advisory committees that are created by the Commission or by Congress to render advice and
   recommendations to the Commission or to Congress, to be used solely in connection with their official designated
   functions.
   16. To any person who is or has agreed to be subject to the Commission's Rules of Conduct, 17 CFR 200. 735-1
   through 200. 735-18, and who assists in the investigation by the Commission of possible violations of the Federal
   securities laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C.
   78c(a)(47)), in the preparation or conduct of enforcement actions brought by the Commission for such violations, or
   otherwise in connection with the Commission's enforcement or regulatory functions under the Federal securities laws.
   17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
   made at the request of that individual.
   18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
   their activities, and other matters under the Commission's jurisdiction.
   19. To prepare and publish information relating to violations of the Federal securities laws as provided in 15 U.S.C.
   78c(a)(47)), as amended.
   20. To respond to subpoenas in any litigation or other proceeding.
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   21. To a trustee in bankruptcy.
   22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
   commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
   including collection by administrative offset, Federal salary offset, tax refund offset, or administrative wage
   garnishment, of amounts owed as a result of Commission civil or administrative proceedings.
   23. To another Federal agency or Federal entity, when the SEC determines that information from this system of
   records is reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
   breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency or entity
   (including its information systems, programs, and operations), the Federal Government, or national security, resulting
   from a suspected or confirmed breach.

                                                        *****
   Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
   would like more information, or have questions or comments about federal securities regulations as they affect small
   businesses, please contact the Office of Small Business Policy, in the SEC's Division of Corporation Finance, at 202-
   551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
   Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
   Ombudsman's office receives comments from small businesses and annually evaluates federal agency enforcement
   activities for their responsiveness to the special needs of small business.
